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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA


IN RE: GRANULATED SUGAR                   MDL No. 24-3110 (JWB/DTS)
ANTITRUST LITIGATION

                                          INDIRECT CONSUMER
                                          PURCHASER CONSOLIDATED
                                          CLASS ACTION COMPLAINT


                                          JURY TRIAL DEMANDED


This Document Relates to:

All Indirect Consumer Purchaser Actions
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       Plaintiffs Virginia Smith, Francisco Olivares, Robert E. Sunseri, Reynaldo Borge,

Matthew Edlin, Mikhael Gershzon, Tammy Tacito, David Ulery, Michael Cervellino,

Stacy Kurtz, Michael Santilli, Renee Newton, Mayelin Bernal, Claudette Palakiko,

Matthew Marek, Mary Salazar, Debbie Hale, Daynna Mitchell, Laurie Marcello, Brooke

Cutlip, Miranda Cofino, Victor Sathler, Liana Britt, Anthony Minicuci, Kim Rybarczyk,

Raleigh Golden, Lauren Grouws, Bridget TenEyck, Sabra Turner, Lisa Clemenson, Erica

Mitchell, Thomas Tombarello, Nancy Goodman, Claudine Williams, Amanda Boardman,

Bruce Johnson, Kristin Jangula, Heidi Humphreys, Evan Annis, Stephen Reeves, John

Luce, Cynthia Cornwell, Ernest Gambrell, Mary Reilly, James Veneziano, Jarred Cutlip,

Donald Friedman, Richard Hammetter, Sandra Kluessendorf, Bradley Bennett, Robert

Frasher, Roy Derhammer, Samantha Macaluso and Gina Gonzales (“Plaintiffs”) on behalf

of themselves and all others similarly situated (the “Classes” or “Class Members” as

defined below), upon personal knowledge as to the facts pertaining to themselves and upon

information and belief based on investigation of counsel as to all other matters, bring suit

against Defendants ASR Group International, Inc. (“ASR Group”), American Sugar

Refining, Inc. (“ASR”), Domino Foods, Inc. (“Domino,” together with ASR Group and

ASR, “ASR/Domino”), Imperial Sugar Co. n/k/a United States Sugar Savannah Refinery,

LLC (“Imperial” or “U.S. Sugar Savannah”), Michigan Sugar Company (“Michigan

Sugar”), Louis Dreyfus Company LLC (“Louis Dreyfus”), United Sugar Producers &

Refiners f/k/a United Sugars Corporation (“United,” together with ASR/Domino, Imperial,

Louis Dreyfus, and Michigan, the “Producer Defendants”), Commodity Information, Inc.



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(“Commodity”), and Richard Wistisen (“Wistisen,” together with Commodity,

“Commodity Defendants,” and together with the Producer Defendants, “Defendants”),

under Section 1 of the Sherman Antitrust Act of 1890, 15 U.S.C. § 1, Sections 4 and 16 of

the Clayton Antitrust Act of 1914, 15 U.S.C. §§ 15, 26, state antitrust laws, state consumer

protection laws, and state unjust enrichment laws, for redress of the injury and damages

caused by Defendants’ conspiracy to fix prices of Granulated Sugar in the United States

from at least as early as January 1, 2019, through the date by which the anticompetitive

effects of their violations of law shall have ceased, but in any case no earlier than the

present (the “Class Period”). Plaintiffs demand a trial by jury.

I.     NATURE OF THE ACTION

       1.     Plaintiffs bring this civil antitrust action seeking an injunction under federal

law, and damages and restitution under state laws arising out of Defendants’ conspiracy to

raise, fix, maintain, and/or stabilize the prices of Granulated Sugar sold in the United States

during the Class Period. To implement their price-fixing conspiracy, Defendants

exchanged detailed, competitively sensitive, non-public information about Granulated

Sugar prices, capacity, sales volume, supply, and demand, in addition to other conduct

alleged herein.

       2.     An agreement to share, and the sharing of, competitively sensitive

information among horizontal competitors is an independent violation of Section 1 of the

Sherman Act, and separately supports an inference that an illegal price-fixing agreement

exists. The Producer Defendants’ agreement to share and sharing of confidential price,

sales, supply, and demand data with their competitors is an unlawful information exchange


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that demonstrates an effective enforcement mechanism of a price-fixing scheme.

       3.     First, Commodity provided the Producer Defendants with access to a

clearinghouse of nearly real-time information on current and forward-looking, non-

anonymized Granulated Sugar data on competitors. The Producer Defendants agreed to use

Commodity’s clearinghouse to access the non-anonymized data to fix and maintain prices

among them.

       4.     Second, the Producer Defendants acted upon this agreement by sharing

through Commodity specific information on the Producer Defendants’ profits, prices,

costs, production levels, and sold positions 1—all of which are key metrics and highly

competitively sensitive information in this market that competitors would not unilaterally

share with each other in the absence of an agreement.

       5.     Third, the information gathered and disseminated through Commodity was

made available only to subscribing sugar producers and is completely unavailable to the

public or other sugar suppliers. In other words, Commodity and the Producer Defendants

that were its customers engaged in a “give to get” scheme, where they provided one another

with mutual, reciprocal assurances that they would provide competitively sensitive

information so long as their competitors also did so.

       6.     Just as the antitrust laws do not allow competitors to exchange competitively

sensitive information directly in an effort to stabilize or control industry pricing, they also


       1
         A sold position is the percentage of a seller’s supply of Granulated Sugar that has
been sold. As a seller’s sold position increases, that seller will generally raise prices. The
sold position thus provides important information about the extent to which a supplier will
or will not be aggressive on price going forward.


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prohibit using an intermediary to facilitate the exchange of confidential business

information.

       7.      It was contrary to the Producer Defendants’ self-interests to share such

commercially sensitive information with horizontal competitors. The reciprocal and mutual

agreement and sharing of such information facilitated and maintained a price-fixing

conspiracy and reassured each Producer Defendant that its co-conspiring counterparts

would adhere to the conspiracy. The ubiquitous sharing of such information, as in this

case, served an important monitoring and enforcement mechanism for the cartel.

       8.      In addition to sharing competitively sensitive information that would not be

in their unilateral self-interests, additional plus factors support the existence of a price-

fixing conspiracy: the structure of the Granulated Sugar industry is vertically integrated

and highly concentrated, barriers to entry are high, sugar is a commodity product for which

the demand is inelastic, and the Producer Defendants also had numerous opportunities to

collude, including through meetings at trade organizations.

       9.      Indeed, Defendants were able to successfully implement their conspiracy

because the Granulated Sugar industry is structurally susceptible to collusion. In fact, for

more than 80 years, the industry has been marked by repeated violations of the antitrust

laws, including conduct remarkably similar to that alleged here.

       10.     This information sharing also allowed Producer Defendants to coordinate

their Granulated Sugar pricing strategies based on the prices of sugar futures contracts, as

discussed below.

       11.     As a result of the conspiracy, nominal retail prices of Granulated Sugar in


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the U.S. rose 69% between January 2019 and October 2024.

        12.   Among the victims of the conspiracy are U.S. consumers of Granulated

Sugar, such as Plaintiffs and Class Members, who paid more for Granulated Sugar during

the Class Period than they would have paid in a competitive market. Plaintiffs bring this

action for redress of the injury and damages they and Class Members suffered and continue

to suffer by reason of Defendants’ violations of law.

II.     PARTIES

        A.    Plaintiffs

        13.   Plaintiff Virginia Smith is a resident of Alabama. During the Class Period,

she purchased Granulated Sugar produced or sold by at least one of the Defendants,

including Domino brand, in the state of Alabama for her own personal use and not for

resale and she suffered injury as a result of the unlawful conduct alleged herein.

        14.   Plaintiff Francisco Olivares is a resident of Arizona. During the Class Period,

he purchased Granulated Sugar produced or sold by at least one of the Defendants,

including Domino brand, in the state of Arizona for his own personal use and not for resale

and he suffered injury as a result of the unlawful conduct alleged herein.

        15.   Plaintiff Robert E. Sunseri is a resident of Arizona. During the Class Period,

he purchased Granulated Sugar produced or sold by at least one of the Defendants in the

state of Arizona for his own personal use and not for resale and he suffered injury as a

result of the unlawful conduct alleged herein.

        16.   Plaintiff Reynaldo Borge is a resident of California. During the Class Period,

he purchased Granulated Sugar produced or sold by at least one of the Defendants,


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including C&H brand, in the state of California for his own personal use and not for resale

and he suffered injury as a result of the unlawful conduct alleged herein.

       17.    Plaintiff Matthew Edlin is a resident of California. During the Class Period,

he purchased Granulated Sugar produced or sold by at least one of the Defendants,

including C&H brand, in the state of California for his own personal use and not for resale

and he suffered injury as a result of the unlawful conduct alleged herein.

       18.    Plaintiff Mikhael Gershzon is a resident of California. During the Class

Period, he purchased Granulated Sugar produced or sold by at least one of the Defendants,

including C&H brand, in the state of California for his own personal use and not for resale

and he suffered injury as a result of the unlawful conduct alleged herein.

       19.    Plaintiff Tammy Tacito is a resident of California. During the Class Period,

she purchased Granulated Sugar produced or sold by at least one of the Defendants,

including C&H brand, in the state of California for her own personal use and not for resale

and she suffered injury as a result of the unlawful conduct alleged herein.

       20.    Plaintiff David Ulery is a resident of Colorado. During the Class Period, he

purchased Granulated Sugar produced or sold by at least one of the Defendants, including

C&H brand, in the state of Colorado for his own personal use and not for resale and he

suffered injury as a result of the unlawful conduct alleged herein.

       21.    Plaintiff Michael Cervellino is a resident of Connecticut. During the Class

Period, he purchased Granulated Sugar produced or sold by at least one of the Defendants

in the state of Connecticut for his own personal use and not for resale and he suffered injury

as a result of the unlawful conduct alleged herein.


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       22.    Plaintiff Stacy Kurtz is a resident of Connecticut. During the Class Period,

she purchased Granulated Sugar produced or sold by at least one of the Defendants,

including Domino brand, in the state of Connecticut for her own personal use and not for

resale and she suffered injury as a result of the unlawful conduct alleged herein.

       23.    Plaintiff Michael Santilli is a resident of Connecticut. During the Class

Period, he purchased Granulated Sugar produced or sold by at least one of the Defendants,

including Domino brand, in the state of Connecticut for his own personal use and not for

resale and he suffered injury as a result of the unlawful conduct alleged herein.

       24.    Plaintiff Renee Newton is a resident of Florida. During the Class Period, she

purchased Granulated Sugar produced or sold by at least one of the Defendants, including

Domino brand, in the states of Florida and New York for her own personal use and not for

resale and she suffered injury as a result of the unlawful conduct alleged herein.

       25.    Plaintiff Mayelin Bernal is a resident of Florida. During the Class Period, she

purchased Granulated Sugar produced or sold by at least one of the Defendants, including

Domino and Crystal brands, in the state of Florida for her own personal use and not for

resale and she suffered injury as a result of the unlawful conduct alleged herein.

       26.    Plaintiff Claudette Palakiko is a resident of Hawaii. During the Class Period,

she purchased Granulated Sugar produced or sold by at least one of the Defendants,

including Crystal and Domino brands, in the state of Hawaii for her own personal use and

not for resale and she suffered injury as a result of the unlawful conduct alleged herein.

       27.    Plaintiff Matthew Marek is a resident of Illinois. During the Class Period, he

purchased Granulated Sugar produced or sold by at least one of the Defendants, including


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C&H, Domino, and Crystal Sugar brands, in the state of Illinois for his own personal use

and not for resale and he suffered injury as a result of the unlawful conduct alleged herein.

       28.    Plaintiff Mary Salazar is a resident of Illinois. During the Class Period, she

purchased Granulated Sugar produced or sold by at least one of the Defendants, including

Crystal Sugar and Domino brands, in the state of Illinois for her own personal use and not

for resale and she suffered injury as a result of the unlawful conduct alleged herein.

       29.    Plaintiff Debbie Hale is a resident of Iowa. During the Class Period, she

purchased Granulated Sugar produced or sold by at least one of the Defendants in the state

of Iowa for her own personal use and not for resale and she suffered injury as a result of

the unlawful conduct alleged herein.

       30.    Plaintiff Daynna Mitchell is a resident of Maine. During the Class Period,

she purchased Granulated Sugar produced or sold by at least one of the Defendants,

including Domino brand, in the state of Maine for her own personal use and not for resale

and she suffered injury as a result of the unlawful conduct alleged herein.

       31.    Plaintiff Laurie Marcello is a resident of Maine. During the Class Period, she

purchased Granulated Sugar produced or sold by at least one of the Defendants, including

Domino brand, in the state of Maine for her own personal use and not for resale and she

suffered injury as a result of the unlawful conduct alleged herein.

       32.    Plaintiff Brooke Cutlip is a resident of Maryland. During the Class Period,

she purchased Granulated Sugar produced or sold by at least one of the Defendants,

including Domino brand, in the state of Maryland for her own personal use and not for

resale and she suffered injury as a result of the unlawful conduct alleged herein.


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       33.    Plaintiff Miranda Cofino is a resident of Maryland. During the Class Period,

she purchased Granulated Sugar produced or sold by at least one of the Defendants,

including Domino brand, in the state of Maryland for her own personal use and not for

resale and she suffered injury as a result of the unlawful conduct alleged herein.

       34.    Plaintiff Victor Sathler is a resident of Massachusetts. During the Class

Period, he purchased Granulated Sugar produced or sold by at least one of the Defendants,

including Domino brand, in the state of Maryland for his own personal use and not for

resale and he suffered injury as a result of the unlawful conduct alleged herein.

       35.    Plaintiff Liana Britt is a resident of Michigan. During the Class Period, she

purchased Granulated Sugar produced or sold by at least one of the Defendants, including

Domino brand, in the state of Michigan for her own personal use and not for resale and she

suffered injury as a result of the unlawful conduct alleged herein.

       36.    Plaintiff Anthony Minicuci is a resident of Michigan. During the Class

Period, he purchased Granulated Sugar produced or sold by at least one of the Defendants

in the state of Michigan for his own personal use and not for resale and he suffered injury

as a result of the unlawful conduct alleged herein.

       37.    Plaintiff Kim Rybarczyk is a resident of Michigan. During the Class Period,

she purchased Granulated Sugar produced or sold by at least one of the Defendants in the

state of Michigan for her own personal use and not for resale and she suffered injury as a

result of the unlawful conduct alleged herein.

       38.    Plaintiff Raleigh Golden is a resident of Minnesota. During the Class Period,

she purchased Granulated Sugar produced or sold by at least one of the Defendants,


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including C&H and Crystal Sugar brands, in the state of Minnesota for her own personal

use and not for resale and she suffered injury as a result of the unlawful conduct alleged

herein.

          39.   Plaintiff Lauren Grouws is a resident of Minnesota. During the Class Period,

she purchased Granulated Sugar produced or sold by at least one of the Defendants,

including Pioneer, Crystal Sugar and C&H brands, in the state of Minnesota for her own

personal use and not for resale and she suffered injury as a result of the unlawful conduct

alleged herein.

          40.   Plaintiff Bridget TenEyck is a resident of Mississippi. During the Class

Period, she purchased Granulated Sugar produced or sold by at least one of the Defendants,

including Domino brand, in the state of Mississippi for her own personal use and not for

resale and she suffered injury as a result of the unlawful conduct alleged herein.

          41.   Plaintiff Sabra Turner is a resident of Mississippi. During the Class Period,

she purchased Granulated Sugar produced or sold by at least one of the Defendants in the

state of Mississippi for her own personal use and not for resale and she suffered injury as

a result of the unlawful conduct alleged herein.

          42.   Plaintiff Lisa Clemenson is a resident of Missouri. During the Class Period,

she purchased Granulated Sugar produced or sold by at least one of the Defendants,

including Domino brand, in the state of Missouri for her own personal use and not for

resale and she suffered injury as a result of the unlawful conduct alleged herein.

          43.   Plaintiff Erica Mitchell is a resident of Nevada. During the Class Period, she

purchased Granulated Sugar produced or sold by at least one of the Defendants, including


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Domino and C&H brands, in the state of Nevada for her own personal use and not for resale

and she suffered injury as a result of the unlawful conduct alleged herein.

          44.   Plaintiff Thomas Tombarello is a resident of New Hampshire. During the

Class Period, he purchased Granulated Sugar produced or sold by at least one of the

Defendants, including Domino brand, in the state of New Hampshire for his own personal

use and not for resale and he suffered injury as a result of the unlawful conduct alleged

herein.

          45.   Plaintiff Nancy Goodman is a resident of New Jersey. During the Class

Period, she purchased Granulated Sugar produced or sold by at least one of the Defendants,

including Domino brand, in the state of New Jersey for her own personal use and not for

resale and she suffered injury as a result of the unlawful conduct alleged herein.

          46.   Plaintiff Claudine Williams was a resident of New York for most of the Class

Period. During the Class Period, she purchased Granulated Sugar produced or sold by at

least one of the Defendants in the state of New York, including Domino brand, for her own

personal use and not for resale and she suffered injury as a result of the unlawful conduct

alleged herein.

          47.   Plaintiff Amanda Boardman is a resident of North Carolina. During the Class

Period, she purchased Granulated Sugar produced or sold by at least one of the Defendants,

including Domino brand, in the state of North Carolina for her own personal use and not

for resale and she suffered injury as a result of the unlawful conduct alleged herein.

          48.   Plaintiff Bruce Johnson is a resident of North Carolina. During the Class

Period, he purchased Granulated Sugar produced or sold by at least one of the Defendants,


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including Domino brand, in the state of North Carolina for his own personal use and not

for resale and he suffered injury as a result of the unlawful conduct alleged herein.

       49.    Plaintiff Kristin Jangula is a resident of North Dakota. During the Class

Period, she purchased Granulated Sugar produced or sold by at least one of the Defendants,

including Domino brand, in the state of North Dakota for her own personal use and not for

resale and she suffered injury as a result of the unlawful conduct alleged herein.

       50.    Plaintiff Heidi Humphreys is a resident of Pennsylvania. During the Class

Period, she purchased Granulated Sugar produced or sold by at least one of the Defendants,

including Domino brand, in the state of Pennsylvania for her own personal use and not for

resale and she suffered injury as a result of the unlawful conduct alleged herein.

       51.    Plaintiff Evan Annis is a resident of Rhode Island. During the Class Period,

he purchased Granulated Sugar produced or sold by at least one of the Defendants,

including Domino brand, in the state of Rhode Island for his own personal use and not for

resale and he suffered injury as a result of the unlawful conduct alleged herein.

       52.    Plaintiff Stephen Reeves is a resident of South Carolina. During the Class

Period, he purchased Granulated Sugar produced or sold by at least one of the Defendants

in the state of South Carolina for his own personal use and not for resale and he suffered

injury as a result of the unlawful conduct alleged herein.

       53.    Plaintiff John Luce is a resident of South Dakota. During the Class Period,

he purchased Granulated Sugar produced or sold by at least one of the Defendants,

including Domino brand, in the state of South Dakota for his own personal use and not for

resale and he suffered injury as a result of the unlawful conduct alleged herein.


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          54.   Plaintiff Cynthia Cornwell is a resident of Tennessee. During the Class

Period, she purchased Granulated Sugar produced or sold by at least one of the Defendants

in the state of Tennessee for her own personal use and not for resale and she suffered injury

as a result of the unlawful conduct alleged herein.

          55.   Plaintiff Ernest Gambrell is a resident of Tennessee. During the Class Period,

he purchased Granulated Sugar produced or sold by at least one of the Defendants,

including Domino brand, in the state of Tennessee for his own personal use and not for

resale and he suffered injury as a result of the unlawful conduct alleged herein.

          56.   Plaintiff Mary Reilly is a resident of Vermont. During the Class Period, she

purchased Granulated Sugar produced or sold by at least one of the Defendants, including

Domino brand, in the state of Vermont for her own personal use and not for resale and she

suffered injury as a result of the unlawful conduct alleged herein.

          57.   Plaintiff James Veneziano is a resident of Vermont. During the Class Period,

he purchased Granulated Sugar produced or sold by at least one of the Defendants,

including Domino brand, in the state of Vermont for his own personal use and not for resale

and he suffered injury as a result of the unlawful conduct alleged herein.

          58.   Plaintiff Jarred Cutlip is a resident of Virginia. During the Class Period, he

purchased Granulated Sugar produced or sold by at least one of the Defendants, including

Domino brand, in the state of Virginia and the District of Columbia for his own personal

use and not for resale and he suffered injury as a result of the unlawful conduct alleged

herein.

          59.   Plaintiff Donald Friedman is a resident of Wisconsin. During the Class


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Period, he purchased Granulated Sugar produced or sold by at least one of the Defendants,

including Domino brand, in the state of Wisconsin for his own personal use and not for

resale and he suffered injury as a result of the unlawful conduct alleged herein.

       60.    Plaintiff Richard Hammetter is a resident of Wisconsin. During the Class

Period, he purchased Granulated Sugar produced or sold by at least one of the Defendants,

including C&H and Domino brands, in the state of Wisconsin for his own personal use and

not for resale and he suffered injury as a result of the unlawful conduct alleged herein.

       61.    Plaintiff Sandra Kluessendorf is a resident of Wisconsin. During the Class

Period, she purchased Granulated Sugar produced or sold by at least one of the Defendants,

including C&H brand, in the state of Wisconsin for her own personal use and not for resale

and she suffered injury as a result of the unlawful conduct alleged herein.

       62.    Plaintiff Bradley Bennett is a resident of Texas. During the Class Period, he

purchased Granulated Sugar produced or sold by at least one of the Defendants, including

Domino brand, in the state of Texas for his own personal use and not for resale and he

suffered injury as a result of the unlawful conduct alleged herein.

       63.    Plaintiff Robert Frasher is a resident of Kentucky. During the Class Period,

he purchased Granulated Sugar produced or sold by at least one of the Defendants,

including Domino brand, in the Commonwealth of Kentucky for his own personal use and

not for resale and he suffered injury as a result of the unlawful conduct alleged herein.

       64.    Plaintiff Roy Derhammer is a resident of Georgia. During the Class Period,

he purchased Granulated Sugar produced or sold by at least one of the Defendants,

including Dixie and Domino brands, in the state of Georgia for his own personal use and


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not for resale and he suffered injury as a result of the unlawful conduct alleged herein.

       65.    Plaintiff Samantha Macaluso is a resident of Louisiana. During the Class

Period, she purchased Granulated Sugar produced or sold by at least one of the Defendants,

including Dixie and Domino brands, in the state of Louisiana for her own personal use and

not for resale and she suffered injury as a result of the unlawful conduct alleged herein.

       66.    Plaintiff Gina Gonzales is a resident of Alaska. During the Class Period, she

purchased Granulated Sugar produced or sold by at least one of the Defendants, including

Domino brand, in the state of Alaska for her own personal use and not for resale and she

suffered injury as a result of the unlawful conduct alleged herein.

       B.     Defendants

              1.      Producer Defendants

                      a.     ASR/Domino Defendants

       67.    Defendant ASR Group is a privately held Florida corporation with its

principal place of business at 1 North Clematis Street, Suite 200, West Palm Beach, Florida

33401. It is a global producer and seller of Granulated Sugar. ASR Group owns six sugar

refineries in North America, including four in the United States: Yonkers, New York;

Baltimore, Maryland; Chalmette, Louisiana; and Crockett, California. ASR Group holds

itself out as “the world’s largest refiner and marketer of cane sugar with an annual

production capacity of 6 million metric tons of sugar.” It asserts that it sells its products to

“customers in key channels, including grocery, industrial, foodservice and specialty.” ASR

Group is a subsidiary of the Florida Crystals Corporation and Sugar Cane Growers

Cooperative of Florida, business enterprises of the global sugar empire Fanjul Corp. ASR


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Group owns, as a subsidiary, Co-Defendant Domino. ASR Group is vertically integrated

and owns sugar processing, marketing, and sales companies in Canada, the United

Kingdom, Portugal, Mexico, and Belize.

       68.    Defendant ASR is a privately held Florida corporation and global producer

and seller of Granulated Sugar based in West Palm Beach, Florida.

       69.    Defendant Domino is ASR Group and ASR’s marketing and sales subsidiary

for Granulated Sugar, with a current principal place of business at 1 North Clematis Street,

Suite 200, West Palm Beach, Florida.

       70.    Defendants ASR Group, ASR, and Domino are collectively referred to herein

as “ASR/Domino.”

       71.    ASR/Domino markets most of its Granulated Sugar under the Domino® and

C&H brand names, but also sells sugar under the brand names Florida Crystals, Redpath,

Tate & Lyle, Lyle’s, and Sidul. It also sells sugar sold under various store brands.

                     b.     United Sugar Defendants

       72.    Defendant United, a Minnesota corporation, is a marketing cooperative based

in Edina, Minnesota. United has four member owners: (1) United States Sugar Corporation

(“United States Sugar”), which owns and operates a cane mill and cane refinery in

Clewiston, Florida; (2) American Crystal Sugar Company; (3) Minn-Dak Farmers

Cooperative; and (4) Wyoming Sugar Company, LLC, all of which grow and process sugar

beets at eight production facilities located in Minnesota, Montana, North Dakota, and

Wyoming. United sells sugar under the United and Crystal Sugar brands, as well as the

Imperial and Dixie Crystals brands, which were formerly Imperial brands before Imperial


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was acquired by United. It also sells sugar sold under various store brands.

       73.     United touts that “[b]ecause United has a unique, fully integrated business

structure, we provide and transport sugar throughout the nation. We have 9 sugar producing

plants, primarily in the Red River Valley along the border of North Dakota and Minnesota.

We also produce beet sugar in Montana and Wyoming, as well as cane sugar in the Florida

Everglades.”

       74.     United approaches the market as a unified competitor, marketing and selling

all the Granulated Sugar produced by its member owners. United handles locating

customers, negotiating sales contracts, and arranging all logistics. United also sets the

prices for all the products it markets and sells on its members’ behalf.

       75.     Imperial Sugar Co. n/k/a United States Sugar Savannah Refinery, LLC

(“Imperial” or “U.S. Sugar Savannah”) is a Delaware company based in Georgia. On

November 30, 2022, U.S. Sugar Savannah completed its acquisition of Imperial from Louis

Dreyfus. U.S. Sugar Savannah is wholly owned by United States Sugar. U.S. Sugar

Savannah holds the trademarks to “Imperial Sugar,” and “Imperial Sugar” customers are

directed by the “Imperial Sugar” website to contact U.S. Sugar Savannah for customer

service.

       76.     U.S. Sugar Savannah, which is wholly-owned and controlled by U.S. Sugar,

is a mere continuation of Imperial. Upon the purchase of Imperial Sugar Co. from Louis

Dreyfus, all former Imperial Sugar employees continued as U.S. Sugar Savannah

employees; all contractual obligations of Imperial were assumed; nothing changed ongoing

execution of supply contracts with customers; and customer service representatives and


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sales contacts remained the same. Payments were directed to the same bank account, with

the name of the account changing to U.S. Sugar Savannah.

      77.    Prior to its sale to U.S. Sugar Savannah and during the Class Period,

Imperial’s corporate offices were located in Sugar Land, Texas.         Imperial produces

Granulated Sugar in the United States. Imperial has a cane sugar refinery in Savannah,

Georgia, and an intermediate sugar transfer and liquification facility in Ludlow, Kentucky.

       78.    Defendants United and Imperial are sometimes collectively referred to herein

as United on or after November 30, 2022.

                     c.     Louis Dreyfus

      79.     Defendant Louis Dreyfus is a Delaware corporation with its principal place

of business in Wilton, Connecticut. It is a worldwide leader in sugar trading and

merchandising. In 2012, Louis Dreyfus acquired Imperial Sugar Company (“Imperial”).

Imperial, with headquarters in Sugar Land, Texas, produces Granulated Sugar in the United

States and independently markets and sells its Granulated Sugar products. Imperial has a

cane sugar refinery in Savannah, Georgia, and an intermediate sugar transfer and

liquification facility in Ludlow, Kentucky. On November 30, 2022, Louis Dreyfus

completed the sale of Imperial to U.S. Sugar Savannah.

       80.    Louis Dreyfus and Imperial are sometimes collectively referred to herein as

Louis Dreyfus on or before November 30, 2022.

                     d.     Michigan Sugar

       81.    Defendant Michigan Sugar is a Michigan corporation with its primary place

of business at 122 Uptown Drive, Suite 300, Bay City, Michigan 48708. It is a cooperative


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consisting of nine hundred sugar beet owners and a global producer and seller of

Granulated Sugar under the brand names Pioneer Sugar and Big Chief Sugar. It also sells

sugar sold under various store brands. Michigan Sugar owns and operates sugar beet

processing facilities in Bay City, Caro, Croswell, and Sebewaing, Michigan. It owns a

production facility in Toledo, Ohio, and an agricultural research center in Bay County

Michigan. It also has warehouse facilities in Michigan and Ohio.

              2.     Commodity Defendants

       82.    Defendant Commodity is a Delaware corporation with its principal place of

business at 560 South State Street, Suite E-2, Orem, Utah 84058.

       83.    Commodity appears currently defunct. During the Class Period, Commodity

was a strawman entity and tool for Defendants to exchange competitive sensitive

information and otherwise conspire. Commodity has no public presence. It does not

maintain a website on the internet. It does not advertise its services to the public. It does

not publish publicly available reports on the sugar industry or offer to sell or provide any

reports on or analysis of the sugar industry to other than a select few, as alleged herein.

       84.    Defendant Wistisen is the principal of Commodity who, as part of

Defendants’ unlawful agreement, collected and shared confidential, proprietary, and

competitively sensitive non-public information between the Producer Defendants.

       85.    Defendants Commodity and Wistisen are alter egos and reference to one is a

reference to both of them collectively.

       86.    Throughout the Class Period, the Producer Defendants utilized Wistisen to

facilitate the conspiracy and the exchange of confidential, proprietary, and competitively


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sensitive non-public information, regarding, among other things, prices, capacity, demand,

sales volume, and other key production and pricing metrics in furtherance of the

conspiracy. Throughout the Class Period, the Producer Defendants utilized Wistisen to

implement, monitor, and/or enforce the conspiracy and the exchange of confidential,

proprietary, and competitively sensitive non-public information.

                3.    Agents and Co-conspirators

         87.    Various other persons, firms, and corporations not named as defendants have

participated as co-conspirators with Defendants and have performed acts and made

statements in furtherance of the conspiracy. Defendants are jointly and severally liable for

the acts of their co-conspirators whether or not named as defendants in this Complaint.

         88.    Whenever reference is made to any act of a corporation, the allegation means

that the corporation engaged in the act by or through its officers, directors, agents,

employees, or representatives while they were actively engaged in the management,

direction, control, or transaction of the corporation’s business or affairs.

         89.    Defendants are also liable for acts done in furtherance of the alleged

conspiracy by companies they acquired through mergers, acquisitions, asset purchase

agreements, or other business combinations.

III.     JURISDICTION, VENUE, AND COMMERCE

         90.    This action arises under Section 1 of the Sherman Antitrust Act, 15 U.S.C. §

1, Sections 4 & 16 of the Clayton Antitrust Act, 15 U.S.C. §§ 15, 26, and the State laws

cited herein.

         91.    This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331, 1332(d),


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and 1337.

       92.    The Court has supplemental jurisdiction under 28 U.S.C. § 1367 over

Plaintiffs’ state law claims.

       93.    Venue is proper in this District under 15 U.S.C. §§ 15(a), 22, and 28 U.S.C.

§ 1391(b), (c), and (d) because, during the Class Period, Defendants resided, transacted

business, were found, and a substantial portion of the alleged activity affected interstate

trade and commerce in this District.

       94.    During the Class Period, Defendants’ conduct was within the flow of, was

intended to, and did, in fact, have a substantial effect on the interstate commerce of the

United States and its territories.

       95.    During the Class Period, Defendants used the instrumentalities of interstate

commerce, including interstate wires, wireless spectrum, and the United States Mail, to

effectuate their illegal scheme.

       96.    Defendants’ conduct also had a substantial effect on the intrastate commerce

of each State in the United States and the District of Columbia.

       97.    This Court has personal jurisdiction over each Defendant because each

Defendant transacted business, maintained substantial contacts, and is located and/or

committed unlawful conduct in this District. Defendants’ unlawful scheme was directed at,

and had the intended effect of, causing injury to persons residing in, located in, or doing

business in this District.




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IV.     FACTUAL ALLEGATIONS

        A.     The Market for Granulated Sugar in the United States

        98.    “Granulated Sugar,” also known as “white,” or “table” sugar, refers to sugar

that is extracted from sugar cane or sugar beets and ground to a uniform size. Granulated

Sugar is considered the gold standard of sweeteners with a clean, pleasant sweetness and

no secondary taste or aftertaste. Granulated Sugar is the most common sweetener used in

home food preparation and cookbooks and consumers tend to dislike any sugar substitute

that does not match its sweetness profile. In 2020, the average American consumed forty

pounds of Granulated Sugar. Eighty percent of all sugar sold in the United States is

Granulated Sugar.

        99.    The relevant antitrust product market is the market for Granulated Sugar (the

“Relevant Product Market”). The relevant antitrust geographic market is the United States

(the “Relevant Geographic Market”). The relevant antitrust market is the market for

Granulated Sugar in the United States (the “Relevant Market”).

        100.   The U.S. consumer sugar production process starts from beet and cane fields.

About 56% of the sugar production is beet sugar and 44% is cane sugar. Although

granulated sugar from beets and sugar cane is indistinguishable, the production process is

slightly different. Sugar manufactured and refined through either process is reasonably

interchangeable and is sold as Granulated Sugar.

        101.   Granulated Sugar is a common ingredient found in many foods. Dry,

granulated, white sugar is manufactured and sold to direct purchasers who resell, consume,

or further refine it into various other types of sugar products. Granulated Sugar is the


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predominant form of sugar sold in the United States.

        102.   The sugar processing industry had an estimated revenue of $13.5 billion in

2024.

        103.   Granulated Sugar producers, either directly or via their marketing affiliates,

market and sell to customers, including food and beverage manufacturers, retailers, food

service companies, and distributors.

        104.   End user consumers, such as Plaintiffs and Class Members, often purchase

Granulated Sugar from grocery stores, pharmacies, or convenience stores, or online.

        105.   Granulated Sugar, regardless of whether it is made from sugar cane or sugar

beets, is a commodity product with little or no differentiation based on the producer.

Typically, competition for commodity products is based on price as opposed to other

attributes such as product quality or customer service; as a result, a commodity such as

Granulated Sugar is susceptible to cartel behavior.

        106.   Due to the lack of product differentiation, the Producer Defendants are forced

to compete on price such that the pricing decisions of each Granulated Sugar producer

impact the market price for Granulated Sugar.

        B.     The Defendants Have Market Power

        107.   During the Class Period, the Producer Defendants collectively controlled

from 70% to 75% of the Relevant Market. The Producer Defendants have acknowledged

their dominant position. For instance, upon hearing the announcement of Imperial’s

acquisition by United, ASR/Domino noted that “they view this as 1 less competitor and




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now 3 companies account for 75% of the market.” 2

       108.   The 2024 estimated market share 3 of each Producer Defendant by capacity

is shown in Figure 1 below:




Figure 1.

       109.   The total market share of the Producer Defendants is approximately 72%.

       110.   The domestic market for Granulated Sugar has gone through significant

consolidation in recent years, helping to facilitate cartel conduct. For instance, in 2019,

United sought to acquire competitor Imperial Sugar from Louis Dreyfus. Subsequently,


       2
        Attachment to Motion for Protective Order by American Sugar Refining, Inc.
[Redacted], Email from ASR/Domino’s Adam Whittaker dated 3/25/21, United States v.
U.S. Sugar Corp., et al., No. 21-cv-1644-MN (D. Del. April 18, 2022), ECF 207-24, at 2.
       3
           https://iq.mckeany-flavell.com/wp-content/uploads/2024/01/projected-us-sugar
industry-capacity-2024-01.pdf

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United States Sugar, one of the four member-owners of United, entered into an asset

purchase agreement whereby U.S. Sugar Savannah would acquire Imperial, and United

would market and sell all of the Granulated Sugar produced by Imperial.

       111.   In 2021, the Department of Justice (“DOJ”) sued to block the proposed

merger, arguing that the acquisition would leave the overwhelming majority of sales across

the Southeast in the hands of only two producers and would create higher prices for

businesses and consumers in the Southeast United States, which the district and appellate

courts ruled was too narrow a geographic market. The merger was finalized on November

30, 2021.

       C.     Defendants Unlawfully Raised, Fixed, Maintained, or Stabilized Prices
              of Granulated Sugar in the United States.

              1.     Defendants Unlawfully Shared Confidential Price and Sales
                     Information With Each Other.

       “Genuine competitors do not make daily, weekly, and monthly reports of the
       minutest details of their business to their rivals . . . .”

                                    —American Column & Lumber Co. v. United States,
                                                          257 U.S. 377, 410 (1921)

       112.   Defendants engaged in a systematic and deliberate scheme to exchange

competitively sensitive, non-public information to suppress competition and maintain

artificially high prices for Granulated Sugar in the United States. Through a network of

coordinated exchanges facilitated primarily by Commodity, the Producer Defendants—

United, Michigan Sugar, Louis Dreyfus, Imperial, and ASR/Domino—shared and received

current pricing, sold positions, crop size and yields, and forward-looking price strategies.

These exchanges were neither anonymized nor publicly accessible, serving only the agreed


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conspiratorial purposes of the Producer Defendants.

       113.     There is no economically rational reason for the Producer Defendants to

share such information. This information was shared for the purpose of enabling

Defendants to effectuate their agreement to artificially affect prices and avoid competing

with one another. The information sharing scheme is a plus factor that supports the

existence of a per se unlawful conspiracy to raise, fix, maintain, and/or stabilize prices of

Granulated Sugar during the Relevant Time Period.

       114.     Additionally, Defendants’ information sharing scheme is, in and of itself, an

independent violation of Section 1 of the Sherman Act, analyzed under the Rule of Reason.

       115.     Mechanism     of   Information     Exchange.    Commodity      acted   as   a

clearinghouse, collecting detailed, sensitive information from the Producer Defendants,

and rapidly redistributing it by agreement to other Producer Defendants within the cartel.

The information exchanged allowed the Defendants to avoid price competition and

coordinate their pricing strategies in near real-time. For example, “sold positions,” which

reflect the percentage of a seller’s inventory already committed for sale, provided critical

insights into each competitor’s pricing flexibility. By knowing when a rival was nearing

full capacity, the Producer Defendants could confidently raise prices without fear of

undercutting.

       116.     The role of Commodity in facilitating this scheme was crucial. Unlike

legitimate industry analysts, Commodity lacked a public presence, did not market its

services to the public, and did not publish anonymized market research based on the data

it received. This exclusive and secretive arrangement underscored the Producer


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Defendants’ intent to limit access to critical market information and maintain their price-

fixing conspiracy.

       117.   Commodity did not gather information through voluntary surveys or periodic

polling that it anonymized. Instead, the Producer Defendants regularly shared

competitively sensitive information about their pricing and sold positions with

Commodity, and Commodity in turn contemporaneously shared that competitively

sensitive information with the other Producer Defendants.

       118.   Commodity does not make its reports available to purchasers of Granulated

Sugar and others in the sugar supply chain, thereby strengthening the advantage that the

Producer Defendants gain by sharing information only with one another as producers.

       119.   Commodity does not anonymize the competitively sensitive information it

receives from the Producer Defendants when passing such information on. Furthermore,

Commodity does not share or offer to share this competitively sensitive information with

the customers of the Producer Defendants, nor does it publicly publish the competitively

sensitive information it obtains from and shares with the Producer Defendants or otherwise

make it available to consumers.

       120.   The Producer Defendants understand the competitive sensitivity of the

information that they provide to Commodity. Commodity understands that the

competitively sensitive information that the Producer Defendants share would not

ordinarily be disclosed to competitors. The purpose of their sharing was to enable United,

Michigan Sugar, Louis Dreyfus, and ASR/Domino to raise, fix, maintain, stabilize, or

coordinate prices of Granulated Sugar in the United States.


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      121.   Impact on the Market. The consequences of the Defendants’ coordinated

efforts were profound. By maintaining a shared understanding of each other’s pricing and

market strategies, the Producer Defendants effectively eliminated meaningful competition.

The USDA’s restrictive production allotments and import limitations further amplified the

anticompetitive effects, as Defendants could manipulate supply to exploit limited market

alternatives. Retail sugar prices rose significantly during the Class Period, with no

corresponding increase in production costs or supply constraints.

      122.   Due to United States Department of Agriculture (“USDA”) production

allotments linked to USDA loan programs and limitations on imports and tariffs, the

Producer Defendants know that as they sell out of Granulated Sugar, they can charge higher

prices because there will be little to no additional competitive product available in the

market that could force them to reduce price. Thus, knowing one another’s sold position

allows them to calculate when and how much they can raise, fix, maintain, or stabilize

prices due to the amount of supply.

      123.   Commodity provided this reciprocal information to the Producer Defendants

rapidly, often within hours of having received it. The Producer Defendants then used the

market intelligence they received from Commodity and other sources when deciding how

much to charge for their products and to extract supra-competitive prices.

      124.   Using the non-anonymized competitively sensitive non-public information

exchanged through Commodity, the Producer Defendants ensured that they would not

undercut each other’s prices and cause prices to decrease as they would in a competitive

market. The Producer Defendants learned of each other’s current pricing, crop size, crop


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yields, future beliefs on pricing, and sold positions only because Commodity collects this

competitively sensitive information from each of them and shares it with the other,

pursuant to their unlawful agreement.

       125.    In recent testimony, the Sourcing Business Leader for the Meals and Baking

Operation System at General Mills explained that as a large customer of sugar it would

negatively impact General Mills if sugar suppliers were sharing their sold information with

one another.

       126.    In particular, General Mills believes that “if [sugar suppliers] knew what

other [suppliers] were potentially going to offer, how much they would offer or how

aggressive someone else would be, [it] could potentially dictate what type [of] pricing they

would submit to us.”

       127.    United does not publish the company’s current Granulated Sugar prices or

its sold position. United’s sold position was confidential, and its employees were supposed

to keep that information close to the vest. Nevertheless, United shared it with Mr. Wistisen,

who United knew would pass it along to ASR/Domino and other competitors.

       128.    Dirk Francis Swart, executive vice-president of sales at United States Sugar,

testified that United Sugar shares information with Mr. Wistisen because United “know[s]

he’s going to share information and we want the information that gets shared to be

accurate.”

       129.    ASR/Domino has a written code of conduct with an ethics policy that

prevents any ASR/Domino employee from directly talking about ASR/Domino’s pricing

with a representative of one of ASR/Domino’s competitors. Nevertheless, ASR/Domino


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employees shared non-public, confidential, commercially sensitive pricing, sold position,

and other information with Mr. Wistisen knowing that he would provide the information

to other competitors.

       130.   The unlawful agreement to fix prices was implemented through information

exchanged through Commodity, which included current pricing, future or forward pricing,

pricing strategies, and sold positions. The conspiracy also included price signaling among

Defendants, and upon information and belief, communications made through other

conduits including persons and/or software platforms.

       131.   Furthermore, as market leaders, the Producer Defendants account for the

majority of Granulated Sugar production, sales, and capacity. As a result, smaller market

participants are not an effective competitive constraint on Producer Defendants’

dominance.

       132.   Evidence of Coordinated Conduct. The conspiratorial exchanges between

the Defendants were neither incidental nor benign. For example, on multiple occasions,

senior executives at ASR/Domino and United explicitly sought to signal pricing intentions

to their competitors. Internal communications reveal efforts to share updates on market

“tightness,” forward-looking price increases, and inventory conditions through

Commodity, ensuring alignment among the Producer Defendants. These exchanges were

instrumental in setting supra-competitive prices.

       133.   The exchange of pricing, crop size and yield, and sold position information

by the Producer Defendants was intended to ensure—and did ensure—higher prices for

Granulated Sugar than would have existed in a competitive market unaffected by the


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Defendants’ anticompetitive agreement.

       134.   The Producer Defendants knowingly and intentionally sought, shared,

received, and used non-public, competitively sensitive information from Mr. Wistisen of

Commodity pursuant to their anticompetitive agreement as alleged below, in order to raise,

fix, maintain, or stabilize Granulated Sugar prices.

       135.   In connection with the United/Imperial merger investigation, direct evidence

of conspiratorial communications sharing competitively sensitive information was made

public. Excerpts of inculpatory communications follow:

       136.   As an example, a September 16, 2019 email communication to Mr. Wistisen

from ASR/Domino’s Vice President of Industrial Sales, Alan Henderson, disclosed

ASR/Domino’s 2020 pricing and sold positions. Mr. Wistisen asked Mr. Henderson,

“Wondering where you would put refined prices and coverage?” Mr. Henderson responded

“Pricing for FY20: Northeast - $38.50 bulk basis Gulf - $36.50 bulk basis West - $39.00

bulk basis Cane refiners should be close to 70 to 75% covered for FY20. The open business

that does remain will be at higher prices.”

       137.   ASR/Domino disclosed this confidential information knowing it would be

shared with its competitors, and in return, that it would get its competitors’ confidential

information. Mr. Wistisen responded that he would send crop and pricing updates in the

next day or two, and noted, “The price updates I did receive today didn’t have nearly the

level of cane price increases you reported . . . but I bet they’re headed that way[.]”

       138.   Commodity was not the only conduit of information between the Producer

Defendants during this time period. On November 15, 2019, Gerald Kramer of Kramer


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Brokerage Co. shared Domino price quotes with multiple Louis Dreyfus managers, and

inventory details: “[a]lso told that Domino still has sugar to sell.” In response Jim Evans,

National Sales Manager at Louis Dreyfus, expressed his appreciation: “This is very

helpful!” Jeana Hines, Vice President of Sales & Marketing at Imperial, in the same email

chain, asked Gerald Kramer, “Have you heard anything on what Domino is doing with

pricing for their grocery retail business?” Kramer responded, “Domino will not sell any

50# EFG below $24.00/50# fob refinery thru 2020 for end users and only thru 12/31/19 for

distributors. If I get any info on retail business I will pass it on.”

       139.    On January 8, 2020, Robert Sproull, Senior VP of Sales Marketing and

Product Development at ASR/Domino, emailed Mr. Henderson “it’s really important we

signal to the market that there’s still going to be tightness,” and “[w]e need to signal to the

market that we’re going to maintain price, especially for the Oct-Dec quarter. And there’s

not much to lose here. Pure price discovery.”

       140.    On March 3, 2020, Mr. Henderson sent an email regarding “Colloquium

Recap” to Mr. Sproull, which contains a “summary of points from the International

Sweetener Colloquium,” including “Competitive Numbers” for fiscal year 2021 for certain

competitors, including “Michigan firm at $38.50 for 2021,” “United took prices up to

$36.50 FOB RRV pre colloquium to the trade and heard it from specific customers,”

“Clewiston - $37.50 FOB bulk,” “NSM – still offering sugar in FY20. Values close to

43.00/44.00 fob factory, 46.00/47.00 fob west coast transfer stations,” “Imperial —

38.00/38.50 for CY 2021 on bulk EFG.”

       141.    The Producer Defendants provided accurate information to each other


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through Mr. Wistisen. ASR/Domino was typically “upfront” with the information it

provided to Mr. Wistisen. In one example of such “upfront” information, Mr. Henderson

disclosed to Mr. Wistisen in an August 2020 email pricing updates for ASR/Domino

Granulated Sugar. On August 17, 2020, Mr. Wistisen wrote to Mr. Henderson, providing

him with sugar market updates and asked: “Where would you put cane prices and

coverage?” The next day, August 18, Mr. Henderson responded:

      [...]

      Quick Update:

      Pricing:

      Northeast - $39.00 to $40.00 BULK FOB

      South - $37.50 to $37.75 Bulk FOB - fighting Cargill mainly

      West - $39.50 to $40.00 Bulk FOB - values staying strong…

              Cane gulf still fighting for share - but some talk of Cargill moving prices up

              to $37.50 gross fob.

      Coverage:

      Beets - 70 to 75%

      Cane - 50 to 55%

      [...]

      142.    Moreover, Mr. Wistisen told both United and ASR/Domino that he spoke

with Michigan Sugar, and other sellers, and that the information he provided came directly

from them. For example, Mr. Wistisen wrote to United that “ASR saying back up to $40.50

to $41,” on one occasion, and on another, he wrote to Mr. Henderson that “the United


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[pricing and sold position] info I provided was direct from them this morning. They held a

big huddle yesterday (sounded like all sales reps/VP were present), and those numbers were

the result.” When discussing pricing, he stated that he did not have Michigan pricing yet,

and “I hope to talk with them [Michigan] on Fri./Mon.”

      143.   Similarly, Mr. Wistisen shared Michigan Sugar’s pricing and sold positions

with United and ASR/Domino. In August 2020, he reported to Mr. Henderson at

ASR/Domino, “My goodness, what a difference a month makes. Michigan 85+%

booked[.]” The next month, Mr. Wistisen reported, “Michigan holding forecasts

unchanged, sugars nearing 16%, factories running well, stockpiling on Oct. 19th.” He

added with regard to pricing that Michigan was at “$38.5+, selective selling.”

      144.   Mr. Wistisen provided information on pricing and sold position to the

Producer Defendants rapidly, often soon after having received it. On September 21, 2020,

Mr. Wistisen separately asked, within minutes, Mr. Henderson and Eric Speece, a Director

of Strategic Accounts at United, if there was “[a]nything new of interest on the pricing

front?” They each responded with their company’s respective pricing and sold positions.

Mr. Speece shared, “We are firm at $36.50 (no change) and now $38.50 on cane (an

increase of $0.50/cwt) and yes you heard correctly we are 90+% sold.” In response,

Commodity thanked United “for keeping the communication lines open!”

      145.   On September 22, 2020, Mr. Henderson responded:

      “Pricing (Cane)

      North and mid-Atlantic - $40.50 to 41.00 FOB - prices were lower past few weeks

      but have firmed up to these levels. No discounting at this time.


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       Gulf - $38.50 fob

       West - $40.50 to $41.00 fob firm

       Note - higher levels for the Oct./Dec. 20 period as most cane and beet companies

       are well sold and/or filling past force majeure volume.

       I'm hearing most cane guys 70 to 75% booked with the exception of Cargill at

       90%??

       Beet prices below seem accurate and coverage at 90% I believe is about right.”

       146.    On September 22, 2020, less than three hours after receiving Mr.

Henderson’s response, Mr. Wistisen provided United and ASR/Domino with the

information from each other in emails less than a minute apart. Mr. Wistisen told

ASR/Domino that “U.S. Sugar recently increased to $38.50, so looks like the range is

$38.50 to $41, nice increase over last month. Beet not much change from earlier

indications, prices are $36.50 to $38.75, very little sugar available at the low price, industry

coverage 87%, all but NSM over 90+% booked.” To United, Mr. Wistisen wrote, “ASR

saying back up to $40.50 to $41. So now I have cane range at $38.50 to $41 Coverage . . .

. ASR 5% below that, and the other southern refiners up 10-15% from the average. . . .

Waiting for confirm from Michigan, but Midwest ranging from $36.50 to 38.75, very little

available at low price (so I hear).”

       147.    In yet another example, Mr. Wistisen emailed both Mr. Speece at United and

Mr. Henderson at ASR/Domino within approximately 40 minutes of each other in mid-

November 2020 asking “where would [they] put . . . prices?” Both responded later that day

with pricing information.


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       148.   On November 16, 2020, Mr. Wistisen wrote to Henderson at ASR/Domino,

asking: “Curious what you’re hearing on domestic raw and refined pricing? I haven’t heard

back from United yet. Did they pullback from spot market? Where would you put prices

and cane coverage?” Mr. Wistisen received his response from ASR/Domino later that day,

which he conveyed to Domino, along with a note that he is “waiting to hear back from a

number of contacts.”




       149.   On the same day, November 16, 2020, Mr. Henderson updated Mr. Wistisen

on ASR Pricing and inventory: “Prices have firmed up again based on higher # 16 values,

beets close to sold out and less imports, tier 2 sugar available at this time. Near-by values

back up to $46.00 FOB all locations. For calendar 2021: East/West - $42.00 fob[;] Gulf -

$39.50 fob [;] Cane Coverage - 85-90%[.]” On November 17, 2020, Mr. Wistisen

responded “So strange, I can’t wrap my head around United’s approach. They came up

very short on production, and market has firmed, but they’re still at $36.50 RRV and $38.50


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Southeast?!?! But did say they’ll probably be taking prices higher given strong sold

position . . .”

        150.      On January 19, 2021, Mr. Wistisen wrote to United delivering several

paragraphs of information on developments in the sugar industry. Near the end, he asked:

“Has United put out a price range on FY22?” On January 20, Mr. Speece at United

responded: “We have not yet set pricing for 2022, but we will soon.”

        151.      Mr. Wistisen later emailed Domino/ASR asking for “[a]ny guidance

[ASR/Domino] could give on how sub-30 cent No 16 prices makes sense?” Mr. Henderson

at ASR/Domino and Mr. Wistisen exchanged messages regarding the “reason” Mr.

Henderson had “heard,” and Mr. Wistisen responded with real-time information from

competitor United, “Long conversation with United: won’t set FY22 price list until March,

but the plan remains to hold steady at $36.50 and $38.50 based on demand, inventories,

No. 16, and looking down the road and expecting another year of tight quotas in FY22.

Selling FY21 firm, good activity, little to no competition from NSM or Western.” Mr.

Henderson passed this along to Adam Whittaker at ASR/Domino, adding, “United is

usually pretty upfront with [Wistisen].” Whittaker replied “Good timing. Just off the phone

with Ron…United telling him they're at $36.50 for 2022 but very little activity for now [...]

Ron also asking about raw prices [...]” Upon information and belief, Ron refers to Ron

Sterk from Sosland Publishing, the publisher of the Sosland Sweetener Report.

        152.      On February 15, 2021, Mr. Wistisen wrote to Mr. Speece at United: “Any

action in FY22? Has United put a number on it yet? No word back from other

processors/refiners, I’ll send along indications.” Mr. Speece quickly responded: “We are


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still at the $36.50 and $38.50 with zero problems selling at those values. I do not anticipate

any changes to our prices, but we have not formally decided. No action on 2022 just some

small inquiries.” Mr. Wistisen asked: “Just to clarify: United has not issued FY22 list

prices, and at this point doesn’t expect FY22 prices to change much from remainder

FY21?” On February 16, 2021, Mr. Speece answered: “Give me a ring and we can discuss.”

       153.   The next day, February 17, 2021, Mr. Wistisen wrote to ASR/Domino:

“Long conversation with United: won’t set FY22 price list until March, but the plan

remains to hold steady at $36.50 and $38.50[.]”

       154.   On March 25, 2021, in response to the news that “[i]mperial’s sugar will be

marketed by United,” Adam Whittaker, Director at Domino Foods, remarked that, “It’s

going to be more important than ever to stay close to United. To the point where we might

want to start thinking about ways to work with them (i.e., asking them for quotes

[REDACTED]), on down the road. This is setting up to smell a bit like ADM/Cargill in the

corn sweetener industry. 2 players that account for ~65% of the industry . . .”

       155.   On April 29, 2021, Mr. Wistisen wrote to Mr. Henderson: “Where would you

put price ranges and demand? I have spot $36.50 firm Midwest, $39.00 firm Michigan (but

watching Baltimore progress, could creep higher), and east and west coasts now at $44.00.

And forward I have quoting at $35.50-$36 Midwest, 37.50-38 Gulf, $42.00 Coasts,” and

provided pricing information.     In response to the inquiry, Henderson confirmed the

accuracy of Wistisen’s information: “I believe your pricing numbers below are very

accurate,” and provided additional pricing details: “Prices in FY21 are very firm with both

coast at $43.50/$44.00 bulk FOB basis. We heard RRV folks are tight and holding at


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$36.50 fob. For FY22, RRV at $35.50 big volume, $36.00 smaller volume fob. For us,

closer to $39.00 gulf, $38.50 Florida and $41.50 both coasts. Close to 30% coverage for

FY22.”

       156.   On May 11, 2021, Mr. Wistisen wrote to ASR/Domino: “Are those higher

spot prices, $43.50-44.00 holding up?” On May 12, 2021, Mr. Henderson responded: “All

is good in Baltimore. Melt rates close to 90% of pre-fire levels. With that being said near-

by prices are selling at $44.00 fob bulk basis. The $31.50 #16 is also pushing white pricing

up.”

       157.   On May 17, 2021, Wistisen emailed Henderson, requesting pricing and

inventory information: “Have you bumped up FY22 prices yet on explosive gains in No.

16 prices… Where would you put refiner FY22 coverage?”

       158.   Later that same day, Henderson responded with ASR/Domino FY21 pricing:

“FY21 prices – now at $45.00 fob bulk basis east and west coast. Down in Florida and gulf

$44.00 fob bulk basis. FY22 prices – $42.00 fob bulk basis, $40.50 fob bulk basis Florida

and the gulf. FY22 coverage – approximately 35 to 40%.”

       159.   On May 18, 2021, Mr. Wistisen wrote again to ASR/Domino: “Just talked

with United: prices unchanged, spot and forward Hello!? But their head honcho is on

vacation, bad timing Only about 40% covered. But expect big action over the next month,

20+% add to bookings, and at that time expect to raise prices, and not by just a

dollar...Western limping along, NSM picking off business...They’re still $36 spot and

forward, 45-50% booked. NSM: ...I believe they're $36 Renville and $38 west, 45-55?%

booked.”


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      160.   On May 26, 2021, Henderson circulated an internal email, relaying pricing

information from his conversation with Wistisen, “Not surprised at the $37.75 fob rail for

Cargill. In talking with Jenkins and Rich Wistisen they believe Cargill is offering $2.00

above RRV beets for FY22. United - 35.75 fob RRV for many decent size accounts. Cargill

- 37.75 fob Gramercy for good rail volume.”

      161.   On June 17, 2021, Mr. Wistisen emailed Mr. Henderson an update on crops

and asked, “What are you seeing on the price and demand side of things?” Mr. Wistisen

then explained:

      “I’m just getting going on pricing, but have heard a bit:

      NSM: 35-36 net RRV, 37 net West. Claiming to be close to sold out at Brawley,

      70% Renville, but only 40% booked Amalgamated.

      United reportedly (I’ll talk with them tomorrow) holding $36.50 gross, bigs are

      booking and getting discounts of about a buck or less, that’s less than last season.

      Western supposedly (I’ll talk with them tomorrow) increased prices to $36.50 net,

      not getting many takers.

      No talk on Michigan, yet. I hope to talk with them Fri/Mon.

      Cane: I’m hearing Cargill is really chasing prices lower, a few deals under $37 gross.

      And that Southeast has slipped below $38?

      But that ASR is holding firm on the coasts.”

      162.   The next day, Mr. Henderson responded:

       “[w]ord on the street [was] United moving up a $1.00 cwt since bookings now over

      60%." He went on to share future prices for the 4th quarter of 2021:


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      “Cane prices firming up as #16 values rise.

      Oct.- Dec. 21

      East/West coasts ·- $44.00 gross fob bulk basis

      Gulf - $42.00 gross fob bulk basis

      Jan.- Dec. 22

      East/West - $42.00 gross bulk basis

      Gulf - $39. 75 gross fob bulk basis.”

      163.   On July 12, 2021, Mr. Wistisen reported to Henderson new pricing and

inventory details: “Michigan and Western 80+% [booked], and rumors suggest United is

also now around 80% booked and recently increased prices (I hope to have confirmation

soon). Hearing NSM still a bit aggressive, at least into Texas.” In the same email, Mr.

Wistisen asked, “What's happening on the cane side of the fence? Sounds like you're now

$48 spot, and Imperial $49. Where would you put forward pricing and coverage?”

      164.   That same day, Mr. Henderson responded updating Mr. Wistisen on

ASR/Domino’s pricing details: “Our pricing for remainder of FY21 is $48.00 bulk basis

all locations. With raws remaining high in the Oct./Dec. 21 period we are $46.00 fob bulk

basis east/west and $44.00 gulf. For FY22 close to 65% booked and moving prices up. I

haven’t officially seen a United price increase but heard it’s out there (+$2.00).”

Additionally, on the same day, Henderson forwarded Wistisen’s message to coworkers,

saying, “FYI below………United price increase. Rich is thinking $2.00 increase but no

official word yet. Let’s see if we can hunt something down.”

      165.   On July 16, 2021, Mr. Wistisen wrote to ASR/Domino: “I don’t understand


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it, but this is the word from United: 80-85% sold, will be at 90 very soon. Beet holding at

$36.50 firm, and cane increased to $39.50 firm… Any changes in ASR forward prices? I

have you at $39.75 gulf and $42 coasts.” Later, Mr. Wistisen adds: “Well at least one group,

your group, has their finger on the pulse of this market. The United info I provided was

direct from them this morning. They held a big huddle yesterday (sounded like all sales

reps/VP were present), and those numbers were the result.”

       166.   Also on July 16, 2021, Henderson updated Wistisen on ASR’s pricing: “We

are now $40.50 gulf, $43.00 fob east and west coast.”

              2.     Defendants Relied Upon the Exchanged Competitively Sensitive
                     Information.

       167.   The Producer Defendants used the sensitive information they exchanged

through Mr. Wistisen in furtherance of their anticompetitive agreement and used it to send

messages to competitors about desired price levels. For example, Robert Sproull, Senior

Vice President of Sales & Marketing at ASR Group, forwarded pricing information from

Mr. Wistisen to others at ASR/Domino with a recommendation of what price ASR/Domino

would have to offer to win a specific customer’s business. In another example, United’s

Mr. Speece thought a competitor was selling at too low a price, so he told his colleagues

that United “may want to communicate pricing earlier than the colloquium to send a msg

[message].” Knowing a competitor’s sold position was used to justify higher prices.

       168.   ASR/Domino’s Mr. Henderson frequently forwarded the information

obtained about other competitors from Mr. Wistisen to his sales team and his superior. In

one such example, Mr. Henderson received, and forwarded to his subordinates, information



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from Mr. Wistisen that United would likely be adding bookings and raising prices over the

following month, and “not by just a dollar.” In another example, Mr. Henderson sent to his

boss, Mr. Sproull, information on competitors’ inventory position that he received from

Mr. Wistisen.

       169.     United not only received information from Mr. Wistisen that it used in

pricing decisions and to send messages about pricing to competitors, but also affirmatively

used him to signal competitors. In one example, United’s Executive Vice President, Dirk

Swart, told United’s Mr. Speece that he wanted Mr. Wistisen to “hear” that United’s current

beet sugar price was $36.50 and cane sugar price was $38, but United was contemplating

increasing its prices given its sold position. They discussed what they wanted to “indicate”

to Mr. Wistisen before deciding to continue the conversation by phone.

       170.     United’s Mr. Swart believes that the “better information about what [his]

competitor’s actual prices were, [United] could better avoid these destructive situations”

of customers using pricing information to negotiate better prices. Customers believe that

competitors sharing this information harms them.

                                           * * *

       171.     There is no plausible, non-conspiratorial justification for the Producer

Defendants to use Commodity and/or other means to secretly share highly confidential and

proprietary detailed information about their current and future prices and sold positions. In

a competitive market, such proprietary, competitively sensitive information would be a

closely guarded secret.

       172.     Defendants knew and intended that their private exchanges of competitively


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sensitive information about prices and sold positions would allow them to artificially raise,

fix, maintain, or stabilize Granulated Sugar prices above the levels they would have been

absent the anticompetitive conduct alleged herein.

       173.    The Producer Defendants are interested in achieving higher prices for

Granulated Sugar. In one instance, United raised prices in part to “send[] a message” to its

competitors “that we were not interested in allowing the market to slip lower.” United’s

CEO Matthew Wineinger testified that he was “confident” that “word got back” to United’s

competitors.

       174.    In fact, in a March 2019 internal presentation, United explained that it

launched a new “Competitive Sourcing Project” in 2019 to, among other things, “[o]btain

real-time market data on which competitors are supplying the lanes / customers (by

geography)”.

       175.    ASR/Domino similarly anticipated competitive reactions, used pricing to

send signals to competitors, and considered how its actions may cause market prices to

decline.

       176.    ASR/Domino decided not to get “aggressive” on pricing because

ASR/Domino “would like to avoid sending a signal out to competitors that we are chasing

business and lowering pricing.” ASR/Domino also wanted to “signal to the market” that

there would be tightness and ASR/Domino would “maintain price.”

       177.    ASR/Domino also observed that the proposed acquisition of Imperial by a

member of the United cooperative was a “good thing” for ASR/Domino because it would

help to align United’s pricing strategy with ASR/Domino’s. ASR/Domino believed that


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after the acquisition of Imperial, “[i]t’s going to be more important than ever to stay close

to United” and “[t]his is setting up to smell a bit like ADM/Cargill in the corn sweetener

industry. 2 players that account for ~65% of the industry.”

       178.   Michigan Sugar likewise participated in the sharing of sensitive information

regarding pricing and sold positions with the intention of artificially raising, fixing,

maintaining, or stabilizing Granulated Sugar prices above the price that would have

prevailed in a competitive market.

              3.     Defendants Agreed to a Common Formula to Fix Prices.

       179.   In furtherance of their agreement to manipulate and fix the prices of

Granulated Sugar, the Producer Defendants developed and agreed to standardized pricing

formulas. For example, one of their formulas relied on publicly observed benchmarks, such

as futures prices, to coordinate their pricing strategies and maintain artificially high price

levels. This approach allowed the Defendants to obscure their collusion under the guise of

market-driven practices while avoiding competitive pressures.

       180.   The Producer Defendants routinely referenced Number 16 spot prices to set

their Free on Board (FOB) pricing. For example, in February of 2021, Wistisen told

Henderson that on the pricing side, sugar prices could increase thanks, inter alia, to the

“history of excellent selling restraint/patience from ASR, [and] high no. 16 prices….” This

communication highlights how shared adherence to such benchmarks reinforced collusion

rather than competition.

       181.   Similarly, in July 2021, Henderson referenced United’s impending $2 price

increase for beet sugar, emphasizing that it “makes sense if they follow the #16 market and


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do the math.” Henderson later acknowledged that ASR/Domino was actively “pricing off

#16 market,” and that United mirrored this strategy, raising its Gulf FOB price to precisely

match ASR’s price of $40.50. United’s executives admitted that this increase followed a

“big huddle” among their marketing team, a clear signal of coordinated decision-making.

          182.   Even as Imperial Sugar operated outside the domestic production framework

before its acquisition by United, it relied on similar pricing formulas tied to Number 16

prices. Notably, Imperial declared that “acting as a price-taker would put the whole

business at risk,” reinforcing its disinterest in genuine price competition. Such statements

reveal a collective industry mindset aimed at maintaining profit margins through

coordinated pricing rather than market-based competition.

          183.   The Producer Defendants’ reliance on shared pricing formulas constitutes a

per se violation of the Sherman Act. The Department of Justice, in an amicus brief filed in

Gibson v. Cendyn Grp., LLC, affirmed that any “formula underlying price policies,”

whether or not executed uniformly, qualifies as unlawful concerted action: in which it

stated:

                 In particular—and especially important here—the per se
                 prohibition on price fixing applies with full force to concerted
                 action by competitors on any “formula underlying price
                 policies.” [United States v.] Socony-Vacuum [Oil Co.], 310
                 U.S. [150] at 222, 226 n.59 [(1940]); see also id. at 223 (“an
                 artificial stimulus applied to (or at times a brake on) market
                 prices, a force which distorts those prices, a factor which
                 prevents the determination of those prices by free competition
                 alone”). That includes any formula used to fix benchmark,
                 component, recommended, or “starting point” prices—even if
                 end prices ultimately vary….see also, e.g., …Gelboim v. Bank
                 of Am. Corp., 823 F.3d 759, 765, 771 (2d Cir. 2016)



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             (“benchmark” or “component” used in contracts setting
             interest rates).

             Moreover, black-letter antitrust law prohibits horizontal price-
             fixing agreements without regard to whether the agreement is
             carried out at all. The agreement itself is the violation.

Amicus Brief dated Oct. 24, 2024, at 24-25, Gibson v. Cendyn Grp., LLC, No. 24-cv-03576

(9th Cir.) (ECF No. 28.1). Courts have consistently recognized that collusive reliance on

formulas to set prices distorts free-market dynamics and undermines competition.

      184.   By agreeing to common pricing formulas based on Number 16 spot prices,

the Producer Defendants created an environment where price-fixing was not only feasible

but virtually guaranteed. This deliberate coordination eliminated the unpredictability

inherent in competitive markets, ensuring stable yet inflated prices that directly harmed

competition generally and consumers specifically. Such conduct underscores a blatant

disregard for antitrust principles, further illustrating the Defendants’ conspiratorial

objectives that amount to a per se violation of the Sherman Act.

             4.     Defendants’ Retail Granulated Sugar Prices Increased
                    Dramatically and in Parallel Over the Class Period.

      185.   Granulated Sugar prices increased significantly during the Class Period as a

result of Defendants’ conduct. As shown in Figure 2 below, nominal retail prices of

Granulated Sugar rose 69% from January 2019 through October 2024:




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Figure 2.

       186.   This increase was contrary to pricing patterns prior to the Class Period and

is not explained by market forces, such as inflation (CPI) 4, as shown in Figure 3 below:




       4
        Consumer Price Index (“CPI”) is a price index of a basket of goods and services
paid by urban consumers. Percent changes in the price index measure the inflation rate
between any two time periods. CPI is a commonly recognized measure of inflation in the
United States.

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Figure 3.

       187.   Moreover, Granulated Sugar prices increased dramatically during the Class

Period without a decline in the supply of Granulated Sugar. U.S. beet and cane sugar

production increased from 8,999,000 short tons in 2018/2019 to an estimated 9,368,000

short tons in 2023/2024.

       188.   In the past 20 years, the price of Granulated Sugar has doubled on an indexed

basis. There is no economic rationale for the rate of price increases during the Class Period.

       189.   United relied upon Mr. Wistisen at least as early as the first half of 2019 to

enable it to fix or coordinate prices with the other Producer Defendants. Cane sugar prices

are now at their highest levels since November of 1974. Commencing on or about October

of 2019, prices experienced one of the steepest climbs ever, which is ongoing. During that



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period, the Producer Price Index (“PPI”) calculated by the Federal Reserve Bank of St.

Louis went from 87.6 to 97.4. After United’s acquisition of Imperial in 2023, prices further

increased, going from a PPI of 110.6 to 123.2 by the end of 2023.

        190.   Since Defendants control more than 70% of the market, it is not surprising

that Defendants increased the retail prices for Granulated Sugar by the same or nearly the

same dramatic amount over the Class Period.

        191.   For example, consider the price of Defendants’ four-pound bags of sugar sold

to consumers at supermarkets and other retailers. In 2020, a standard four-pound bag of

Domino brand Granulated Sugar cost $2.49 at Target. By 2022, the same four-pound bag

of Granulated Sugar cost $3.49 at Target. By 2024, the price for the same Domino four-

pound bag of Granulated Sugar nearly doubled from its 2020 price to $4.89 at Target in

2024.

        192.   Similarly, C&H brand Granulated Sugar, also priced at $2.49 for a four-

pound bag at Target in 2020, is now $3.99—a 60% price hike.

        193.   A four-pound bag of Michigan Sugar’s Pioneer brand Granulated Sugar (at

Kroger) and United’s Crystal brand Granulated Sugar (at Target) each are both priced at

these artificially high levels; each now costs $4.49.

        194.   Meanwhile, there is no relief for consumers even when they turn to private

label Granulated Sugar brands (many of which are manufactured by the Producer

Defendants). Over the past four years, Target’s Good & Gather private-label brand

Granulated Sugar has increased 65% to $3.29 for a four-pound bag. This means that big-

box private-label brand Granulated Sugar is now 30% more expensive than what name-


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brand Domino Granulated Sugar cost very early in the Class Period.

       D.     Additional Plus Factors Support the Existence of a Conspiracy

       195.   In addition to the direct evidence of unprecedented price increases and

extensive information sharing by the Producer Defendants commencing with the

engagement of Commodity and Mr. Wistisen, as well as the dramatic price increases

imposed by each of the Defendants during the Class Period, there are other economic

factors, also known as “plus factors” in antitrust parlance, that are conducive to, and

plausibly suggest collusion, including, but not limited to: (a) sugar industry consolidation

and concentration, (b) high barriers to entry, (c) inelastic demand, (d) high vertical

integration, (e) opportunities to collude, (f) the fungible, commodity nature of Granulated

Sugar, and (g) a history of antitrust violations by sugar manufacturers, including a number

of the Producer Defendants and/or their predecessors.

              1.     The Market is Highly Concentrated and the Defendants Are the
                     Dominant Firms.

       196.   Prior to U.S. Sugar’s acquisition of Imperial in 2022, the top three marketers

of sugar in the United States accounted for 65% of the market. 5

       197.   While the Producer Defendants dominate the industry, none of the remaining

producers of Granulated Sugar have had a market share that remotely approaches that of

the Producer Defendants.



       5
         American Crystal Sugar Company, “A Testament to the Limitless Potential of
Growers,” https://www.crystalsugar.com/our-company/cooperative-
profile/#:~:text=Market%20and%20Competition,and%20The%20Western%20Sugar%20
Cooperative.


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       198.   Furthermore, the industry recently became even more concentrated when

United acquired Imperial in 2023, resulting in a substantial increase in dominance by

ASR/Domino and United.

              2.     Barriers to Entry Are High.

       199.   There are high barriers to becoming a manufacturer of Granulated Sugar. The

start-up capital necessary to compete with today’s Granulated Sugar manufacturers would

be substantial. Granulated Sugar manufacturers have large economies of scale, utilizing

large and expensive production facilities. Furthermore, Granulated Sugar manufacturers

must be vertically integrated with growers of sugar beets or sugar cane to qualify for USDA

loans and production allotments that enable growers to process raw sugar into Granulated

Sugar without competition from imports.

              3.     Demand for Sugar is Inelastic.

       200.   Economic theory recognizes that industries with inelastic demand are more

susceptible to cartel behavior because of the potential for large increases in revenue

resulting from the higher cartel prices.

       201.   Demand for Granulated Sugar is inelastic, so a decrease in supply in the face

of stable or rising demand will increase prices. Defendants recognize that Granulated Sugar

demand is inelastic. The Producer Defendants knew that they could demand higher prices

when less Granulated Sugar was available to sell. As a result, they routinely exchanged

information about their sold position to maintain higher prices because they knew that there

were no meaningful substitutes for Granulated Sugar.

       202.   Furthermore, Defendants knew that the price support programs implemented


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by the USDA limited the number of sources of raw sugar for refinement into Granulated

Sugar and protected them from foreign competition.

              4.     Defendants Are Vertically Integrated.

       203.   The Granulated Sugar industry is almost entirely vertically integrated. In the

Granulated Sugar industry, “vertical integration” means the Granulated Sugar producer

owns or controls each aspect of growing sugar cane or sugar beets, processing these crops

into raw sugar using their own processing facilities, refining the raw sugar into Granulated

Sugar in their own refining facilities, and selling their Granulated Sugar to direct

purchasers. A consolidated market with vertically integrated participants is a structural

characteristic that makes an industry conducive to collusion.

       204.   The President and CEO of Imperial Sugar prior to its acquisition by United

States Sugar testified that it was difficult for Imperial to compete with the other Granulated

Sugar producers because it was not vertically integrated. Until Imperial was acquired by

United States Sugar, it did not grow sugar cane or have direct access to domestic raw sugar

cane in the U.S. Imperial had to import raw cane sugar to manufacture Granulated Sugar.

As a result, Imperial’s costs were typically higher than the other Granulated Sugar

producers.

              5.     Defendants Had Numerous Opportunities to Collude.

       205.   In addition to sharing information through Wistisen and disseminating public

statements to competitors, Defendants had opportunities to collude through annual

meetings of the International Sweetener Colloquium (“ISC”), which is run by the

International Dairy Foods Association (“IDFA”) and is held in February of each year.


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       206.   The IDFA has characterized the purpose of the ISC as follows: “[t]he

Colloquium draws hundreds of professionals and decision-makers from the sweetener

industry and from companies that use sweeteners in the products they make. Buyers,

processors, refiners, distributors, and food companies actively participate in the

Colloquium, using it as a springboard to enhance their business and trading-partner

networks.”

       207.   Due to the COVID-19 pandemic, the ISC meeting was not held in person in

2020-2021, but resumed in person in 2022 and the years that have followed.

Representatives of Defendants attended each of the ISC’s meetings held in 2019 and 2022-

24. At the 2019 session, to offer one illustrative example, there were extensive

presentations of the factors that would dictate future sugar prices during the upcoming year.

       208.   Discussions on the sidelines of the ISC are a prime opportunity for collusion.

During the past few years, the event has served to kick start sales for the following year.

For example, in 2022, future contract prices for Number 16 sugar were discussed at the

ISC and then finalized in the weeks following the event. These prices in turn were used to

estimate Number 16 sugar futures, which in turn could be used to develop actual Number

16 spot prices during 2022 and 2023. Further discussion of pricing developments following

ISC meetings is presented in Section IV(C)(2), above.

       209.   In addition to participating in the ISC, the Producer Defendants each are

members, either directly or through one of their affiliated companies, of various trade

associations such as the Sugar Association and the American Sugar Alliance. The Producer

Defendants, directly or through their affiliates, hold board positions on these trade


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associations. For example, the Board of the Sugar Association includes Pepe Fanjul

(ASR/Domino), Mike Greear (Wyoming Sugar Company, one of the member-owners of

United), Matt Hoffman (Sugar Cane Growers Cooperative of Florida, parent company of

ASR), Neil Juhnke (Michigan Sugar), Peter O’Malley (ASR/Domino), Parks Shackelford

(Florida Crystals, parent company of ASR), Rob Sproull (ASR/Domino), and Kurt

Wickstrom (Minn-Dak, one of the member-owners of United). 6 These memberships afford

them opportunities to collude during the Class Period.

      210.   Further, the crossover of employees among the Defendants provided

additional opportunities to collude or exchange competitively sensitive information. For

example, ASR/Domino’s director of national accounts, Adam Whittaker, ASR/Domino’s

national accounts manager, Brian Dahlman, and United’s director of strategic accounts,

Eric Speece were each former employees of Cargill. Mr. Whittaker worked at Cargill for

more than a decade before joining ASR/Domino, while Mr. Speece worked at Cargill for

about nine years prior to joining United. Both Mr. Whittaker’s and Mr. Speece’s

employment at Cargill overlapped for a five-year period. Mr. Whittaker, Mr. Speece, and

Mr. Dahlman were all involved in the exchange of competitively sensitive information as

described in the email exchanges detailed herein.

             6.     Granulated Sugar is a Commodity.

      211.   As detailed above, Granulated Sugar is a fungible commodity. Coordination

is easier with a commodity product because firms wishing to form a cartel can more easily


      6
         The Sugar Association, Board Members, https://www.sugar.org/about/board/ (last
visited Nov. 12, 2024).

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monitor and detect defections from a price-fixing agreement where observed differences

in prices, other than those arising because of differences in product grade, for example, are

more likely to reflect cheating on the conspiracy than some kind of custom arrangement.

       212.    Futures contracts for domestic raw cane sugar and “White Sugar” (symbol

“W”) are traded on the Intercontinental Exchange (“ICE”) alongside other commodity

products such as wheat, crude oil, and gold. 7 Typically, when a product is characterized as

a commodity, competition is based principally on price as opposed to other attributes such

as product quality or customer service. The commodity nature of Granulated Sugar helps

to facilitate cartel behavior.

       213.    Due to the lack of product differentiation, the Producer Defendants are forced

to compete on price such that the pricing decisions of each Granulated Sugar producer

impact the market price for Granulated Sugar.

       214.    In sum, the Granulated Sugar industry has characteristics that ensure the

exchanges by Defendants of competitively sensitive, non-public, material internal

information are highly anticompetitive. The exchanges allowed the Producer Defendants

to raise, fix, maintain, or stabilize Granulated Sugar prices during the Class Period. As a

result, Defendants’ unlawful conduct caused Plaintiffs and members of the Classes to pay

artificial prices for Granulated Sugar during the Class Period. These prices exceeded the

amounts they would have paid if the prices for Granulated Sugar had been determined in a

competitive market. Plaintiffs and members of the Classes have suffered antitrust injury


       7
        ICE, Products – Futures & Options, https://www.ice.com/products/Futures-
Options/Agriculture (last visited Nov. 12, 2024).

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because of Defendants’ conduct.

                7.     There is a History of Anticompetitive Conduct in the Sugar
                       Industry.

       215.      The sugar industry in the United States has long been plagued by

anticompetitive practices, with violations of antitrust laws dating back nearly a century.

This historical pattern of misconduct serves as a backdrop to the present conspiracy,

highlighting the industry’s susceptibility to collusion and the Defendants’ deliberate

perpetuation of these unlawful practices.

       216.     1930s: The Sugar Institute Case. For example, in the 1930s, the United

States Supreme Court addressed the antitrust violations of the Sugar Institute, a trade

association for sugar manufacturers. 8 The Court upheld findings that the Institute engaged

in collusion by mandating advance price announcements and strict adherence to those

announced prices and terms. These practices stifled competition and allowed

manufacturers to control the market, setting a precedent for subsequent antitrust

enforcement in the sugar industry.

       217.     1948: American Crystal Sugar and Uniform Pricing Agreements. The

anticompetitive tendencies of the sugar industry resurfaced in 1948 when the Supreme

Court examined the activities of American Crystal Sugar, now part of Defendant United. 9

The case centered on agreements among California sugar refiners to pay uniform prices for

sugar beets. The Court condemned this arrangement, noting its far-reaching monopolistic


       8
           United States v. Sugar Institute, 297 U.S. 553, 582 (1936).
       9
           Mandeville Island Farms, Inc. v. American Crystal Sugar Co., 334 U.S. 219, 221
(1948).

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effects. By eliminating price competition among refiners, the agreements deprived sugar

beet growers of any competitive opportunity, increased market control over sugar sales,

and entrenched a monopolistic structure. The Court’s decision underscored the inherent

dangers of collusion in the sugar industry and its devastating impact on competition.

       218.   1970s: Broker-Facilitated Price Fixing. In the 1970s, the DOJ uncovered

another collusion scheme involving sugar refiners, including California & Hawaiian Sugar

Company (later acquired by Defendant ASR/Domino) and American Crystal Sugar

Corporation (part of Defendant United). The sugar refiners were accused of using “brokers

to act as go-betweens in carrying price information and exchanging assurances on price

actions between and among refiners” to facilitate price-fixing. 10

       219.   This led to a 1978 consent decree prohibiting such conduct, including direct

communications about future prices and the use of intermediaries to facilitate price

discussions. Despite these prohibitions, the practices described in the decree bear striking

similarities to the conduct alleged in this case.

       220.   Private Litigation and Settlements. The DOJ’s actions in the 1970s sparked

multiple private class action lawsuits on both coasts of the United States, where courts

certified classes of affected consumers. These cases ultimately settled, further illustrating

the pervasiveness of anticompetitive practices in the sugar industry and the widespread




        United States v. Great Western Sugar Co., et al., Case No. 74-2674-SW at ¶ 1415
       10

(N.D. Cal. Dec. 19, 1974) (complaint brought by the United States in 1974 against Great
Western Sugar Company, American Crystal Sugar Company (now part of United),
Amalgamated Sugar Company, and other sugar refiners).


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harm inflicted on consumers. 11

       221.   The history of antitrust violations in the sugar industry reveals a consistent

pattern: sugar producers and refiners have repeatedly used information exchanges and

pricing agreements to suppress competition. The Defendants’ conduct in the present case

is a continuation of this troubling legacy, exploiting structural vulnerabilities in the industry

to agree upon and maintain artificially high prices for Granulated Sugar.

       E.     Defendants’ Information Exchange is an Independent Violation of
              Section 1 of the Sherman Act

       222.   Competition is harmed when, as here, competitors with market power in a

concentrated market exchange confidential, strategic information about current and

forward-looking plans for prices and supply. Price, capacity, supply, and costs are crucial

aspects of competition. Information exchanges advance competitors’ ability to collude.

       223.   It is long held Supreme Court precedent that exchanges of competitive

information among competitors may independently violate Section 1, even without an

express agreement to fix prices. “Exchanges of current price information . . . have the

greatest potential for generating anti-competitive effects and . . . have consistently been

held to violate the Sherman Act.” United States v. U.S. Gypsum Co., 438 U.S. 422, 441

n.16 (1978); see also Todd v. Exxon, 275 F.3d 191, 211 (2d Cir. 2001) (same). “By the

same reasoning, exchanges of future price information are considered especially

anticompetitive.” Todd, 275 F.3d at 211. “Genuine competitors do not make daily, weekly,


        See In re Sugar Indus. Antitrust Litig., 73 F.R.D. 322 (E.D. Pa. 1976); In re Sugar
       11

Indus. Antitrust Litig., MDL No. 2201, 1976 WL 1374 (N.D. Cal. May 12, 1976),
mandamus denied, 559 F.2d 481 (9th Cir. 1977).


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and monthly reports of the minutest details of their business to their rivals . . . .” American

Column & Lumber Co. v. United States, 257 U.S. 377, 410 (1921); see also United States

v. Container Corp. of Am., 393 U.S. 333, 336–38 (1969) (information exchange of price

data among competitors unlawful despite absence of agreement to adhere to a price

schedule where the exchange had an anticompetitive effect in the industry).

       224.   The Second Circuit has explained, “‘[a] number of factors including most

prominently the structure of the industry involved and the nature of the information

exchanged are generally considered in divining the procompetitive or anticompetitive

effects of this type of interseller communication.’” Todd, 275 F.3d at 199 (2d Cir. 2001)

(quoting United States v. U.S. Gypsum Co., 438 U.S. 422, 441 n.16 (1978)). “[E]xchanges

of current price information have the greatest potential of creating anticompetitive effects

and have consistently been held to violate the Sherman Act.” 12

       225.   The DOJ has stated that information exchanges with direct competitors raise

serious antitrust concerns:

              [T]he sharing of information related to a market in which …
              the participants are actual or potential competitors may
              increase the likelihood of collusion on matters such as price,
              output, or other competitively sensitive variables. The
              competitive concern depends on the nature of the information
              shared. Other things being equal, the sharing of information
              relating to price, output, costs, or strategic planning is more
              likely to raise competitive concern than the sharing of




       12
         In re SSA Bonds Antitrust Litig., No. 16 Civ. 3711 (ER), 2020 WL 1445783, at
*4 (S.D.N.Y. Mar. 25, 2020) (citing Gypsum, 438 U.S. at 441 n.16).


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              information relating       to   less   competitively     sensitive
              information. 13

       226.   The DOJ has recently demonstrated a renewed focus on anticompetitive

information sharing. On February 3, 2023, the DOJ withdrew antitrust policy statements

that provided safe harbors for sharing pricing or cost information, concluding that the

policy statements were “overly permissive on certain subjects, such as information sharing,

and no longer serve[d] their intended purposes of providing encompassing guidance to the

public on relevant healthcare competition issues in today’s environment.”

       227.   The DOJ’s most current analysis of information sharing and price-fixing is

found in the amicus brief it filed on October 1, 2024 in In re Pork Antitrust Litig., No. 0:18-

cv-01776-JRT-GFD (D. Minn.) (ECF No. 2616). In that brief, the DOJ explained that

information sharing by itself can violate the antitrust laws:

       As relevant here, competitors’ exchange of competitively sensitive
       information is itself a form of concerted action that can violate the antitrust
       laws. As the Supreme Court explained in United States v. Container Corp.,
       reciprocal information exchange among competitors is “concerted action
       [that] is of course sufficient to establish the combination or conspiracy, the
       initial ingredient of a violation of § 1 of the Sherman Act.” 393 U.S. 333,
       335 (1969) (emphasis added). This is so even when the participants have the
       “freedom to withdraw from the agreement” and when the exchanges are
       “infrequen[t] and irregular[].” Id.; see, e.g., Todd [v. Exxon Corp.], 275 F.3d
       [191] at 198 [(2d Cir. 2001)] (Sotomayor, J.)] (recognizing that an
       “information exchange itself” can form a claim under Section 1).

Id. at 5-6.

       228.   With respect to a stand-alone information exchange, the DOJ went on to say:




       13
           https://www.ftc.gov/sites/default/files/documents/public_events/joint-venture-
hearings-antitrust-guidelines-collaboration-among-competitors/ftcdojguidelines-2.pdf.

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“Standalone information-sharing claims are evaluated under the rule of reason . . . If

information sharing tends to harm competition based on the full factual circumstances,

‘liability follow[s].’” Id. at 7-8 (quoting United States v. Gypsum Co., 438 U.S. 422, 446-

47 n.22 (1978)).

       229.   The DOJ also reiterated that information sharing can also support the

inference of a price-fixing conspiracy, as Plaintiffs have also alleged here, explaining:

       Information exchanges can be relevant to concerted action in a second way:
       An information exchange among competitors can support an inference that a
       price-fixing or output-restriction agreement exists. Plaintiffs therefore
       regularly rely on information exchanges as evidence of a conspiracy to fix
       prices or restrict output. See Blomkest Fertilizer, Inc. v. Potash Corp. of
       Saskatchewan, 203 F.3d 1028, 1033 (8th Cir. 2000) (en banc) (recognizing
       that information exchanges can serve as a “plus factor” suggestive of a price-
       fixing conspiracy); Penne v. Greater Minneapolis Area Bd. of Realtors, 604
       F.2d 1143, 1151 (8th Cir. 1979).

Id. at 5-6. In such circumstances, the per se rule of antitrust liability applies.

       230.   Indeed, the “[e]xchange of disaggregated data can harm competition even if

the individual firms are not explicitly identified, and the United States has obtained consent

decrees in recent years with firms that shared disaggregated information without directly

identifying individual competitors.” Id. at 12 n.9.

       231.   Here, Defendants’ information exchange existed for the purpose of

increasing prices of Granulated Sugar above competitive levels and aiding the Producer

Defendants in abusing their market power to suppress price competition.

       232.   Defendants’ information exchange took place in secret and involved the

exchange of confidential, current, and forward-looking information.

       233.   Further, as alleged above, Defendants’ information exchange occurred in


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markets with characteristics that make it particularly likely that such an exchange will have

anticompetitive effects, including markets with inelastic demand, relatively few sellers,

and a fungible product, for which competition is price-based.

       234.   As a result, as alleged above, prices for Granulated Sugar rose significantly

during the Relevant Period.

       235.   There is no legitimate procompetitive justification for Defendants’ conduct.

       236.   Defendants’ information sharing practices even violate a government

policy—the Health Care Policy Statements—that the DOJ deemed “too permissive,”

demonstrating the particularly egregious nature of the conduct being challenged here.

       237.   Defendants, through their use of Commodity and Wistisen to exchange non-

public current and forward price and sales information, have caused direct anticompetitive

effects across the nation in the form of higher prices to consumers such as Plaintiffs.

       F.     The USDA Sugar Program Does Not Render the Conspiracy Any Less
              Plausible

       238.   Defendants’ anticompetitive scheme was not constrained by the USDA sugar

program. This government program, established under the Agriculture and Food Act of

1981, is said to stabilize sugar prices domestically. Over the years, Congress has

reauthorized the program, most recently with a minor adjustment in 2018, which increased

loan rates for raw cane and refined beet sugar by 5%.

       239.   While the USDA sugar program sets certain parameters for the domestic

sugar market, it neither dictates final pricing nor shields producers from domestic

competition. Instead, it provides mechanisms like price support loans, marketing



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allotments, and import quotas to maintain baseline sugar prices in the United States.

However, these measures do not preclude the existence—or impact—of price-fixing

conspiracies like the one alleged here.

       240.   The price support loans offered by the USDA allow sugar processors to

borrow against their inventory at predetermined rates. If market prices fall below these

levels, processors can forfeit their sugar as loan repayment. Yet, during the Class Period,

there were no forfeitures, indicating that market prices consistently exceeded the USDA’s

effective support levels.

       241.   The Farm Service Agency (FSA) produces quarterly reports projecting

whether the U.S. sugar stocks reported in the World Agricultural Supply and Demand

Estimates report are likely to lead to forfeitures. 14 The FSA’s projections have concluded

that forfeitures are unlikely for every quarter since March 2019. 15 This is supported by the

FSA’s national level database of loan forfeitures for all commodities, which lists no

forfeitures for beet sugar, cane sugar, or in-process sugars since at least 2019. 16

       242.   The lack of sugar loan forfeitures since 2019 suggests that market prices have


       14
          “USDA Announces No Actions under Feedstock Flexibility Program,” Farm
Service Agency (March 29, 2019), available at https://www.fsa.usda.gov/news-
events/news/03-29-2019/usda-announces-no-actions-feedstock-flexibility-program.
(“USDA’s March 8, 2019, World Agricultural Supply and Demand Estimates report
(www.usda.gov/oce/commodity/wasde) projects that fiscal 2019 U.S. ending sugar stocks
are unlikely to lead to forfeitures.”).
       15
          FSA reports are released quarterly, with the most recent dated August 30, 2024.
For all news releases, see https://www.fsa.usda.gov/news-events/news.
       16
           “Loan Forfeitures – National Level,” Farm Service Agency, available at
https://apps.fsa.usda.gov/sorspub/reports/web/public/loan-forfeiture-national.


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been above the effective support level since 2019. As a result, the loan program did not

serve as a binding constraint on sugar prices, leaving ample room for Defendants to

manipulate the market upward.

       243.   The USDA also administers annual marketing allotments to cap the amount

of sugar that processors can sell domestically for human consumption. While this

mechanism seeks to prevent overproduction from depressing prices, it explicitly excludes

limits on agricultural production or processing.

       244.   During the Class Period, the allotments were consistently below domestic

demand, indicating that they did not act as a binding limitation on sales or pricing. This

environment allowed the Defendants to coordinate price increases under the guise of

supply constraints.

       245.   The USDA enforces tariff-rate quotas (TRQs) on imported sugar under the

World Trade Organization’s Uruguay Round Agreement. While these quotas protect

domestic producers by limiting the amount of foreign sugar entering the market duty-free,

they set minimum, not maximum, levels for imports. Throughout the Class Period, TRQs

were close to these minimum levels, providing limited external competitive pressure to

counteract the Producer Defendants’ collusive pricing strategies.

       246.   The USDA sugar program does not actively regulate market prices for

Granulated Sugar. Instead, it provides a framework that Defendants exploited to execute

their conspiracy. By using information about supply limitations and production allotments,

the Defendants created artificial scarcity and coordinated pricing in a manner that was

neither compelled by nor consistent with the goals of the USDA program.


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       247.   While the USDA sugar program establishes a supportive baseline for

domestic producers, it does not authorize, facilitate, or necessitate price-fixing. The

conspiracy alleged in this case operated independently of the USDA’s regulatory

framework, leveraging market dynamics to harm competition, overcharge consumers, and

violate antitrust laws.

       G.     The Inflated Price of Sugar Was Passed Through to Plaintiffs and the
              Classes

       248.   Defendants’ conspiracy to fix prices of Granulated Sugar injured Plaintiffs

and the Classes because they paid higher prices for Granulated Sugar than they would have

in the absence of Defendants’ conspiracy.

       249.   When a firm’s costs increase due to an overcharge or increasing raw

materials costs, the firm will tend to pass-through the cost increase by raising its price.

Otherwise, it would lose money on each sale and be driven out of business. Similarly, when

a firm’s costs decrease, for example due to improved production efficiency or decreasing

energy costs, the firm will tend to pass-through the cost decrease by lowering its price.

Otherwise, competitors would be able to undercut its prices, taking market share.

       250.   Economic theory predicts that pass-through occurs at each stage of the

manufacturing and distribution process. When the manufacturer faces an industry-wide,

nontransitory increase in the cost of inputs, it increases its prices. Similarly, when the

distributor (and all its competitors) pays a higher price for the product, it also increases its

prices. This process continues throughout the entire distribution chain.

       251.   The purpose of Defendants’ conspiratorial conduct was to increase, fix, or



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maintain the price of Granulated Sugar in the United States, and, as a direct and foreseeable

result of the conspiratorial conduct, Plaintiffs and the Classes purchased Granulated Sugar

at artificially inflated prices during the Class Period.

          252.   By reason of the alleged violations of the antitrust laws, Plaintiffs and the

Classes have sustained injury, having purchased Granulated Sugar for higher prices during

the Class Period than they would have paid in the absence of Defendants’ illegal contract,

combination, or conspiracy. As a result, Plaintiffs and the Classes have suffered damages.

          253.   This is an injury of the type that the antitrust laws were meant to punish and

prevent.

          254.   The effects and injuries caused by Defendants’ anticompetitive agreement

commonly impacted all indirect consumer purchasers of Granulated Sugar in the United

States.

          H.     Defendants’ Anticompetitive Conduct Proximately Caused Plaintiffs
                 and Members of the Class to Suffer Antitrust Injury and Damages

          255.   Because of the Defendants’ anticompetitive conduct: (1) competition in the

Granulated Sugar market has been reduced or eliminated, (2) prices for Granulated Sugar

have been maintained at supra-competitive levels, and (3) United States purchasers of

Granulated Sugar have been deprived of the benefit of price competition.

          256.   As a result of the Defendants’ anticompetitive conduct, Plaintiffs and Class

members paid more for Granulated Sugar than they otherwise would have and thus suffered

antitrust injury and damages. The overcharges paid by Plaintiffs and members of the

Classes for Granulated Sugar constitutes antitrust injury and harm to competition under the



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federal antitrust laws.

V.     CLASS ACTION ALLEGATIONS

       257.   Plaintiffs bring this action on behalf of themselves, and as a class action

under the Federal Rules of Civil Procedure, Rule 23(a) and (b)(2), seeking equitable and

injunctive relief on behalf of the following class (the “Nationwide Class”):

       Nationwide Class: All persons that indirectly purchased Granulated Sugar
       from a Defendant (or current or former subsidiary or affiliate thereof, or
       coconspirator thereof) for end use and not for resale during the Class Period.

       258.   Plaintiffs also bring this action on behalf of themselves, and as a class action

under the Federal Rules of Civil Procedure, Rule 23(a) and (b)(3), seeking damages

pursuant to antitrust, unfair competition, and consumer protection laws as well as common

law unjust enrichment on behalf of the following Class (the “Multistate Class”):

       Multistate Class: All persons that indirectly purchased Granulated Sugar
       from a Defendant (or current or former subsidiary or affiliate or co-
       conspirator thereof) for end use and not for resale during the Class Period
       and reside in one of the Consumer Indirect Purchaser States. 17

       259.   The Nationwide Class and Multistate Class are referred to collectively as the

“Classes” and members of both Classes are collectively referred to as “Class Members”

unless otherwise indicated. The following persons are excluded from the proposed Classes:



       17
           The “Consumer Indirect Purchaser States” consist of: Alabama, Alaska, Arizona,
Arkansas, California, Colorado, Connecticut, Delaware, Florida, Georgia, Hawaii, Idaho,
Illinois, Iowa, Kansas, Kentucky, Louisiana, Maine, Maryland, Massachusetts, Michigan,
Minnesota, Mississippi, Missouri, Montana, Nebraska, Nevada, New Hampshire, New
Jersey, New Mexico, New York, North Carolina, North Dakota, Oklahoma, Oregon,
Pennsylvania, Rhode Island, South Carolina, South Dakota, Tennessee, Texas, Utah,
Vermont, Virginia, Washington, West Virginia, Wisconsin, Wyoming, and the District of
Columbia.


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Any officers, directors, managers, or employees of Defendants, any current or former

subsidiary of Defendants, or any co-conspirator of Defendants; the Court and any of its

staff.

         260.   The Classes’ definitions provide clear, objective criteria understood by Class

Members and Defendants, and allow the parties to identify the members of the Classes.

         261.   Subject to additional information obtained through further investigation and

discovery, the Classes’ definitions may be expanded or narrowed.

         262.   The Classes are so numerous and geographically dispersed that joinder is

impracticable. Further, Class Members are readily identifiable from information and

records in the possession of Defendants and/or third parties.

         263.   Plaintiffs’ claims are typical of the claims of the Class Members. Plaintiffs

and the Class Members were damaged by the same conspiracy of Defendants.

         264.   Plaintiffs will fairly and adequately protect and represent the interests of

Class Members. The interests of the Plaintiffs are coincident with, and not antagonistic to,

those of Class Members.

         265.   Plaintiffs are represented by counsel with substantial experience and success

in the prosecution and leadership of antitrust class actions and other complex litigation,

including class actions involving agricultural food staple products and other commodities,

indirect purchaser cases, and consumer protection litigation.

         266.   Defendants have acted and refused to act on grounds generally applicable to

Class Members.

         267.   Questions of law and fact common to the Class Members predominate over


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questions, if any, that may affect only individual members.

       268.   Questions of law and fact common to members of the Classes include, but

are not limited to:

              •   Whether Defendants engaged in a combination or conspiracy among

                  themselves to fix, raise, maintain, or stabilize the prices of Granulated

                  Sugar in the United States and its territories;

              •   Whether Defendants agreed to unreasonably restrain trade in violation of

                  federal antitrust laws;

              •   Whether Defendants engaged in an unlawful information exchange;

              •   The scope and duration of the alleged conspiracy;

              •   The effect of the alleged conspiracy on the price of Granulated Sugar

                  during the Class Period;

              •   The type of injury suffered by Plaintiffs and Class Members;

              •   Whether the statute of limitations was tolled or whether Defendants

                  fraudulently concealed the existence of their anticompetitive conduct

                  from Plaintiffs and the Class Members;

              •   The extent to which Defendants were unjustly enriched;

              •   Aggregate damages suffered by Plaintiff and Class Members; and

              •   Whether Defendants acted or refused to act on grounds generally

                  applicable to Class Members, thereby making appropriate final injunctive

                  relief or corresponding declaratory relief with respect to Class Members

                  as a whole.


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        269.   Class action treatment is a superior method for the fair and efficient

adjudication of the controversy. Such treatment will permit a large number of similarly

situated persons to prosecute their common claims in a single forum simultaneously,

efficiently and without the unnecessary duplication of evidence, effort, or expense that

numerous individual actions would require.

        270.   The benefits of proceeding through the class mechanism, including providing

injured persons or entities a method for obtaining redress on claims that could not

practicably be pursued individually, substantially outweigh any potential difficulties in

management of this class action.

        271.   Plaintiffs know of no special difficulty to be encountered in the maintenance

of this action that would preclude its maintenance as a class action.

        272.   Plaintiffs have defined Class Members based on currently available

information and hereby reserve the right to amend the definition of members of the Classes,

including, without limitation, the Class Period.

VI.     LIMITATIONS AND TOLLING

        273.   By equitable estoppel, Defendants’ concealment of their unlawful conspiracy

has tolled any applicable statutes of limitations for Plaintiffs and Class Members with

respect to any claims and rights of action that Plaintiffs and Class Members have alleged

in this Complaint.

        274.   Plaintiffs and Class Members were not placed on actual or constructive

notice of the conspiracy alleged herein until, at the earliest, the DOJ’s Findings of Fact in

support of its petition to stop the merger of United and Imperial was made public. The full


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scope of the Defendants’ unlawful conduct could not have been discovered until the

appellate exhibit volumes from the DOJ matter were made public on or about November

1, 2022.

       275.   In addition, throughout the Class Period, the Defendants actively, effectively,

affirmatively, and fraudulently concealed their unlawful conspiracy from Plaintiffs and

members of the Classes, and the conspiracy was inherently self-concealing.

       276.   Defendants promised to obey the law and act with integrity. For example,

ASR Group’s Code of Ethics and Business Conduct states in part, “ASR Group has always

been dedicated to conducting business in a lawful and ethical manner in all of its

operations.” It further states that it seeks success “only . . . while upholding the highest

standards of ethical conduct and all of the laws, domestic and foreign, that apply to our

work.” Regarding antitrust and competition laws, the Code states that ASR Group is

“prohibited” from engaging in “agreements with competitors to fix or control prices,” and

that it “may not engage in direct or indirect discussions or contacts with competitors

regarding . . . [p]rices to be charged by ASR Group or others or regarding other terms and

conditions of sales[;] [t]erritories or markets in which products will be sold[;] . . . [and]

[b]usiness, marketing or strategic plans.”

       277.   United’s Code of Business Conduct and Ethics states that “[o]beying the law,

both in letter and in spirit, is the foundation on which our ethical standards are built. All

our employees, officers, directors, agents, and other representatives must respect and obey

the laws of the cities, states, and countries in which we operate.” It further states that “[w]e

seek to outperform our competition fairly and honestly,” and that there is an “obligation to


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protect [United’s] assets [including United’s] confidential information[.] Unauthorized use

or distribution of United Sugars’ confidential information is prohibited.”

       278.     Michigan Sugar’s commitment to “Sustainability and Corporate Social

Responsibility” states that the company “live[s] by our values – Excellence, Pride,

Integrity, Compassion, and Trust. This is the foundation of a business environment that

sets respect and dignity for coworkers, suppliers, customers, and partners as an absolute

expectation.”

       279.     These promises to obey the law and behave with integrity prevented

Plaintiffs and members of the Classes from discovering Defendants’ conduct earlier.

VII.   CLAIMS FOR RELIEF

                                 COUNT I: PRICE FIXING

                Section 16 of Clayton Act (15 U.S.C. § 26) for Violation of
                       Section 1 of the Sherman Act (15 U.S.C. § 1)

                     On Behalf of Plaintiffs and the Nationwide Class
                          for Injunctive and Equitable Relief

       280.     Plaintiffs incorporate and re-allege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       281.     Defendants are direct competitors in the Granulated Sugar market

throughout the United States.

       282.     Defendants formed an unlawful contract, combination, or conspiracy in

unreasonable restraint of trade in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1,

to raise, fix, maintain, or stabilize Granulated Sugar prices.

       283.     Since at least 2019, Defendants agreed with each other to exchange


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competitively sensitive non-public information regarding prices, output, and costs in order

to raise, fix, maintain, or stabilize the prices of Granulated Sugar. The agreement was

intended to and did unreasonably restrain trade and suppress competition. It has the

purpose and effect of raising, fixing, maintaining, or stabilizing prices in the Granulated

Sugar market in the United States.

        284.   Pursuant to the agreement, the Defendants agreed to and did share pricing

and other information that distorted and suppressed competition in the relevant market

knowing and intending that the information would be used to raise, fix, maintain, or

stabilize prices of Granulated Sugar sold to Plaintiffs and members of the Class.

        285.   This conduct is unlawful under the per se standard. Defendants’ conduct is

also unlawful under either a “quick look” or rule of reason analysis because the agreement

is factually anticompetitive with no valid procompetitive justifications. Moreover, even if

there were valid procompetitive justifications, such justifications could have been

reasonably achieved through less restrictive means of competition.

        286.   Plaintiffs and the Nationwide Class are threatened with future injury to their

business and property by reason of Defendants’ continuing violation of Section 1 of the

Sherman Act, within the meaning of Section 16 of the Clayton Antitrust Act, 15 U.S.C. §

26.

        287.   Plaintiffs and the Nationwide Class are entitled to an injunction against

Defendants, preventing and restraining the violations alleged herein.




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              COUNT II: UNLAWFUL INFORMATION EXCHANGE

              Section 16 of Clayton Act (15 U.S.C. § 26) for Violation of
                     Section 1 of the Sherman Act (15 U.S.C. § 1)

                   On Behalf of Plaintiffs and the Nationwide Class
                        for Injunctive and Equitable Relief

       288.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       289.   For purposes of this Count, which is based upon a claim subject to a Rule of

Reason analysis, the relevant geographic market is the United States, and the relevant

product market is Granulated Sugar. As noted above, the Producer Defendants now have a

collective 72% of this market and thus possess market power within it.

       290.   Beginning at a time currently unknown to Plaintiffs, but at least as early as

January 1, 2019, and continuing through the present, Defendants agreed with each other to

exchange competitively sensitive, non-public information regarding prices, output,

supplies, and costs to raise, fix, maintain, or stabilize prices for Granulated Sugar in the

United States to or at supra-competitive levels. The agreement was intended to and did

unreasonably restrain trade and suppress competition, and it had the likely and actual effect

of raising, fixing, maintaining, or stabilizing prices in the Granulated Sugar market in the

United States to or at supra-competitive levels, in violation of Section 1 of the Sherman

Act (15 U.S.C. § 1).

       291.   Pursuant to the agreement, Defendants agreed to and did share pricing and

other internal, material competitive information that distorted and suppressed competition

in the relevant market while knowing and intending that the information would be used to


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raise, fix, maintain, or stabilize prices of Granulated Sugar sold in the United States to

Plaintiffs and Class Members to or at supra-competitive levels.

       292.   This conduct is unlawful under either a quick look or a full-fledged Rule of

Reason analysis because the agreement is facially anticompetitive with no valid

procompetitive justification. Moreover, even if there were valid procompetitive

justifications, the Producer Defendants’ objectives could have been reasonably achieved

through less restrictive means.

       293.   The contract, combination, or conspiracy alleged herein has had the

following effects, among others:

                 a. Price competition in the sale of Granulated Sugar has been restrained,

                     suppressed, and/or eliminated in the United States;

                 b. Prices for Granulated Sugar sold by the Producer Defendants have

                     been raised, fixed, maintained, or stabilized at artificially high, non-

                     competitive levels throughout the United States; and

                 c. Plaintiffs and the Nationwide Class have been deprived of the benefits

                     of free and open competition.

       294.   Plaintiffs and Nationwide Class Members have been injured and will

continue to be injured in their businesses or property by paying more for Granulated Sugar

purchased indirectly from the Producer Defendants or their co-conspirators than they

would have paid and will pay in the absence of the contract, combination, or conspiracy.

       295.   Plaintiffs and the Nationwide Class are threatened with future injury to their

business and property by reason of Defendants’ continuing violation of Section 1 of the


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Sherman Act, within the meaning of Section 16 of the Clayton Antitrust Act, 15 U.S.C. §

26.

        296.    Plaintiffs and the Nationwide Class are entitled to an injunction against

Defendants, preventing and restraining the violations alleged herein.

 COUNT III: PRICE FIXING AND UNLAWFUL INFORMATION EXCHANGE
           IN VIOLATION OF STATE ANTITRUST STATUTES

                      On Behalf of Plaintiffs and the Multistate Class

        297.    Plaintiffs repeat and reassert each of the preceding allegations as if fully set

forth herein.

        298.    During the Class Period, Defendants engaged in a continuing contract,

combination, or conspiracy with respect to the sale of Granulated Sugar in unreasonable

restraint of trade in commerce, in violation of various state antitrust and consumer

protection statutes set forth below.

        299.    Defendants’ acts and combinations in furtherance of the conspiracy have

caused unreasonable restraints in the market for Granulated Sugar.

        300.    As a result of Defendants’ unlawful conduct, Plaintiffs and other similarly

situated Consumer Indirect Purchasers in the Multistate Class who purchased Granulated

Sugar have been harmed by being forced to pay artificially inflated, supra-competitive

prices for Granulated Sugar.

        301.    By engaging in the foregoing conduct, Defendants intentionally and

wrongfully engaged in a contract, combination, or conspiracy in restraint of trade in

violation of the following state antitrust laws pleaded below.



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       302.   Alabama: Defendants have entered into an unlawful agreement in restraint

of trade in violation of Ala. Code § 6-5-60 with respect to purchases of Granulated Sugar

in Alabama by Plaintiff Virginia Smith and members of the Multistate Class and/or

purchases of Granulated Sugar by members of the Multistate Class who resided in Alabama

at the time of their purchase.

                  a. Defendant ASR, Inc. is registered to do business in the State of

                     Alabama and upon information and belief, did conduct business

                     related to the production of Granulated Sugar in the State of Alabama

                     during the Class Period.

                  b. Defendants’ combination or conspiracy had the following effects: (1)

                     Granulated Sugar price competition was restrained, suppressed, and

                     eliminated throughout Alabama; (2) Granulated Sugar prices were

                     raised, fixed, maintained and stabilized at artificially high levels

                     throughout Alabama; (3) Plaintiff Virginia Smith and members of the

                     Multistate Class were deprived of free and open competition; and (4)

                     Plaintiff Virginia Smith and members of the Multistate Class paid

                     supra-competitive, artificially inflated prices for Granulated Sugar.

                  c. During the Class Period, Defendants’ illegal conduct substantially

                     affected Alabama commerce. As a direct and proximate result of

                     Defendants’ unlawful conduct, Plaintiff Virginia Smith and members

                     of the Multistate Class have been injured in their business and

                     property and are threatened with further injury.


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                 d. Defendants entered into an agreement in restraint of trade in violation

                    of Ala. Code § 6-5-60. Accordingly, Plaintiff Virginia Smith and

                    members of the Multistate Class seek all forms of relief available

                    under Ala. Code § 6-5-60.

      303.   Arizona: Defendants have entered into an unlawful agreement in restraint of

trade in violation of Ariz. Rev. Stat. §§ 44-1402, et seq. with respect to purchases of

Granulated Sugar in Arizona by Plaintiffs Francisco Olivares and Robert E. Sunseri and

members of the Multistate Class and/or purchases of Granulated Sugar by members of the

Multistate Class who resided in Arizona at the time of their purchase.

                 a. Defendants’ combination or conspiracy had the following effects: (1)

                    Granulated Sugar price competition was restrained, suppressed, and

                    eliminated throughout Arizona; (2) Granulated Sugar prices were

                    raised, fixed, maintained, and stabilized at artificially high levels

                    throughout Arizona; (3) Plaintiffs Francisco Olivares and Robert E.

                    Sunseri and members of the Multistate Class were deprived of free

                    and open competition; and (4) Plaintiffs Francisco Olivares and

                    Robert E. Sunseri and members of the Multistate Class paid supra-

                    competitive, artificially inflated prices for Granulated Sugar.

                 b. During the Class Period, Defendants’ illegal conduct substantially

                    affected Arizona commerce. As a direct and proximate result of

                    Defendants’ unlawful conduct, Plaintiffs Francisco Olivares and

                    Robert E. Sunseri and members of the Multistate Class have been


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                     injured in their business and property and are threatened with further

                     injury.

                 c. Defendants entered into an agreement in restraint of trade in violation

                     of Ariz. Rev. Stat. §§ 44-1401, et seq. Accordingly, Plaintiffs

                     Francisco Olivares and Robert E. Sunseri and members of the

                     Multistate Class seek all forms of relief available under Ariz. Rev.

                     Stat. §§ 44-1402, et seq.

                 d. In conjunction with the filing of this Complaint, Plaintiffs have served

                     a copy of this Complaint on the Arizona Attorney General in

                     accordance with Ariz. Rev. Stat. Ann. § 44-1415. Plaintiffs will file

                     proof of such service with the Court.

       304.   California: Defendants have entered into an unlawful agreement in restraint

of trade in violation of Cal. Bus. & Prof. Code, §§ 16720, et seq. with respect to purchases

of Granulated Sugar in California by Plaintiffs Reynaldo Borge, Mikhael Gershzon, and

Tammy Tacito and members of the Multistate Class and/or purchases of Granulated by

members of the Multistate Class who resided in California at the time of their purchases.

                 a. During the Class Period, Defendants entered into and engaged in a

                     continuing unlawful trust in restraint of the trade and commerce

                     described above in violation of Section 16720, California Business

                     and Professions Code. Defendants, each of them, have acted in

                     violation of Section 16720 to fix, raise, stabilize, and maintain prices

                     of Granulated Sugar at supra-competitive levels.


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          b. The aforesaid violations of Section 16720, California Business and

             Professions Code, consisted, without limitation, of a continuing

             unlawful trust and concert of action among the Defendants, the

             substantial terms of which were to fix, raise, maintain, and stabilize

             the price of Granulated Sugar.

          c. For the purpose of forming and effectuating the unlawful trust, the

             Defendants have done those things which they combined and

             conspired to do, including, but not limited to, the acts, practices and

             course of conduct set forth above including fixing, raising, stabilizing,

             and pegging the price of Granulated Sugar.

          d. The combination and conspiracy alleged herein has had, inter alia, the

             following effects: (1) price competition in the sale of Granulated

             Sugar has been restrained, suppressed, and/or eliminated in the State

             of California; (2) prices for Granulated Sugar sold by Defendants have

             been fixed, raised, stabilized, and pegged at artificially high, non-

             competitive levels in the State of California and throughout the United

             States; and (3) those who purchased Granulated Sugar have been

             deprived of the benefit of free and open competition; and (4) Plaintiffs

             Reynaldo Borge, Mikhael Gershzon, and Tammy Tacito and members

             of the Multistate Class paid supra-competitive, artificially inflated

             prices for Granulated Sugar.

          e. As a direct and proximate result of Defendants’ unlawful conduct,


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                     Plaintiffs Reynaldo Borge, Mikhael Gershzon, and Tammy Tacito and

                     members of the Multistate Class have been injured in their business

                     and property in that they paid more for Granulated Sugar than they

                     otherwise would have paid in the absence of Defendants’ unlawful

                     conduct. As a result of Defendants’ violation of Section 16720 of the

                     California Business and Professions Code, Reynaldo Borge, Mikhael

                     Gershzon, and Tammy Tacito and members of the Multistate Class

                     seek treble damages and their cost of suit, including a reasonable

                     attorney’s fee, pursuant to Section 16750(a) of the California Business

                     and Professions Code.

       305.   Colorado: Defendants have entered into an unlawful agreement in restraint

of trade in violation of Colo. Rev. Stat. Ann. §§6-4-104, et seq. with respect to purchases

of Granulated Sugar in Colorado by Plaintiff David Ulery and members of the Multistate

Class and/or purchases of Granulated Sugar by members of the Multistate Class who

resided in Colorado at the time of their purchase.

                 a. Defendants’ combination or conspiracy had the following effects: (1)

                     Granulated Sugar price competition was restrained, suppressed, and

                     eliminated throughout Colorado; (2) Granulated Sugar prices were

                     raised, fixed, maintained, and stabilized at artificially high levels

                     throughout Colorado; (3) Plaintiff David Ulery and members of the

                     Multistate Class were deprived of free and open competition; and (4)

                     Plaintiff David Ulery and members of the Multistate Class paid supra-


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                     competitive, artificially inflated prices for Granulated Sugar.

                 b. During the Class Period, Defendants’ illegal conduct substantially

                     affected Colorado commerce.

                 c. As a direct and proximate result of Defendants’ unlawful conduct,

                     Plaintiff David Ulery and members of the Multistate Class have been

                     injured in their business and property and are threatened with further

                     injury.

                 d. By reason of the foregoing, Defendants have entered into an

                     agreement in restraint of trade in violation of Colo. Rev. Stat. Ann.

                     §§6-4-104, et seq. Accordingly, Plaintiff David Ulery and members

                     of the Multistate Class seek all forms of relief available under Colo.

                     Rev. Stat. Ann. §§6-4-104, et seq.

                 e. In conjunction with the filing of this Complaint, Plaintiffs have served

                     a copy of this Complaint on the Colorado Attorney General in

                     accordance with Colo. Rev. Stat. §6-4-116. Plaintiffs will file proof

                     of such service with the Court.

       306.   Connecticut: Defendants have entered into an unlawful agreement in

restraint of trade in violation of Conn. Gen. Stat. Ann. §§ 35-26, et seq. with respect to

purchases of Granulated Sugar in Connecticut by Plaintiffs Michael Cervellino, Michael

Santilli, and Stacy Kurtz and members of the Multistate Class and/or purchases of

Granulated Sugar by members of the Multistate Class who resided in Connecticut at the

time of their purchases.


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          a. Defendants’ combination or conspiracy had the following effects: (1)

             Granulated Sugar price competition was restrained, suppressed, and

             eliminated throughout Connecticut; (2) Granulated Sugar prices were

             raised, fixed, maintained, and stabilized at artificially high levels

             throughout Connecticut; (3) Plaintiffs Michael Cervellino, Michael

             Santilli, and Stacy Kurtz and members of the Multistate Class were

             deprived of free and open competition; and (4) Plaintiffs Michael

             Cervellino, Michael Santilli, and Stacy Kurtz and members of the

             Multistate Class paid supra-competitive, artificially inflated prices for

             Granulated Sugar.

          b. During the Class Period, Defendants’ illegal conduct substantially

             affected Connecticut commerce.

          c. As a direct and proximate result of Defendants’ unlawful conduct,

             Plaintiffs Michael Cervellino, Michael Santilli, and Stacy Kurtz and

             members of the Multistate Class have been injured in their business

             and property and are threatened with further injury.

          d. By reason of the foregoing, Defendants have entered into an

             agreement in restraint of trade in violation of Conn. Gen. Stat. Ann.

             §§ 35-26, et seq. Accordingly, Plaintiffs Michael Cervellino, Michael

             Santilli, and Stacy Kurtz and members of the Multistate Class seek all

             forms of relief available under Conn. Gen. Stat. Ann. §§ 35-26, et seq.

          e. In conjunction with the filing of this Complaint, Plaintiffs have served


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                      a copy of this Complaint on the Connecticut Attorney General in

                      accordance with Conn. Gen. Stat. §35-37. Plaintiffs will file proof of

                      such service with the Court.

       307.   Delaware: Defendants have entered into an unlawful agreement in restraint

of trade in violation of Del. Code Ann. tit. 6, § 2101, et seq. with respect to purchases of

Granulated Sugar in Delaware by members of the Multistate Class and/or purchases of

Granulated Sugar by members of the Multistate Class who resided in Delaware at the time

of their purchases.

                 a. Defendants’ combination or conspiracy had the following effects: (1)

                      Granulated Sugar price competition was restrained, suppressed, and

                      eliminated throughout Delaware; (2) Granulated Sugar prices were

                      raised, fixed, maintained, and stabilized at artificially high levels

                      throughout Delaware; (3) Members of the Multistate Class were

                      deprived of free and open competition; and (4) Members of the

                      Multistate Class paid supra-competitive, artificially inflated prices for

                      Granulated Sugar.

                 b. During the Class Period, Defendants’ illegal conduct substantially

                      affected Delaware commerce.

                 c. As a direct and proximate result of Defendants’ unlawful conduct,

                      Members of the Damages Class have been injured in their business

                      and property and are threatened with further injury.

                 d. By reason of the foregoing, Defendants have entered into an


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                     agreement in restraint of trade in violation of Del. Code Ann. tit. 6, §

                     2101, et seq. Accordingly, Members of the Multistate Class seek all

                     forms of relief available under Del. Code Ann. tit. 6, § 2108.

       308.   District of Columbia: Defendants have entered into an unlawful agreement

in restraint of trade in violation of D.C. Code Ann. §§ 28-4502, et seq. with respect to

purchases of Granulated Sugar in the District of Columbia by Plaintiff Jarred Cutlip and

members of the Multistate Class and/or purchases of Granulated Sugar by members of the

Multistate Class who resided in the District of Columbia at the time of their purchases.

                 a. Defendants’ combination or conspiracy had the following effects: (1)

                     Granulated Sugar price competition was restrained, suppressed, and

                     eliminated throughout the District of Columbia; (2) Granulated Sugar

                     prices were raised, fixed, maintained, and stabilized at artificially high

                     levels throughout the District of Columbia; (3) Plaintiff Jarred Cutlip

                     and members of the Multistate Class were deprived of free and open

                     competition; and (4) Plaintiff Jarred Cutlip and members of the

                     Multistate Class paid supra-competitive, artificially inflated prices for

                     Granulated Sugar.

                 b. During the Class Period, Defendants’ illegal conduct substantially

                     affected District of Columbia commerce.

                 c. As a direct and proximate result of Defendants’ unlawful conduct,

                     Plaintiff Jarred Cutlip and members of the Multistate Class have been

                     injured in their business and property and are threatened with further


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                     injury.

                  d. By reason of the foregoing, Defendants have entered into an

                     agreement in restraint of trade in violation of District of Columbia

                     Code Ann. §§ 28-4502, et seq. Accordingly, Plaintiff Jarred Cutlip

                     and members of the Multistate Class seek all forms of relief available

                     under District of Columbia Code Ann. §§ 28-4502 et seq.

       309.    Hawaii: Defendants have entered into an unlawful agreement in restraint of

trade in violation of Haw. Rev. Stat. § 480-1, et seq. with respect to Granulated Sugar in

Hawaii by Plaintiff Claudette Palakiko and members of the Multistate Class and/or

purchases of Granulated Sugar by members of the Multistate Class who resided in Hawaii

at the time of their purchases.

                  a. Defendants’ combination or conspiracy had the following effects: (1)

                     Granulated Sugar price competition was restrained, suppressed, and

                     eliminated throughout Hawaii; (2) Granulated Sugar prices were

                     raised, fixed, maintained, and stabilized at artificially high levels

                     throughout Hawaii; (3) Plaintiff Claudette Palakiko and members of

                     the Multistate Class paid supra-competitive, artificially inflated prices

                     for Granulated Sugar; Plaintiff Claudette Palakiko and members of

                     the Multistate Class paid supra-competitive, artificially inflated prices

                     for Granulated Sugar..

                  b. During the Class Period, Defendants’ illegal conduct substantially

                     affected Hawaii commerce.


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                  c. As a direct and proximate result of Defendants’ unlawful conduct,

                      Plaintiff Claudette Palakiko and members of the Multistate Class have

                      been injured in their business and property and are threatened with

                      further injury.

                  d. By reason of the foregoing, Defendants have entered into an

                      agreement in restraint of trade in violation of Haw. Rev. Stat. § 480-

                      1, et seq. Accordingly, Plaintiff Claudette Palakiko and members of

                      the Multistate Class seek all forms of relief available under Haw. Rev.

                      Stat. § 480-1, et seq.

       310.   Illinois: Defendants have entered into an unlawful agreement in restraint of

trade in violation of 740 Ill. Comp. Stat. Ann. 10/1, et seq. with respect to purchases of

Granulated Sugar in Illinois by Plaintiffs Matthew Marek and Mary Salazar and members

of the Multistate Class and/or purchasers of Granulated Sugar of the Multistate Class who

resided in Illinois at the time of their purchases.

                  a. Defendants’ combination or conspiracy had the following effects: (1)

                      Granulated Sugar price competition was restrained, suppressed, and

                      eliminated throughout Illinois; (2) Granulated Sugar prices were

                      raised, fixed, maintained, and stabilized at artificially high levels

                      throughout Illinois; (3) Plaintiffs Matthew Marek and Mary Salazar

                      and members of the Multistate Class were deprived of free and open

                      competition; and (4) Plaintiffs Matthew Marek and Mary Salazar and

                      members of the Multistate Class paid supra-competitive, artificially


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                     inflated prices for Granulated Sugar.

                 b. During the Class Period, Defendants’ illegal conduct substantially

                     affected Illinois commerce.

                 c. As a direct and proximate result of Defendants’ unlawful conduct,

                     Plaintiffs Matthew Marek and Mary Salazar and members of the

                     Multistate Class have been injured in their business and property and

                     are threatened with further injury.

                 d. By reason of the foregoing, Defendants have entered into an

                     agreement in restraint of trade in violation of 740 Ill. Comp. Stat. Ann.

                     10/1, et seq. Accordingly, Plaintiffs Matthew Marek and Mary Salazar

                     and members of the Multistate Class seek all forms of relief available

                     under 740 Ill. Comp. Stat. Ann. 10/1, et seq.

       311.   Iowa: Defendants have entered into an unlawful agreement in restraint of

trade in violation of Iowa Code §§ 553.4, et seq. with respect to purchases of Granulated

Sugar in Iowa by Plaintiff Debbie Hale and members of the Multistate Class and/or

purchases of Granulated Sugar by members of the Multistate Class who resided in Iowa at

the time of their purchases.

                 a. Defendants’ combination or conspiracy had the following effects: (1)

                     Granulated Sugar price competition was restrained, suppressed, and

                     eliminated throughout Iowa; (2) Granulated Sugar prices were raised,

                     fixed, maintained, and stabilized at artificially high levels throughout

                     Iowa; (3) Plaintiff Debbie Hale and members of the Multistate Class


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                      were deprived of free and open competition; and (4) Plaintiff Debbie

                      Hale and members of the Multistate Class paid supra-competitive,

                      artificially inflated prices for Granulated Sugar.

                   b. During the Class Period, Defendants’ illegal conduct substantially

                      affected Iowa commerce.

                   c. As a direct and proximate result of Defendants’ unlawful conduct,

                      Plaintiff Debbie Hale and members of the Multistate Class have been

                      injured in their business and property and are threatened with further

                      injury.

                   d. By reason of the foregoing, Defendants have entered into an

                      agreement in restraint of trade in violation of Iowa Code §§ 553.4, et

                      seq. Accordingly, Plaintiff Debbie Hale and members of the

                      Multistate Class seek all forms of relief available under Iowa Code §§

                      553.4, et seq.

       312.   Kansas: Defendants have entered into an unlawful agreement in restraint of

trade in violation of Kan. Stat. Ann. §§ 50-101, et seq. with respect to purchases of

Granulated Sugar in Kansas by members of the Multistate Class and/or purchases of

Granulated Sugar by members of the Multistate Class who resided in Kansas at the time of

their purchases.

                   a. Defendants’ combination or conspiracy had the following effects: (1)

                      Granulated Sugar price competition was restrained, suppressed, and

                      eliminated throughout Kansas; (2) Granulated Sugar prices were


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                    raised, fixed, maintained, and stabilized at artificially high levels

                    throughout Kansas; (3) members of the Multistate Class were

                    deprived of free and open competition; and (4) members of the

                    Multistate Class paid supra-competitive, artificially inflated prices for

                    Granulated Sugar.

                 b. During the Class Period, Defendants’ illegal conduct substantially

                    affected Kansas commerce.

                 c. As a direct and proximate result of Defendants’ unlawful conduct,

                    members of the Multistate Class have been injured in their business

                    and property and are threatened with further injury.

                 d. By reason of the foregoing, Defendants have entered into an

                    agreement in restraint of trade in violation of Kansas Stat. Ann. §§ 50-

                    101, et seq. Accordingly, members of the Multistate Class seek all

                    forms of relief available under Kansas Stat. Ann. §§ 50-101, et seq.

      313.   Maine: Defendants have entered into an unlawful agreement in restraint of

trade in violation of Me. Rev. Stat. Ann. 10 §§ 1101, et seq. with respect to purchases of

Granulated Sugar by Plaintiffs Daynna Mitchell and Laurie Marcello and members of the

Multistate Class and/or purchases of Granulated Sugar by members of the Multistate Class

who resided in Maine at the time of their purchases.

                 a. Defendants’ combination or conspiracy had the following effects: (1)

                    Granulated Sugar price competition was restrained, suppressed, and

                    eliminated throughout Maine; (2) Granulated Sugar prices were


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                    raised, fixed, maintained, and stabilized at artificially high levels

                    throughout Maine; (3) Plaintiffs Daynna Mitchell and Laurie

                    Marcello and members of the Multistate Class were deprived of free

                    and open competition; and (4) Plaintiffs Daynna Mitchell and Laurie

                    Marcello and members of the Multistate Class paid supra-competitive,

                    artificially inflated prices for Granulated Sugar.

                 b. During the Class Period, Defendants’ illegal conduct substantially

                    affected Maine commerce.

                 c. As a direct and proximate result of Defendants’ unlawful conduct,

                    Plaintiffs Daynna Mitchell and Laurie Marcello and members of the

                    Multistate Class have been injured in their business and property and

                    are threatened with further injury.

                 d. By reason of the foregoing, Defendants have entered into an

                    agreement in restraint of trade in violation of Me. Rev. Stat. Ann.10,

                    §§ 1101, et seq. Accordingly, Plaintiffs Daynna Mitchell and Laurie

                    Marcello and members of the Multistate Class seek all relief available

                    under Me. Rev. Stat. Ann. 10, §§ 1101, et seq.

      314.   Maryland: Defendants have entered into an unlawful agreement in restraint

of trade in violation of Md. Com. Law Code Ann. § 11-201, et seq. with respect to

purchases of Granulated Sugar in Maryland by Plaintiffs Miranda Cofino and Brooke

Cutlip and members of the Multistate Class and/or purchases of Granulated Sugar by

members of the Multistate Class who resided in Maryland at the time of their purchases.


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                a. Defendants’ combination or conspiracy had the following effects: (1)

                   Granulated Sugar price competition was restrained, suppressed, and

                   eliminated throughout Maryland; (2) Granulated Sugar prices were

                   raised, fixed, maintained and stabilized at artificially high levels

                   throughout Maryland; (3) Plaintiffs Miranda Cofino and Brooke

                   Cutlip and members of the Multistate Class were deprived of free and

                   open competition; and (4) Plaintiffs Miranda Cofino and Brooke

                   Cutlip and members of the Multistate Class paid supra-competitive,

                   artificially inflated prices for Granulated Sugar.

                b. During the Class Period, Defendants’ illegal conduct substantially

                   affected Maryland commerce.

                c. As a direct and proximate result of Defendants’ conduct, Plaintiffs

                   Miranda Cofino and Brooke Cutlip and members of the Multistate

                   Class have been injured in their business and property and are

                   threatened with further injury.

                d. By reason of the foregoing, Defendants have entered into an

                   agreement in restraint of trade in violation of Md. Com. Law Code

                   Ann. § 11-204. Accordingly, Plaintiffs Miranda Cofino and Brooke

                   Cutlip and members of the Multistate Class seek all relief available

                   under Md. Com. Law Code Ann. § 11-209.

      315.   Michigan: Defendants have entered into an unlawful agreement in restraint

of trade in violation of Mich. Comp. Laws Ann. §§ 445.772, et seq. with respect to


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purchases of Granulated Sugar in Michigan by Plaintiffs Liana Britt, Anthony Minicuci

and Kim Rybarczyk and members of the Multistate Class and/or purchases of Granulated

Sugar by members of the Multistate Class who resided in Michigan at the time of their

purchases.

                a. Defendants’ combination or conspiracy had the following effects: (1)

                   Granulated Sugar price competition was restrained, suppressed, and

                   eliminated throughout Michigan; (2) Granulated Sugar prices were

                   raised, fixed, maintained and stabilized at artificially high levels

                   throughout Michigan; (3) Plaintiffs Liana Britt, Anthony Minicuci

                   and Kim Rybarczyk and members of the Multistate Class were

                   deprived of free and open competition; and (4) Plaintiffs Liana Britt,

                   Anthony Minicuci and Kim Rybarczyk and members of the Multistate

                   Class paid supra-competitive, artificially inflated prices for

                   Granulated Sugar.

                b. During the Class Period, Defendants’ illegal conduct substantially

                   affected Michigan commerce.

                c. As a direct and proximate result of Defendants’ conduct, Plaintiffs

                   Liana Britt, Anthony Minicuci and Kim Rybarczyk and members of

                   the Multistate Class have been injured in their business and property

                   and are threatened with further injury.

                d. By reason of the foregoing, Defendants have entered into an

                   agreement in restraint of trade in violation of Michigan Comp. Laws


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                    Ann. §§ 445.772, et seq. Accordingly, Plaintiffs Liana Britt, Anthony

                    Minicuci and Kim Rybarczyk and members of the Multistate Class

                    seek all relief available under Michigan Comp. Laws Ann. §§

                    445.772, et seq.

      316.   Minnesota: Defendants have entered into an unlawful agreement in restraint

of trade in violation of Minn. Stat. §§ 325D.51, et seq. with respect to purchases of

Granulated Sugar in Minnesota by Plaintiffs Raleigh Golden and Lauren Grouws and

members of the Multistate Class and/or purchases of Granulated Sugar by members of the

Multistate Class who resided in Minnesota at the time of their purchases.

                 a. Defendants’ combination or conspiracy had the following effects: (1)

                    Granulated Sugar price competition was restrained, suppressed, and

                    eliminated throughout Minnesota; (2) Granulated Sugar prices were

                    raised, fixed, maintained and stabilized at artificially high levels

                    throughout Minnesota; (3) Plaintiffs Raleigh Golden and Lauren

                    Grouws and members of the Multistate Class were deprived of free

                    and open competition; and (4) Plaintiffs Raleigh Golden and Lauren

                    Grouws and members of the Multistate Class paid supra-competitive,

                    artificially inflated prices for Granulated Sugar.

                 b. During the Class Period, Defendants’ illegal conduct substantially

                    affected Minnesota commerce.

                 c. As a direct and proximate result of Defendants’ unlawful conduct,

                    Plaintiffs Raleigh Golden and Lauren Grouws and members of the


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                      Multistate Class have been injured in their business and property and

                      are threatened with further injury.

                 d. By reason of the foregoing, Defendants have entered into an

                      agreement in restraint of trade in violation of Minn. Stat. §§ 325D.51,

                      et seq. Accordingly, Plaintiffs Raleigh Golden and Lauren Grouws

                      and members of the Multistate Class seek all relief available under

                      Minnesota Stat. §§ 325D.51, et seq.;

                 e. In conjunction with the filing of this Complaint, Plaintiffs have served

                      a copy of this Complaint on the Minnesota Attorney General in

                      accordance with Minn. Stat. §325D.63.

       317.   Nebraska: Defendants have entered into an unlawful agreement in restraint

of trade in violation of Neb. Code Ann. §§ 59-801, et seq. with respect to purchases of

Granulated Sugar in Nebraska by members of the Multistate Class and/or purchases of

Granulated Sugar by members of the Multistate Class who resided in Nebraska at the time

of their purchases.

                 a. Defendants’ combination or conspiracy had the following effects: (1)

                      Granulated Sugar price competition was restrained, suppressed, and

                      eliminated throughout Nebraska; (2) Granulated Sugar prices were

                      raised, fixed, maintained, and stabilized at artificially high levels

                      throughout Nebraska; (3) members of the Multistate Class were

                      deprived of free and open competition; and (4) members of the

                      Multistate Class paid supra-competitive, artificially inflated prices for


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                     Granulated Sugar.

                 b. During the Class Period, Defendants’ illegal conduct substantially

                     affected Nebraska commerce.

                 c. As a direct and proximate result of Defendants’ unlawful conduct,

                     members of the Multistate Class have been injured in their business

                     and property and are threatened with further injury.

                 d. By reason of the foregoing, Defendants have entered into an

                     agreement in restraint of trade in violation of Nebraska Revised

                     Statutes §§ 59-801, et seq. Accordingly, members of the Multistate

                     Class seek all relief available under Nebraska Revised Statutes §§ 59-

                     801, et seq.

       318.   Nevada: Defendants have entered into an unlawful agreement in restraint of

trade in violation of Nev. Rev. Stat. Ann. §§ 598A.060, et seq. with respect to purchases

of Granulated Sugar in Nevada by Plaintiff Erica Mitchell and members of the Multistate

Class and/or purchases of Granulated Sugar by members of the Multistate Class who

resided in Nevada at the time of their purchases.

                 a. Defendants’ combination or conspiracy had the following effects: (1)

                     Granulated Sugar price competition was restrained, suppressed, and

                     eliminated through Nevada; (2) Granulated Sugar prices were raised,

                     fixed, maintained and stabilized at artificially high levels throughout

                     Nevada; (3) Plaintiff Erica Mitchell and members of the Multistate

                     Class were deprived of free and open competition; and (4) Plaintiff


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                    Erica Mitchell and members of the Multistate Class paid supra-

                    competitive, artificially inflated prices for Granulated Sugar.

                 b. During the Class Period, Defendants’ illegal conduct substantially

                    affected Nevada commerce.

                 c. As a direct and proximate result of Defendants’ unlawful conduct,

                    Plaintiff Erica Mitchell and members of the Multistate Class have

                    been injured in their business and property and are threatened with

                    further injury.

                 d. By reason of the foregoing, Defendants have entered into an

                    agreement in restraint of trade in violation of Nev. Rev. Stat. Ann. §§

                    598A.060, et seq. Accordingly, Plaintiff and Erica Mitchell and

                    members of the Multistate Class seek all relief available under Nev.

                    Rev. Stat. Ann. §§ 598A.060, et seq.

                 e. In accordance with the requirements of Nev. Rev. Stat. Ann.

                    §598A.210(3), Plaintiffs mailed notice of this action to the Nevada

                    Attorney General.

      319.   New Hampshire: Defendants have entered into an unlawful agreement in

restraint of trade in violation of N.H. Rev. Stat. Ann. §§ 356.2, et seq., with respect to

purchases of Granulated Sugar in New Hampshire by Plaintiff Thomas Tombarello and

members of the Multistate Class and/or purchases of Granulated Sugar by members of the

Multistate Class who resided in New Hampshire at the time of their purchases.

                 a. Defendants’ combination or conspiracy had the following effects: (1)


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                    Granulated Sugar price competition was restrained, suppressed, and

                    eliminated throughout New Hampshire; (2) Granulated Sugar prices

                    were raised, fixed, maintained, and stabilized at artificially high levels

                    throughout New Hampshire, (3) Plaintiff Thomas Tombarello and

                    members of the Multistate Class were deprived of free and open

                    competition; and (4) Plaintiff Thomas Tombarello and members of

                    the Multistate Class paid supra-competitive, artificially inflated prices

                    for Granulated Sugar.

                b. During the Class Period, Defendants’ illegal conduct substantially

                    affected New Hampshire commerce.

                c. As a direct and proximate result of Defendants’ unlawful conduct,

                    Plaintiff Thomas Tombarello and members of the Multistate Class

                    have been injured in their business and property and are threatened

                    with further injury.

                d. By reason of the foregoing, Defendants have entered into an

                    agreement in restraint of trade in violation of New Hampshire Revised

                    Statutes §§ 356.2, et seq. Accordingly, Plaintiff Thomas Tombarello

                    and members of the Multistate Class seek all relief available under

                    New Hampshire Revised Statutes §§ 356:2, et seq.

      320.   New Jersey: Defendants have entered into an unlawful agreement in restraint

of trade in violation of N.J. Stat. Ann. § 56:9-1, et seq., with respect to purchases of

Granulated Sugar in New Jersey by Plaintiff Nancy Goodman and members of the


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Multistate Class and/or purchases of Granulated Sugar by members of the Multistate Class

who resided in New Jersey at the time of their purchases.

                 a. Defendants’ combination or conspiracy had the following effects: (1)

                    Granulated Sugar price competition was restrained, suppressed, and

                    eliminated throughout New Jersey; (2) Granulated Sugar prices were

                    raised, fixed, maintained, and stabilized at artificially high levels

                    throughout New Jersey, (3) Plaintiff Nancy Goodman and members

                    of the Multistate Class were deprived of free and open competition;

                    and (4) Plaintiff Nancy Goodman and members of the Multistate

                    Class paid supra-competitive, artificially inflated prices for

                    Granulated Sugar.

                 b. During the Class Period, Defendants’ illegal conduct substantially

                    affected New Jersey commerce.

                 c. As a direct and proximate result of Defendants’ unlawful conduct,

                    Plaintiff Nancy Goodman and members of the Multistate Class have

                    been injured in their business and property and are threatened with

                    further injury.

                 d. By reason of the foregoing, Defendants have entered into an

                    agreement in restraint of trade in violation of N.J. Stat. Ann. § 56:9-

                    1, et seq. Accordingly, Plaintiff Nancy Goodman and members of the

                    Multistate Class seek all relief available under N.J. Stat. Ann. § 56:9-

                    1.


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       321.   New Mexico: Defendants have entered into an unlawful agreement in

restraint of trade in violation of N.M. Stat. Ann. §§ 57-1-1, et seq. with respect to purchases

of Granulated Sugar in New Mexico by members of the Multistate Class and/or purchases

of Granulated Sugar by members of the Multistate Class who resided in New Mexico at

the time of their purchases.

                  a. Defendants’ combination or conspiracy had the following effects: (1)

                     Granulated Sugar price competition was restrained, suppressed, and

                     eliminated throughout New Mexico; (2) Granulated Sugar prices were

                     raised, fixed, maintained, and stabilized at artificially high levels

                     throughout New Mexico; (3) members of the Multistate Class were

                     deprived of free and open competition; and (4) members of the

                     Multistate Class paid supra-competitive, artificially inflated prices for

                     Granulated Sugar.

                  b. During the Class Period, Defendants’ illegal conduct substantially

                     affected New Mexico commerce.

                  c. As a direct and proximate result of Defendants’ unlawful conduct,

                     members of the Multistate Class have been injured in their business

                     and property and are threatened with further injury.

                  d. By reason of the foregoing, Defendants have entered into an

                     agreement in restraint of trade in violation of N.M. Stat. Ann. S§ 57-

                     1-1, et seq. Accordingly, members of the Multistate Class seek all

                     relief available under N.M. Stat. Ann. §§ 57-1-1, et seq.


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      322.   New York: Defendants have entered into an unlawful agreement in restraint

of trade in violation of N.Y. Gen. Bus. L. §§ 340, et seq. with respect to purchases of

Granulated Sugar in New York by Plaintiffs Renee Newton and Claudine Williams and

members of the Multistate Class and/or purchases of Granulated Sugar by members of the

Multistate Class who resided in New York at the time of their purchases.

                 a. Defendants’ combination or conspiracy or arrangement had the

                    following effects: (1) Granulated Sugar price competition was

                    restrained, suppressed, and eliminated throughout New York; (2)

                    Granulated Sugar prices were raised, fixed, maintained, and stabilized

                    at artificially high levels throughout New York; (3) Plaintiffs Renee

                    Newton and Claudine Williams and members of the Multistate Class

                    were deprived of free and open competition; and (4) Plaintiffs Renee

                    Newton and Claudine Williams and members of the Multistate Class

                    paid supra-competitive, artificially inflated prices for Granulated

                    Sugar, or purchased products that were otherwise of lower quality

                    than they would have been absent the conspirators illegal acts, or were

                    unable to purchase products that they otherwise would have purchased

                    absent the illegal conduct.

                 b. During the Class Period, Defendants’ illegal conduct substantially

                    affected New York commerce.

                 c. As a direct and proximate result of Defendants’ unlawful conduct,

                    Plaintiffs Renee Newton and Claudine Williams and members of the


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                     Multistate Class have been injured in their business and property and

                     are threatened with further injury.

                 d. By reason of the foregoing, Defendants have entered into an

                     agreement in restraint of trade in violation of the New York Donnelly

                     Act §§ 340, et seq. The conduct set forth above is a per se violation of

                     the Act. Accordingly, Plaintiffs Renee Newston and Claudine

                     Williams and members of the Multistate Class seek all relief available

                     under New York Gen. Bus. Law §§ 340, et seq.

                 e. Pursuant to New York General Business Law § 340(5), counsel for

                     Plaintiffs has sent letters by certified mail, return receipt requested, to

                     the Attorney General of New York, informing the Attorney General

                     of the existence of this Class Action Complaint, identifying the

                     relevant state antitrust provisions, and enclosing a copy of the original

                     complaints filed by Plaintiffs.

       323.   North Carolina: Defendants have entered into an unlawful agreement in

restraint of trade in violation of N.C. Gen. Stat. §§ 75-1, et seq. with respect to purchases

of Granulated Sugar in North Carolina by Plaintiffs Amanda Boardman and Bruce Johnson

and members of the Multistate Class and/or purchases of Granulated Sugar by members of

the Multistate Class who resided in North Carolina at the time of their purchases.

                 a. Defendants’ combination or conspiracy had the following effects: (1)

                     Granulated Sugar price competition was restrained, suppressed, and

                     eliminated throughout North Carolina; (2) Granulated Sugar prices


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                    were raised, fixed, maintained, and stabilized at artificially high levels

                    throughout North Carolina; (3) Plaintiffs Amanda Boardman and

                    Bruce Johnson and members of the Multistate Class were deprived of

                    free and open competition; and (4) Plaintiffs Amanda Boardman and

                    Bruce Johnson and members of the Multistate Class paid supra-

                    competitive, artificially inflated prices for Granulated Sugar.

                 b. During the Class Period, Defendants’ illegal conduct substantially

                    affected North Carolina commerce.

                 c. As a direct and proximate result of the Defendants’ unlawful conduct,

                    Plaintiffs Amanda Boardman and Bruce Johnson and members of the

                    Multistate Class have been injured in their business and property and

                    are threatened with further injury.

                 d. By reason of the foregoing, Defendants have entered into an

                    agreement in restraint of trade in violation of North Carolina Gen.

                    Stat. §§ 75-1, et seq. Accordingly, Plaintiffs Amanda Boardman and

                    Bruce Johnson and members of the Multistate Class seek all relief

                    available under North Carolina Gen. Stat. §§ 75-1, et seq.

      324.   North Dakota: Defendants have entered into an unlawful agreement in

restraint of trade in violation of North Dakota Century Code §§ 51-08.1-01, et seq. with

respect to purchases of Granulated Sugar in North Dakota by Plaintiff Kristin Jangula and

members of the Multistate Class and/or purchases of Granulated Sugar by members of the

Multistate Class who resided in North Dakota at the time of their purchases.


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                a. Defendants’ combination or conspiracy had the following effects: (1)

                   Granulated Sugar price competition was restrained, suppressed, and

                   eliminated throughout North Dakota; (2) Granulated Sugar prices

                   were raised, fixed, maintained, and stabilized at artificially high levels

                   throughout North Dakota; (3) Plaintiff Kristin Jangula and members

                   of the Multistate Class were deprived of free and open competition;

                   and (4) Plaintiff Kristin Jangula and members of the Multistate Class

                   paid supra-competitive, artificially inflated prices for Granulated

                   Sugar.

                b. During the Class Period, Defendants’ illegal conduct substantially

                   affected North Dakota commerce.

                c. As a direct and proximate result of the Defendants’ unlawful conduct,

                   members of the Multistate Class have been injured in their business

                   and property and are threatened with further injury.

                d. By reason of the foregoing, Defendants have entered into an

                   agreement in restraint of trade in violation of North Dakota Century

                   Code §§ 51-08.1-01, et seq. Accordingly, Plaintiff Kristin Jangula and

                   members of the Multistate Class seek all relief available under North

                   Dakota Century Code §§ 51-08.1-01, et seq.

      325.   Oregon: Defendants have entered into an unlawful agreement in restraint of

trade in violation of Or. Rev. Stat. §§ 646.705, et seq., with respect to purchases of

Granulated Sugar in Oregon by members of the Multistate Class and/or purchases of


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Granulated Sugar by members of the Multistate Class who resided in Oregon at the time

of their purchases.

                 a. Defendants’ combination and conspiracy had the following effects:

                      (1) Granulated Sugar price competition was restrained, suppressed,

                      and eliminated throughout Oregon; (2) Granulated Sugar prices were

                      raised, fixed, maintained, and stabilized at artificially high levels

                      throughout Oregon; (3) members of the Multistate Class were

                      deprived of free and open competition; and (4) members of the

                      Multistate Class paid supra-competitive, artificially inflated prices for

                      Granulated Sugar.

                 b. During the Class Period, Defendants’ illegal conduct had a substantial

                      effect on Oregon commerce.

                 c. As a direct and proximate result of Defendants’ unlawful conduct,

                      Plaintiffs members of the Multistate Class have been injured in their

                      business and property and are threatened with further injury.

                 d. By reason of the foregoing, Defendants have entered into an

                      agreement in restraint of trade in violation of Oregon Revised Statutes

                      §§ 646.705, et seq. Accordingly, members of the Multistate Class seek

                      all relief available under Oregon Revised Statutes §§ 646.705, et seq.

                 e. In conjunction with the filing of this Complaint, Plaintiffs have served

                      a copy of this Complaint on the Oregon Attorney General in

                      accordance with Or. Rev. Stat. §646.780(5)(b). Plaintiffs will file


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                    proof of such service with the Court.

       326.   Rhode Island: Defendants have entered into an unlawful agreement in

restraint of trade in violation of Rhode Island Antitrust Act, R.I. Gen. Laws §§ 6-36-1, et

seq. with respect to Granulated Sugar in Rhode Island by Plaintiff Evan Annis and

members of the Multistate Class and/or purchases of Granulated Sugar by members of the

Multistate Class who resided in Rhode Island at the time of their purchases.

                 a. Defendants’ combination or conspiracy had the following effects: (1)

                    Granulated Sugar price competition was restrained, suppressed, and

                    eliminated throughout Rhode Island; (2) Granulated Sugar prices

                    were raised, fixed, maintained and stabilized at artificially high levels

                    throughout Rhode Island; (3) Plaintiff Evan Annis and members of

                    the Multistate Class were deprived of free and open competition; and

                    (4) Plaintiff Evan Annis and members of the Multistate Class paid

                    supra-competitive, artificially inflated prices for Granulated Sugar.

                 b. During the Class Period, Defendants’ illegal conduct had a substantial

                    effect on Rhode Island commerce.

                 c. As a direct and proximate result of Defendants’ unlawful conduct,

                    Plaintiff Evan Annis and members of the Multistate Class have been

                    injured in their business and property and are threatened with further

                    injury.

                 d. By reason of the foregoing, Defendants have entered into an

                    agreement in restraint of trade in violation of Rhode Island Antitrust


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                     Act, R.I. Gen. Laws §§ 6-36-1, et seq. Accordingly, Plaintiff Evan

                     Annis and members of the Multistate Class seek all relief available

                     under Rhode Island Antitrust Act, R.I. Gen. Laws §§ 6-36-1, et seq.

                 e. In conjunction with the filing of this Complaint, Plaintiffs have mailed

                     a copy of this Complaint to the Rhode Island Attorney General in

                     accordance with R.I. Gen. Laws § 6-36-21. Plaintiffs will file proof of

                     such service with the Court.

       327.   South Dakota: Defendants have entered into an unlawful agreement in

restraint of trade in violation of S.D. Codified Laws An. §§ 37-1, et seq. with respect to

Granulated Sugar in South Dakota by Plaintiff John Luce and members of the Multistate

Class and/or purchases of Granulated Sugar by members of the Multistate Class who

resided in South Dakota at the time of their purchases.

                 a. Defendants’ combination or conspiracy had the following effects: (1)

                     Granulated Sugar price competition was restrained, suppressed, and

                     eliminated throughout South Dakota; (2) Granulated Sugar prices

                     were raised, fixed, maintained and stabilized at artificially high levels

                     throughout South Dakota; (3) Plaintiff John Luce and members of the

                     Multistate Class were deprived of free and open competition; and (4)

                     Plaintiff John Luce and members of the Multistate Class paid supra-

                     competitive, artificially inflated prices for Granulated Sugar.

                 b. During the Class Period, Defendants’ illegal conduct had a substantial

                     effect on South Dakota commerce.


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                 c. As a direct and proximate result of Defendants’ unlawful conduct,

                    Plaintiff John Luce and members of the Multistate Class have been

                    injured in their business and property and are threatened with further

                    injury.

                 d. By reason of the foregoing, Defendants have entered into an

                    agreement in restraint of trade in violation of South Dakota Codified

                    Laws An. §§ 37-1, et seq. Accordingly, Plaintiff John Luce and

                    members of the Multistate Class seek all relief available under South

                     Dakota Codified Laws Ann. §§ 37-1, et seq.

      328.   Tennessee: Defendants have entered into an unlawful agreement in restraint

of trade in violation of Tenn. Code Ann. §§ 47-25-101, et seq. with respect to purchases of

Granulated Sugar in Tennessee by Plaintiffs Cynthia Cornwall and Ernest Gambrell and

members of the Multistate Class and/or purchases of Granulated Sugar by members of the

Multistate Class who resided in Tennessee at the time of their purchases.

                 a. Defendants’ combination or conspiracy had the following effects:

                     Granulated Sugar price competition was restrained, suppressed, and

                     eliminated throughout Tennessee; (2) Granulated Sugar prices were

                     raised, fixed, maintained, and stabilized at artificially high levels

                     throughout Tennessee; (3) Plaintiffs Cynthia Cornwall and Ernest

                     Gambrell and members of the Multistate Class were deprived of free

                     and open competition; and (4) Plaintiffs Cynthia Cornwall and Ernest

                    Gambrell and members of the Multistate Class paid supra-


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                      competitive, artificially inflated prices for Granulated Sugar.

                   b. During the Class Period, Defendants’ illegal conduct had a substantial

                      effect on Tennessee commerce.

                   c. As a direct and proximate cause of the Defendants’ unlawful conduct,

                      Plaintiffs Cynthia Cornwall and Ernest Gambrell and members of the

                      Multistate Class have been injured in their business and property and

                      are threatened with further injury.

                   d. By reason of the foregoing, Defendants have entered into an

                      agreement in restraint of trade in violation of Tennessee Code Ann.

                      §§ 47-25-101, et seq. Accordingly, Plaintiffs Cynthia Cornwall and

                      Ernest Gambrell and members of the Multistate Class seek all relief

                      available under Tennessee Code Ann. §§ 47-25-101, et seq.

       329.   Utah: Defendants have entered into an unlawful agreement in restraint of

trade in violation of Utah Code Ann. §§ 76-10-3101, et seq. with respect to purchases of

Granulated Sugar in Utah by members of the Multistate Class and/or purchases of

Granulated Sugar by members of the Multistate Class who resided in Utah at the time of

their purchases.

                   a. Defendants’ combination or conspiracy had the following effects:

                      Granulated Sugar price competition was restrained, suppressed, and

                      eliminated throughout Utah; (2) Granulated Sugar prices were raised,

                      fixed, maintained, and stabilized at artificially high levels throughout

                      Utah; (3) members of the Multistate Class were deprived of free and


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                     open competition; and (4) members of the Multistate Class paid supra-

                     competitive, artificially inflated prices for Granulated Sugar.

                 b. During the Class Period, Defendants’ illegal conduct had a substantial

                     effect on Utah commerce.

                 c. As a direct and proximate cause of the Defendants’ unlawful conduct,

                     members of the Multistate Class have been injured in their business

                     and property and are threatened with further injury.

                 d. By reason of the foregoing, Defendants have entered into an

                     agreement in restraint of trade in violation of Utah Code Annotated

                     §§ 76-10-3101, et seq. Accordingly, members of the Multistate Class

                     seek all relief available under Utah Code Ann. §§ 76-10-3101, et seq.

                 e. In conjunction with the filing of this Complaint, Plaintiffs have served

                     a copy of this Complaint on the Utah Attorney General in accordance

                     with Utah Code Ann. §76-10-3109(9).

       330.   Vermont: Defendants have entered into an unlawful agreement in restraint

of trade in violation of Vermont Stat. Ann. 9 §§ 2453, et seq. with respect to purchases of

Granulated Sugar in Vermont by Plaintiffs Mary Reilly and James Veneziano and members

of the Multistate Class and/or purchases of Granulated Sugar by members of the Multistate

Class who resided in Vermont at the time of their purchases.

                 a. Defendants’ combination or conspiracy had the following effects:

                     Granulated Sugar price competition was restrained, suppressed, and

                     eliminated throughout Vermont; (2) Granulated Sugar prices were


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                     raised, fixed, maintained, and stabilized at artificially high levels

                     throughout Vermont; (3) Plaintiffs Mary Reilly and James Veneziano

                     and members of the Multistate Class were deprived of free and open

                     competition; and (4) Plaintiffs Mary Reilly and James Veneziano and

                     members of the Multistate Class paid supra-competitive, artificially

                     inflated prices for Granulated Sugar.

                 b. During the Class Period, Defendants’ illegal conduct had a substantial

                     effect on Vermont commerce.

                 c. As a direct and proximate cause of the Defendants’ unlawful conduct,

                     Plaintiffs Mary Reilly and James Veneziano and members of the

                     Multistate Class have been injured in their business and property and

                     are threatened with further injury.

                 d. By reason of the foregoing, Defendants have entered into an

                     agreement in restraint of trade in violation of Vermont Stat. Ann. 9 §§

                     2453, et seq. Accordingly, Plaintiffs Mary Reilly and James

                     Veneziano and members of the Multistate Class seek all relief

                     available under Vermont Stat. Ann. 9 §§ 2453, et seq.

       331.   West Virginia: Defendants have entered into an unlawful agreement in

restraint of trade in violation of W. Va. Code §§ 47-18-4, et seq. with respect to purchases

of Granulated Sugar in West Virginia by members of the Multistate Class and/or purchases

of Granulated Sugar by members of the Multistate Class who resided in West Virginia at

the time of their purchases.


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                  a. Defendants’ combination or conspiracy had the following effects:

                     Granulated Sugar price competition was restrained, suppressed, and

                     eliminated throughout West Virginia; (2) Granulated Sugar prices

                     were raised, fixed, maintained, and stabilized at artificially high levels

                     throughout West Virginia; (3) members of the Multistate Class were

                     deprived of free and open competition; and (4) members of the

                     Multistate Class paid supra-competitive, artificially inflated prices for

                     Granulated Sugar.

                  b. During the Class Period, Defendants’ illegal conduct had a substantial

                     effect on West Virginia commerce.

                  c. As a direct and proximate cause of the Defendants’ unlawful conduct,

                     members of the Multistate Class have been injured in their business

                     and property and are threatened with further injury.

                  d. By reason of the foregoing, Defendants have entered into an

                     agreement in restraint of trade in violation of West Virginia Code §§

                     47-18-1, et seq. Accordingly, members of the Multistate Class seek

                     all relief available under West Virginia Code §§ 47-18-1, et seq.

       332.   Wisconsin: Defendants have entered into an unlawful agreement in restraint

of trade in violation of Wis. Stat. §§ 133.01, et seq. with respect to purchases of Granulated

Sugar in Wisconsin by Plaintiffs Donald Friedman, Sandra Kluessendorf and Richard

Hammetter and members of the Multistate Class and/or purchases of Granulated Sugar by

members of the Multistate Class who resided in Wisconsin at the time of their purchases.


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           a. Defendants’ combination or conspiracy had the following effects:

              Granulated Sugar price competition was restrained, suppressed, and

              eliminated throughout Wisconsin; (2) Granulated Sugar prices were

              raised, fixed, maintained, and stabilized at artificially high levels

              throughout Wisconsin; (3) Plaintiffs Donald Friedman, Sandra

              Kluessendorf and Richard Hammetter and members of the Multistate

              Class were deprived of free and open competition; and (4) Plaintiffs

              Donald Friedman, Sandra Kluessendorf and Richard Hammetter and

              members of the Multistate Class paid supra-competitive, artificially

              inflated prices for Granulated Sugar.

           b. During the Class Period, Defendants’ illegal conduct had a substantial

              effect on Wisconsin commerce.

           c. As a direct and proximate cause of the Defendants’ unlawful conduct,

              Plaintiffs Donald Friedman, Sandra Kluessendorf and Richard

              Hammetter and members of the Multistate Class have been injured in

              their business and property and are threatened with further injury.

           d. By reason of the foregoing, Defendants have entered into an

              agreement in restraint of trade in violation of Wisconsin Stat. §§

              133.01, et seq. Accordingly, Plaintiffs Donald Friedman, Sandra

              Kluessendorf and Richard Hammetter and members of the Multistate

              Class seek all relief available under Wisconsin Stat. §§ 133.01, et seq.




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      COUNT IV: STATE CONSUMER PROTECTION LAW VIOLATIONS

                      On Behalf of Plaintiffs and the Multistate Class

       333.     Plaintiffs repeat and reassert each of the preceding allegations as if fully set

forth herein.

       334.     During the Class Period, Defendants engaged in unfair or deceptive acts or

practices in violation of the state deceptive trade practices and consumer protection laws

pleaded below.

       335.     Alaska: Defendants have engaged in unfair or deceptive acts or practices in

violation of Alaska Stat. Ann. § 45.50.471, et al.

                   a. Defendants knowingly agreed to, and did in fact, act in restraint of

                       trade or commerce by affecting, fixing, raising, controlling,

                       maintaining, and/or stabilizing at non-competitive and artificially

                       inflated levels, the prices at which Granulated Sugar was sold,

                       distributed, or obtained in Alaska and took efforts to conceal their

                       agreements from Plaintiff Gina Gonzales and members of the

                       Multistate Class.

                   b. Defendants’ conduct constituted an “unfair method of competition”

                       and “unfair” or “deceptive” acts or practices in violation of Alaska

                       Stat. Ann. § 45.50.471.

                   c. Defendants’ unlawful conduct had the following effects: (1)

                       Granulated Sugar price competition was restrained, suppressed, and

                       eliminated throughout Alaska; (2) Granulated Sugar prices were


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                    raised, fixed, maintained, and stabilized at artificially high levels

                    throughout Alaska; (3) Plaintiff Gina Gonzales and members of the

                    Multistate Class were deprived of free and open competition; (4)

                    members of the Multistate Class paid supra-competitive, artificially

                    inflated prices for Granulated Sugar.

                 d. During the Class Period, Defendants’ illegal conduct had a substantial

                    effect on Alaska commerce.

                 e. As a direct and proximate cause of the Defendants’ unlawful conduct

                    Gina Gonzales and members of the Multistate Class have been injured

                    in their business and property and are threatened with further injury.

                 f. By reason of the foregoing, Defendants have engaged in unfair or

                    deceptive acts of practices in violation of Alaska Stat. Ann. §

                    45.50.471. Accordingly, Plaintiff Gina Gonzales and members of the

                    Multistate Class seek all relief available under Alaska Stat. Ann. §

                    45.50.531.

      336.   Arkansas: Defendants have engaged in unfair or deceptive acts or practices

in violation of Ark. Code Ann. § 4-88-101, et seq.

                 a. Defendants knowingly agreed to, and did in fact, act in restraint of

                    trade or commerce by affecting, fixing, raising, controlling,

                    maintaining, and/or stabilizing at non-competitive and artificially

                    inflated levels, the prices at which Granulated Sugar was sold,

                    distributed, or obtained in Arkansas and took efforts to conceal their


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                agreements from members of the Multistate Class.

             b. Defendants’ conduct constituted “unconscionable” and “deceptive”

                acts or practices in violation of Arkansas Code Annotated, § 4-88-

                107(a)(10).

             c. Defendants’ unlawful conduct had the following effects: (1)

                Granulated Sugar price competition was restrained, suppressed, and

                eliminated throughout Arkansas; (2) Granulated Sugar prices were

                raised, fixed, maintained, and stabilized at artificially high levels

                throughout Arkansas; (3) members of the Multistate Class were

                deprived of free and open competition; (4) members of the Multistate

                Class paid supra-competitive, artificially inflated prices for

                Granulated Sugar.

             d. During the Class Period, Defendants’ illegal conduct had a substantial

                effect on Arkansas commerce.

             e. As a direct and proximate cause of the Defendants’ unlawful conduct,

                members of the Multistate Class have been injured in their business

                and property and are threatened with further injury.

             f. By reason of the foregoing, Defendants have engaged in unfair or

                deceptive acts of practices in violation of Ark. Code Ann. § 4-88-

                107(a)(10). Accordingly, members of the Multistate Class seek all

                relief available under Ark. Code Ann. § 4-88-107(a)(10).

   337.   California: Defendants have engaged in unfair or deceptive acts or practices


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in violation of Cal. Bus. & Prof. Code § 17200, et seq.

                 a. Defendants knowingly agreed to, and did in fact, act in restraint of

                    trade or commerce by affecting, fixing, raising, controlling,

                    maintaining, and/or stabilizing at non-competitive and artificially

                    inflated levels, the price at which Granulated Sugar was sold,

                    distributed, or obtained in California and exercised their collective

                    control to suppress innovation and consumer choice.

                 b. Defendants took efforts to conceal their agreements from Plaintiffs

                    Reynaldo Borge, Matthew Edlin, Mikhael Gershzon, and Tammy

                    Tacito and members of the Multistate Class.

                 c. The claim is instituted pursuant to Sections 17203 and 17204 of the

                    California Business and Professions Code, to obtain restitution form

                    these Defendants for acts as alleged herein that violated Section 17200

                    of the California Business and Professional Code, commonly known

                    as the Unfair Competition Law (the “UCL”).

                 d. Defendants’ conduct as alleged herein violates the UCL. The acts,

                    omissions, misrepresentations, practices and non-disclosures of

                    Defendants, alleged herein, constituted a common, continuous, and

                    continuing course of conduct of unfair competition by means of

                    unfair, unlawful, and/or fraudulent business acts or practices within

                    the meaning of UCL, including, but not limited to, the following: the

                    violations of Section 1 of the Sherman Act, as set forth above; (2) the


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              violations of Section 16720, et seq., of the California Business and

              Professions Code, set forth above.

           e. Defendants’ acts, omissions, misrepresentations, practices, and non-

              disclosures, as described above, whether or not in violation of Section

              16720, et seq., of the California Business and Professions Code, and

              whether or not concerted or independent acts, are otherwise unfair,

              unconscionable, unlawful, or fraudulent.

           f. Defendants’ acts or practices are unfair to consumers of Granulated

              Sugar in California within the meaning of Section 17200, California

              Business and Professions Code.

           g. Defendants’ acts and practices are fraudulent or deceptive within the

              meaning of Section 17200 of the California Business and Professions

              Code.

           h. During the Class Period, Defendants’ illegal conduct had a substantial

              effect on California commerce.

           i. The illegal conduct alleged herein is continuing and there is no

              indication that Defendants will not continue such activity into the

              future.

           j. As a direct and proximate cause of the Defendants’ unlawful and

              unfair business practices, Plaintiffs Reynaldo Borge, Mathew Edlin,

              Mikhael Gershzon, and Tammy Tacito and members of the Multistate

              Class have and continue to pay supra-competition and artificially


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                     inflated prices for Granulated Sugar. Plaintiffs Reynaldo Borge,

                     Matthew Edlin, Mikhael Gershzon, and Tammy Tacito and Members

                     of the Multistate Class have been injured in their business and

                     property and are threatened with further injury as a result of such

                     unfair competition.

                 k. As alleged in this Complaint, Defendants and their co-conspirators

                     have been unjustly enriched as a result of their wrongful conduct.

                     Accordingly, Plaintiffs Reynaldo Borge, Matthew Edlin, Mikhael

                     Gershzon, and Tammy Tacito and members of the Multistate class

                     seek all relief available under Cal. Bus. & Prof. Code § 17200, et seq.

       338.   District of Columbia: Defendants have engaged in unfair competition or

unfair, unconscionable, or deceptive acts or practices in violation of District of Columbia

Code § 28-3901, et seq.

                 a. Plaintiff Jarred Cutlip and members of the Multistate class purchased

                     Granulated Sugar in the District Columbia or resided in the District of

                     Columbia when they purchased Granulated Sugar for personal,

                     family, or household purposes.

                 b. Defendants agreed to, and did in fact, act in restraint of trade or

                     commerce by affecting, fixing, controlling, and/or maintaining, at

                     artificial and/or non-competitive levels, the prices at which

                     Granulated Sugar were sold, distributed, or obtained in the District of

                     Columbia.


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           c. The foregoing conduct constitutes “unlawful trade practices,” within

              the meaning of D.C. Code § 28-3904. Members of the Multistate class

              were not aware of Defendants’ price-fixing conspiracy and were

              therefore unaware of the unfair and illegal overcharges. The

              suppression of competition that has resulted from Defendants’

              conspiracy has ultimately resulted in unconscionably higher prices for

              consumers and a gross disparity between the price paid and the value

              received for Granulated Sugar.

           d. Defendants’ unlawful conduct had the following effects: (1)

              Granulated Sugar price competition was restrained, suppressed, and

              eliminated throughout the District of Columbia; (2) Granulated Sugar

              prices were raised, fixed, maintained, and stabilized at artificially high

              levels throughout the District of Columbia; (3) Plaintiff Jarred Cutlip

              and members of the Multistate class were deprived of free and open

              competition; and (4) Plaintiff Jarred Cutlip and members of the

              Multistate class paid supra-competitive, artificially inflated prices for

              Granulated Sugar.

           e. As a direct and proximate result of Defendants’ unlawful conduct,

              Plaintiff Jarred Cutlip and members of the Multistate class were

              injured and are threatened with further injury. Accordingly, members

              of the Multistate class seek all relief available under District of

              Columbia Code § 28-3901, et seq.


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       339.   Florida: Defendants have engaged in unfair, unconscionable, or deceptive

acts or practices in violation of Fla. Stat. § 501.201(1).

                  a. Defendants agreed to and did in fact, act in restraint of trade or

                      commerce by affecting, fixing, raising, maintaining, controlling, and

                      /or stabilizing the price of Granulated Sugar and exercised their

                      collective control to suppress innovation and consumer choice.

                  b. Defendants concealed, suppressed, and omitted to disclose material

                      facts to members of the Multistate Class concerning Defendants’

                      unlawful activities and artificially inflated prices for Granulated

                      Sugar. The concealed, suppressed, and omitted facts would have been

                      important to Plaintiffs Mayelin Bernal and Renee Newton and

                      members of the Multistate class as they related to the Granulated

                      Sugar that they purchased.

                  c. Defendants misrepresented the real cause of price increases and/or the

                      absence of price reductions in Granulated Sugar by making public

                      statements that were not in accord with the facts.

                  d. Defendants’ statement and conduct concerning the price of

                      Granulated Sugar were deceptive as they had the tendency or capacity

                      to mislead Plaintiffs Mayelin Bernal and Renee Newton and members

                      of the Multistate Class to believe that they were purchasing

                      Granulated Sugar with prices established by a free and fair market.

                  e. Defendants’ unlawful conduct had the following effects: (1)


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                     Granulated Sugar price competition was restrained, suppressed, and

                     eliminated throughout Florida; (2) Granulated Sugar prices were

                     raised, fixed, maintained, and stabilized at artificially high levels

                     throughout Florida; (3) Plaintiffs Mayelin Bernal and Renee Newton

                     and members of the Multistate Class were deprived of free and open

                     competition; and (4) Plaintiffs Mayelin Bernal and Renee Newton and

                     members of the Multistate Class paid supra-competitive, artificially

                     inflated prices for Granulated Sugar.

                 f. During the Class Period, Defendants’ illegal conduct had a substantial

                     effect on Florida commerce and consumers.

                 g. As a direct and proximate cause of the Defendants’ unlawful conduct,

                     Plaintiffs Mayelin Bernal and Renee Newton and members of the

                     Multistate Class have been injured in their business and property and

                     are threatened with further injury.

                 h. By reason of the foregoing, Defendants have engaged in unfair or

                     deceptive acts of practices in violation of Fla. Stat. § 501.201(1), et

                     seq. Accordingly, Plaintiffs Mayelin Bernal and Renee Newton and

                     members of the Multistate Class seek all relief available under Fla.

                     Stat. § 501.201(1), et seq.

       340.   Hawaii: Defendants have engaged in “unfair methods of competition and

unfair or deceptive acts or practices in the conduct of any trade or commerce” within the

meaning of Hawaii Rev. Stat. § 480-2. Defendants agreed to, and did in fact, act in restraint


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of trade or commerce by affecting, fixing, controlling, and/or maintaining, at artificial

and/or non-competitive levels, the prices at which Granulated Sugar were sold, distributed,

or obtained in Hawaii.

                 a. Plaintiff Claudette Palakiko and members of the Multistate Class

                     purchased Granulated Sugar in Hawaii and/or purchased Granulated

                     Sugar while residing in Hawaii at the time of their purchases.

                 b. Defendants’ unlawful conduct had the following effects: (1)

                     Granulated Sugar price competition was restrained, suppressed, and

                     eliminated throughout Hawaii; (2) Granulated Sugar prices were

                     raised, fixed, maintained, and stabilized at artificially high levels

                     throughout Hawaii; (3) Plaintiff Claudette Palakiko and members of

                     the Multistate Class were deprived of free and open competition; and

                     (4) Plaintiff Claudette Palakiko and members of the Multistate Class

                     paid supra-competitive, artificially inflated prices for Granulated

                     Sugar.

                 c. During the Class Period, Defendants’ illegal conduct substantially

                     affected Hawaii commerce and consumers.

                 d. As a direct and proximate result of Defendants’ unlawful conduct, and

                     Plaintiff Claudette Palakiko and members of the Multistate Class were

                     injured and are threatened with further injury. Accordingly, Plaintiff

                     Claudette Palakiko and members of the Multistate Class seek all relief

                     available under the statute.


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       341.   Illinois: Defendants have engaged in unfair or deceptive acts or practices in

violation of 815 Ill. Comp. Stat. Ann. 505/10a, et seq.

                 a. Defendants worked together to fix, raise, maintain, and stabilize the

                     price of Granulated Sugar and exercised their collective control to

                     suppress innovation and consumer choice.

                 b. During the Class Period, Defendants’ illegal conduct had a substantial

                     effect on Illinois commerce.

                 c. As a direct and proximate cause of the Defendants’ unlawful conduct,

                     Plaintiffs Matthew Marek and Mary Salazar and members of the

                     Multistate Class have been injured in their business and property and

                     are threatened with further injury.

                 d. By reason of the foregoing, Defendants have engaged in unfair or

                     deceptive acts of practices in violation of 815 Ill. Comp. Stat. Ann.

                     505/10a, et seq. Accordingly, Plaintiffs Matthew Marek and Mary

                     Salazar and members of the Multistate Class seek all relief available

                     under 815 Ill. Comp. Stat. Ann. 505/10a, et seq.

       342.   Massachusetts: Defendants have engaged in unfair or deceptive acts or

practices in violation of 81 Massachusetts G.L. c. 93A, §2, et seq.

                 a. Defendants were engaged in trade or commerce as defined in G.L. c.

                     93A.

                 b. Defendants agreed to, and did in fact, act in restraint of trade or

                     commerce in a market which includes Massachusetts, by affecting,


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              fixing, raising, maintaining, controlling and/or stabilizing the price of

              Granulated Sugar at artificial and non-competitive levels, the prices

              at which Granulated Sugar were sold, distributed, or obtained in

              Massachusetts and took efforts to conceal their agreements from

              members of the Multistate Class.

           c. Defendants’ unlawful conduct had the following effects: (1)

              Granulated Sugar price competition was restrained, suppressed, and

              eliminated throughout Massachusetts; (2) Granulated Sugar prices

              were raised, fixed, maintained, and stabilized at artificially high levels

              throughout Massachusetts; (3) Plaintiff Victor Sathler and members

              of the Multistate Class were deprived of free and open competition;

              and (4) Plaintiff Victor Sathler and members of the Multistate Class

              paid supra-competitive, artificially inflated prices for Granulated

              Sugar.

           d. During the Class Period, Defendants’ illegal conduct had a substantial

              effect on Massachusetts commerce and consumers.

           e. As a direct and proximate cause of the Defendants’ unlawful conduct,

              Plaintiff Victor Sathler and members of the Multistate Class have

              been injured in their business and property and are threatened with

              further injury.

           f. Certain of Defendants have or will be served with a demand letter in

              accordance with G.L. c. 93A, § 9, or, upon information and belief,


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                     such service of a demand letter was unnecessary due to the defendant

                     not maintaining a place of business within the Commonwealth of

                     Massachusetts or not keeping assets within the Commonwealth.

                 g. Defendants’ and their co-conspirators’ violations of Chapter 93A

                     were knowing or willful, entitling Plaintiff Victor Sathler and

                     members of the Multistate Class to multiple damages.

       343.   Minnesota: Defendants have engaged in unfair, unconscionable, or

deceptive acts or practices in violation of Minn. Stat. § 325F.68, et seq.

                 a. Defendants engaged in the conduct described in this Complaint in

                     connection with the sale of Granulated Sugar in trade or commerce in

                     a market that includes Minnesota.

                 b. Defendants agreed to, and did in fact, affect, fix, raise, maintain,

                     control, maintain and/or stabilize the price of Granulated Sugar at

                     artificial and non-competitive levels, and exercised their collective

                     control to suppress innovation and consumer choice. Such conduct

                     constituted unfair practices in that it was unlawful under federal and

                     state law, violated public policy, was unethical, oppressive, and

                     unscrupulous, and caused substantial injury to Plaintiffs Raleigh

                     Golden and Lauren Grouws and members of the Multistate Class.

                 c. Defendants misrepresented the real cause of price increases and/or the

                     absence of price reductions in Granulated Sugar by making public

                     statements that were not in accord with the facts.


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           d. Defendants’ statements and conduct concerning the price of

              Granulated Sugar were deceptive as they had the tendency or capacity

              to mislead Plaintiffs Raleigh Golden and Lauren Grouws and

              members of the Multistate Class to believe that they were purchasing

              Granulated Sugar at prices established by a free and fair market.

           e. Defendants’ unlawful conduct had the following effects: (1)

              Granulated Sugar price competition was restrained, suppressed, and

              eliminated throughout Minnesota; (2) Granulated Sugar prices were

              raised, fixed, maintained, and stabilized at artificially high levels

              throughout Minnesota; (3) Plaintiffs Raleigh Golden and Lauren

              Grouws and members of the Multistate Class were deprived of free

              and open competition; and (4) Plaintiffs Raleigh Golden and Lauren

              Grouws and members of the Multistate Class paid supra-competitive,

              artificially inflated prices for Granulated Sugar.

           f. During the Class Period, Defendants’ illegal conduct had a substantial

              effect on Minnesota commerce.

           g. As a direct and proximate cause of the Defendants’ unlawful conduct,

              Plaintiffs Raleigh Golden and Lauren Grouws and members of the

              Multistate Class suffered ascertainable loss of money or property.

           h. By reason of the foregoing, Defendants have engaged in unfair or

              deceptive acts of practices in violation of Minn. Stat. § 325F.68, et

              seq. Accordingly, Plaintiffs Raleigh Golden and Lauren Grouws and


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                    members of the Multistate Class seek all relief available under Minn.

                    Stat. § 325F.68, et seq.

      344.   Missouri: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of Missouri Merchandising

Practices Act, Mo. Ann. Stat. § 407.020, et seq.

                 a. Plaintiff Lisa Clemenson and members of the Multistate Class

                    purchased Granulated Sugar in Missouri for personal, family, or

                    household purposes, or resided in Missouri when they purchased

                    Granulated Sugar in Missouri for personal, family or household

                    purposes.

                 b. Defendants concealed, suppressed, and omitted to disclose material

                    facts to Plaintiff Lisa Clemenson and members of the Multistate Class

                    concerning Defendants’ unlawful activities and artificially inflated

                    prices for Granulated Sugar. The concealed, suppressed, and omitted

                    facts would have been important to Plaintiff Lisa Clemenson members

                    of the Multistate class as they related to the Granulated Sugar that they

                    purchased.

                 c. Defendants’ unlawful conduct had the following effects: (1)

                    Granulated Sugar price competition was restrained, suppressed, and

                    eliminated throughout Missouri; (2) Granulated Sugar prices were

                    raised, fixed, maintained, and stabilized at artificially high levels

                    throughout Missouri; (3) Plaintiff Lisa Clemenson and members of


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                    the Multistate Class were deprived of free and open competition; and

                    (4) Plaintiff Lisa Clemenson and members of the Damage Class paid

                    supra-competitive, artificially inflated prices for Granulated Sugar.

                d. During the Class Period, Defendants’ illegal conduct substantially

                    affected Missouri commerce and consumers.

                e. As a direct and proximate result of Defendants’ unlawful conduct,

                    Plaintiff Lisa Clemenson and members of the Multistate Class were

                    injured and are threatened with further injury. Accordingly, Plaintiff

                    Lisa Clemenson and members of the Multistate Class seek all relief

                    available under the Missouri Merchandising Practices Act, Mo. Ann.

                    Stat. § 407.020, et seq.

      345.   Montana: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of the Montana Consumer

Protection Act of 1973, Mont. Code, §§ 30-14-101, et seq.

                a. Members of the Multistate Class purchased Granulated Sugar in

                    Montana for personal, family, or household purposes, or resided in

                    Montana when they purchased Granulated Sugar in Montana for

                    personal, family, or household purposes.

                b. Defendants’ unlawful conduct had the following effects: (1)

                    Granulated Sugar price competition was restrained, suppressed, and

                    eliminated throughout Montana; (2) Granulated Sugar prices were

                    raised, fixed, maintained, and stabilized at artificially high levels


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                     throughout Montana; (3) members of the Multistate Class were

                     deprived of free and open competition; and (4) members of the

                     Multistate Class paid supra-competitive, artificially inflated prices for

                     Granulated Sugar.

                 c. During the Class Period, Defendants’ illegal conduct substantially

                     affected Montana commerce and consumers.

                 d. As a direct and proximate result of Defendants’ unlawful conduct,

                     members of the Multistate Class were injured and are threatened with

                     further injury. Accordingly, members of the Multistate Class seek all

                     relief available under the Montana Consumer Protection Act of 1973,

                     Mont. Code, §§ 30-14-101, et seq.

                 e. In conjunction with the filing of this Complaint, Plaintiffs have served

                     a copy of this Complaint on the Montana Attorney General in

                     accordance with Mont. Code §30-14-133(2). Plaintiffs will file proof

                     of such service with the Court.

       346.   Nebraska: Defendants have engaged in unfair methods competition and

unfair or deceptive acts or practices in the conduct of trade or commerce in violation of the

Nebraska Consumer Protection Act, Neb. Rev. Stat. § 59-1602, et seq.

                 a. Defendants’ unlawful conduct had the following effects: (1)

                     Granulated Sugar price competition was restrained, suppressed, and

                     eliminated throughout Nebraska; (2) Granulated Sugar prices were

                     raised, fixed, maintained, and stabilized at artificially high levels


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                    throughout Nebraska; (3) members of the Multistate Class were

                    deprived of free and open competition; and (4) members of the

                    Multistate Class paid supra-competitive, artificially inflated prices for

                    Granulated Sugar.

                 b. During the Class Period, Defendants’ illegal conduct substantially

                    affected Nebraska commerce and consumers.

                 c. As a direct and proximate result of Defendants’ unlawful conduct,

                    members of the Multistate Class were injured and are threatened with

                    further injury. Accordingly, members of the Multistate Class seek all

                    relief available under the Nebraska Consumer Protection Act, Neb.

                    Rev. Stat. § 59-1602, et seq.

      347.   Nevada: Defendants have engaged in deceptive trade practices in violation

of the Nevada Deceptive Trade Practices Act, Nev. Rev. Stat. § 598.0903, et seq.

                 a. Defendants engaged in the conduct described herein in connection

                    with the sale of Granulated Sugar in trade or commerce in a market

                    that includes Nevada.

                 b. Defendants and their co-conspirators agreed to, and did in fact affect,

                    fix, control, and/or maintain, at artificial and non-competitive levels,

                    the prices at which Granulated Sugar were sold, distributed or

                    obtained in Nevada, which conduct constituted unfair practices in that

                    it was unlawful under federal and state law, violated public policy,

                    was unethical, oppressive and unscrupulous, and caused substantial


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              injury to members of the Multistate Class.

           c. Defendants concealed, suppressed, and omitted to disclose material

              facts to Plaintiff Erica Mitchell and members of the Multistate Class

              concerning Defendants’ unlawful activities and artificially inflated

              prices for Granulated Sugar. The concealed, suppressed, and omitted

              facts would have been important to Plaintiff Erica Mitchell and

              members of the Multistate Class as they related to the cost of

              Granulated Sugar that they purchased.

           d. Defendants misrepresented the real cause of price increases and/or the

              absence of price reductions in Granulated Sugar by making public

              statements that were not in accord with the facts.

           e. Defendants’ statements and conduct concerning the price of

              Granulated Sugar were deceptive as they had the tendency or capacity

              to mislead Plaintiff Erica Mitchell and members of the Multistate

              Class to believe that they were purchasing Granulated Sugar at prices

              established by a free and fair market.

           f. Defendants’ unlawful conduct had the following effects: (1)

              Granulated Sugar price competition was restrained, suppressed, and

              eliminated throughout Nevada; (2) Granulated Sugar prices were

              raised, fixed, maintained, and stabilized at artificially high levels

              throughout Nevada; (3) Plaintiff Erica Mitchell and members of the

              Multistate Class were deprived of free and open competition; and (4)


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                    Plaintiff Erica Mitchell and members of the Multistate Class paid

                    supra-competitive, artificially inflated prices for Granulated Sugar.

                 g. As a direct and proximate result of the above-described unlawful

                    practices, Plaintiff Erica Mitchell and members of the Multistate Class

                    suffered ascertainable loss of money or property. Accordingly,

                    members of the Multistate Class seek all relief available under Nev.

                    Rev. Stat. § 598.0993.

      348.   New Hampshire: Defendants have engaged in unfair or deceptive acts or

practices in violation of the New Hampshire Rev. Ann. tit. XXXI, § 358-A:1, et seq.

                 a. Plaintiff Thomas Tombarello and members of the Multistate Class

                    purchased Granulated Sugar in New Hampshire for personal, family,

                    or household purposes, or resided in New Hampshire when they

                    purchased Granulated Sugar in New Hampshire for personal, family

                    or household purposes.

                 b. Defendants concealed, suppressed, and omitted to disclose material

                    facts to members of the Multistate Class concerning Defendants’

                    unlawful activities and artificially raised prices for Granulated Sugar.

                    The concealed, suppressed, and omitted facts would have been

                    important to Plaintiff Thomas Tombarello and members of the

                    Multistate class as they related to the Granulated Sugar that they

                    purchased.

                 c. Defendants’ unlawful conduct had the following effects: (1)


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                    Granulated Sugar price competition was restrained, suppressed, and

                    eliminated throughout New Hampshire; (2) Granulated Sugar prices

                    were raised, fixed, maintained, and stabilized at artificially high levels

                    throughout New Hampshire; (3) Plaintiff Thomas Tombarello and

                    members of the Multistate Class were deprived of free and open

                    competition; and (4) Plaintiff Thomas Tombarello paid supra-

                    competitive, artificially inflated prices for Granulated Sugar.

                 d. During the Class Period, Defendants’ illegal conduct substantially

                    affected New Hampshire Commerce and consumers.

                 e. As a direct and proximate result of Defendants’ unlawful conduct,

                    Plaintiff Thomas Tombarello and members of the Multistate Class

                    were injured and are threatened with further injury. Accordingly,

                    Plaintiff Thomas Tombarello and members of the Multistate Class

                    seek all available relief under the New Hampshire Rev. Ann. tit.

                    XXXI, § 358-A:1, et seq.

                 f. In conjunction with the filing of this Complaint, Plaintiffs have served

                    a copy of this Complaint on the New Hampshire Attorney General in

                    accordance with New Hampshire Revised Statutes Annotated § 358-

                    A:10(II). Plaintiffs will file proof of such service with the Court.

       349.   New Jersey: Defendants have engaged in unfair or deceptive acts or

practices in violation of the New Jersey Consumer Fraud Act, N.J. Stat. Ann. § 56.8-2, et

seq.


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           a. Plaintiff Nancy Goodman and members of the Multistate Class

              purchased Granulated Sugar in New Jersey for personal, family, or

              household purposes, or resided in New Jersey when they purchased

              Granulated Sugar in New Jersey for personal, family or household

              purposes.

           b. Defendants concealed, suppressed, and omitted to disclose material

              facts to members of the Multistate Class concerning Defendants’

              unlawful activities and artificially raised prices for Granulated Sugar.

              The concealed, suppressed, and omitted facts would have been

              important to Plaintiff Nancy Goodman and members of the Multistate

              class as they related to the Granulated Sugar that they purchased.

           c. Defendants’ unlawful conduct had the following effects: (1)

              Granulated Sugar price competition was restrained, suppressed, and

              eliminated throughout New Jersey; (2) Granulated Sugar prices were

              raised, fixed, maintained, and stabilized at artificially high levels

              throughout New Jersey; (3) Plaintiff Nancy Goodman and members

              of the Multistate Class were deprived of free and open competition;

              and (4) Plaintiffs Nancy Goodman paid supra-competitive, artificially

              inflated prices for Granulated Sugar.

           d. During the Class Period, Defendants’ illegal conduct substantially

              affected New Jersey Commerce and consumers.

           e. As a direct and proximate result of Defendants’ unlawful conduct,


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                     Plaintiff Nancy Goodman and members of the Multistate Class were

                     injured and are threatened with further injury. Accordingly, Plaintiff

                     Nancy Goodman and members of the Multistate Class seek all

                     available relief under the New Jersey Consumer Fraud Act, N.J. Stat.

                     Ann. § 56.8-2, et seq.

       350.    New Mexico: Defendants have engaged in unfair or deceptive acts or

practices in violation of N.M. Stat. Ann. § 57-12-3, et seq.

                  a. Defendants worked together to fix, raise, maintain, and stabilize the

                     price of Granulated Sugar and exercised their collective control to

                     suppress innovation and consumer choice.

                  b. During the Class Period, Defendants’ illegal conduct had a substantial

                     effect on New Mexico commerce.

                  c. As a direct and proximate cause of the Defendants’ unlawful conduct,

                     members of the Multistate Class have been injured in their business

                     and property and are threatened with further injury.

                 d. By reason of the foregoing, Defendants have engaged in unfair or

                     deceptive acts of practices in violation of N.M. Stat. Ann. § 57-12- 3,

                     et seq. Accordingly, members of the Multistate Class seek all relief

                     available under N.M. Stat. Ann. § 57-12-3, et seq.

       351.    New York: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of New York Gen. Bus. Law §

349, et seq.


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           a. Defendants agreed to, and did in fact, act in restraint of trade or

              commerce by affecting, fixing, controlling and/or maintaining, at

              artificial and non-competitive levels, the prices at which Granulated

              Sugar were sold, distributed, or obtained in New York and took efforts

              to conceal their agreements from Plaintiffs Renee Newton and

              Claudine Williams and members of the Multistate Class.

           b. Defendants and their co-conspirators made public statements about

              the prices of Granulated Sugar and Granulated Sugar that Defendants

              knew would be seen by New York consumers; such statements either

              omitted material information that rendered the statements that they

              made materially misleading or affirmatively misrepresented the real

              cause of price increases for Granulated Sugar; and Defendants alone

              possessed material information that was relevant to consumers, but

              failed to provide the information.

           c. Because of Defendants’ unlawful trade practices in New York,

              Plaintiffs Renee Newton and Claudine Williams and members of the

              Multistate Class who purchased Granulated Sugar were misled to

              believe that they were paying a fair price for Granulated Sugar or the

              price increases for Granulated Sugar were for valid business reasons;

              and similarly situated consumers were potentially affected by

              Defendants’ conspiracy.

           d. Defendants knew that their unlawful trade practices with respect to


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              pricing Granulated Sugar would have an impact on New York

              consumers and not just Defendants’ direct customers.

           e. Defendants knew that their unlawful trade practices with respect to

              pricing Granulated Sugar would have a broad impact, causing

              customers who purchased Granulated Sugar to be injured by paying

              more for Granulated Sugar than they would have paid in the absence

              of Defendants’ unlawful trade acts and practices.

           f. The conduct of Defendants described herein constitutes consumer-

              oriented deceptive acts or practices within the meaning of N.Y. Gen.

              Bus. Law § 349, which resulted in consumer injury and broad adverse

              impact on the public at large and harmed the public interest of New

              York State in an honest marketplace in which economic activity is

              conducted in a competitive manner.

           g. Defendants’ unlawful conduct had the following effects: (1)

              Granulated Sugar competition was restrained, suppressed, and

              eliminated throughout New York; (2) Granulated Sugar prices were

              raised, fixed, maintained, and stabilized at artificially high levels

              throughout New York; (3) Plaintiffs Renee Newton and Claudine

              Williams and members of the Multistate Class were deprived of free

              and open competition; and (4) Plaintiffs Renee Newton and Claudine

              Williams and members of the Multistate Class paid supra-

              competitive, artificially inflated prices for Granulated Sugar.


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                  h. During the Class Period, Defendants marketed, sold, or distributed

                     Granulated Sugar in New York, and Defendants’ illegal conduct

                     substantially affected New York commerce and consumers.

                  i. Plaintiffs Renee Newton and Claudine Williams and members of the

                     Multistate Class seek all relief available pursuant to N.Y. Gen. Bus.

                     Law § 349(h).

       352.   North Carolina: Defendants have engaged in unfair or deceptive acts or

practices in violation of N.C. Gen. Stat. § 75-1.1, et seq.

                  a. Defendants agreed to, and did in fact, act in restraint of trade or

                     commerce by fixing, raising, maintaining, and/or stabilizing the price

                     of Granulated Sugar at artificial and non-competitive levels and took

                     efforts to conceal their agreements from Plaintiffs Amanda Boardman

                     and Bruce Johnson and members of the Multistate Class.

                  b. Defendants’ price-fixing conspiracy could not have succeeded absent

                     deceptive conduct by Defendants to cover up their illegal acts.

                     Secrecy was integral to the formation, implementation, and

                     maintenance of Defendants’ price-fixing conspiracy. Defendants

                     committed inherently deceptive and self-concealing actions, of which

                     Plaintiffs Amanda Boardman and Bruce Johnson and members of the

                     Multistate Class could not possibly have been aware. Defendants and

                     their co-conspirators publicly provided pre-textual and false

                     justifications regarding their price increases. Defendants’ public


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              statements concerning the price of Granulated Sugar created the

              illusion of competitive pricing controlled by market forces rather than

              supra-competitive pricing driven by Defendants’ illegal conspiracy.

           c. The conduct of Defendants described herein constitutes consumer-

              oriented deceptive acts or practices within the meaning of North

              Carolina law, which resulted in consumer injury and broad adverse

              impact on the public at large and harmed the public interest of North

              Carolina consumers in an honest marketplace in which economic

              activity is conducted in a competitive manner.

           d. Defendants’ unlawful conduct had the following effects: (1)

              Granulated Sugar price competition was restrained, suppressed, and

              eliminated throughout North Carolina; (2) Granulated Sugar prices

              were raised, fixed, maintained, and stabilized at artificially high levels

              throughout North Carolina; (3) Plaintiffs Amanda Boardman and

              Bruce Johnson and members of the Multistate Class were deprived of

              free and open competition; and (4) Plaintiffs Amanda Boardman and

              Bruce Johnson and members of the Multistate Class paid supra-

              competitive, artificially inflated prices for Granulated Sugar.

           e. During the Class Period, Defendants’ illegal conduct had a substantial

              effect on North Carolina commerce and consumers.

           f. As a direct and proximate cause of the Defendants’ unlawful conduct,

              Plaintiffs Amanda Boardman and Bruce Johnson and members of the


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                    Multistate Class have been injured in their business and property and

                    are threatened with further injury.

                 g. By reason of the foregoing, Defendants have engaged om unfair or

                    deceptive acts of practices in violation of N.C. Gen. Stat. § 75-1.1, et

                    seq. Accordingly, Plaintiffs Amanda Boardman and Bruce Johnson

                    and members of the Multistate Class seek all relief available under

                    N.C. Gen. Stat. § 75-1.1, et seq.

       353.   Oregon: Defendants have engaged in unconscionable tactics and unfair and

deceptive acts in violation of the Oregon Trade Practices Act, Or. Rev. Stat. §646.605, et

seq.

                 a. Defendants agreed to, and did in fact, act in restraint of trade or

                    commerce by fixing, raising, maintaining, and/or stabilizing the price

                    of Granulated Sugar at artificial and non-competitive levels and

                    exchanging commercial sensitive, non-public information and took

                    efforts to conceal their agreements from members of the Multistate

                    Class.

                 b. Defendants’ unlawful conduct had the following effects: (1)

                    Granulated Sugar price competition was restrained, suppressed, and

                    eliminated throughout Oregon; (2) Granulated Sugar prices were

                    raised, fixed, maintained, and stabilized at artificially high levels

                    throughout Oregon; (3) members of the Multistate Class were

                    deprived of free and open competition; and (4) members of the


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                    Multistate Class paid supra-competitive, artificially inflated prices for

                    Granulated Sugar.

                 c. During the Class Period, Defendants’ illegal conduct had a substantial

                    effect on Oregon commerce and consumers.

                 d. As a direct and proximate cause of the Defendants’ unlawful conduct,

                    members of the Multistate Class have been injured in their business

                    and property and are threatened with further injury.

                 e. By reason of the foregoing, Defendants have engaged om unfair or

                    deceptive acts of practices in violation of the Oregon Trade Practices

                    Act, Or. Rev. Stat. §646.605, et seq. Accordingly, Plaintiffs and

                    members of the Multistate Class seek all relief available under the

                    Oregon Trade Practices Act, Or. Rev. Stat. §646.605, et seq.

                 f. In conjunction with the filing of this Complaint, Plaintiffs have served

                    a copy of this Complaint on the Oregon Attorney General in

                    accordance with Or. Rev. Stat. §646.638(2). Plaintiffs will file proof

                    of such service with the Court.

      354.   Pennsylvania: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of the Unfair Trade Practices

and Consumer Protection Law, 73 Pa. Stat. Ann. §§ 201-1, et seq.

                 a. Plaintiff Heidi Humphreys and members of the Multistate Class

                    purchased Granulated Sugar Products in Pennsylvania for personal,

                    family, or household purposes, or resided in Pennsylvania when they


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              purchased Granulated Sugar in Pennsylvania for personal, family, or

              household purposes.

           b. Defendants concealed, suppressed, and omitted to disclose material

              facts to members of the Multistate Class concerning Defendants’

              unlawful activities and artificially inflated prices for Granulated

              Sugar. The concealed, suppressed, and omitted facts would have been

              important to Plaintiff Heidi Humphreys and members of the

              Multistate class as they related to the Granulated Sugar that they

              purchased.

           c. Defendants’ unlawful conduct had the following effects: (1)

              Granulated Sugar price competition was restrained, suppressed, and

              eliminated throughout Pennsylvania; (2) Granulated Sugar prices

              were raised, fixed, maintained, and stabilized at artificially high levels

              throughout Pennsylvania; (3) Plaintiff Heidi Humphreys and

              members of the Multistate Class were deprived of free and open

              competition; and (4) Plaintiff Heidi Humphreys and members of the

              Multistate Class paid supra-competitive, artificially inflated prices for

              Granulated Sugar.

           d. During the Class Period, Defendants’ illegal conduct substantially

              affected Pennsylvania commerce and consumers.

           e. As a direct and proximate result of Defendants’ unlawful conduct,

              Plaintiff Heidi Humphreys and members of the Multistate Class were


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                    injured and are threatened with further injury. Accordingly, Plaintiff

                    Heidi Humphreys and members of the Multistate Class seek all relief

                    available under the Unfair Trade Practices and Consumer Protection

                    Law, 73 Pa. Stat. Ann. §§ 201-1, et seq.

      355.   Rhode Island: Defendants have engaged in unfair or deceptive acts or

practices in violation of Rhode Island Unfair Trade Practice and Consumer Protection Act,

R.I. Gen. Laws §§ 6-13.1-1, et seq.

                 a. Defendants worked together to fix, raise, maintain, and stabilize the

                    price of Granulated Sugar and exercised their collective control to

                    suppress innovation and consumer choice.

                 b. Defendants’ combinations or conspiracies had the following effects:

                    (1) Granulated Sugar price competition was restrained, suppressed,

                    and eliminated throughout Rhode Island; (2) Granulated Sugar prices

                    were raised, fixed, maintained, and stabilized at artificially high levels

                    throughout South Carolina; (3) Plaintiff Evan Annis and members of

                    the Multistate Class were deprived of free and open competition; and

                    (4) Plaintiff Evan Annis and members of the Multistate Class paid

                    supra-competitive, artificially inflated prices for Granulated Sugar.

                 c. During the Class Period, Defendants’ illegal conduct had a substantial

                    effect on Rhode Island commerce.

                 d. As a direct and proximate cause of the Defendants’ unlawful conduct,

                    Plaintiff Evan Annis and members of the Multistate Class have been


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                     injured in their business and property and are threatened with further

                     injury.

                 e. By reason of the foregoing, Defendants have engaged in unfair or

                     deceptive acts of practices in violation of R.I. Gen. Laws §§ 6-13.1-1,

                     et seq. Accordingly, Plaintiff Evan Annis and members of the

                     Multistate Class seek all relief available under R.I. Gen. Laws §§ 6-

                     13.1-1, et seq.

                 f. In conjunction with the filing of this Complaint, Plaintiffs have served

                     a copy of this Complaint on the Rhode Island Attorney General in

                     accordance with R.I. Gen. Laws §6-13.1-5.2(c). Plaintiffs will file

                     proof of such service with the Court.

       356.   South Carolina: Defendants have engaged in unfair or deceptive acts or

practices in violation of S.C. Code Ann. § 39-5-10, et seq.

                 a. Defendants worked together to fix, raise, maintain, and stabilize the

                     price of Granulated Sugar and exercised their collective control to

                     suppress innovation and consumer choice.

                 b. Defendants’ combinations or conspiracies had the following effects:

                     (1) Granulated Sugar price competition was restrained, suppressed,

                     and eliminated throughout South Carolina; (2) Granulated Sugar

                     prices were raised, fixed, maintained, and stabilized at artificially high

                     levels throughout South Carolina; (3) Plaintiff Stephen Reeves and

                     members of the Multistate Class were deprived of free and open


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                    competition; and (4) Plaintiff Stephen Reeves members of the

                    Multistate Class paid supra-competitive, artificially inflated prices for

                    Granulated Sugar.

                c. During the Class Period, Defendants’ illegal conduct had a substantial

                    effect on South Carolina commerce.

                d. As a direct and proximate cause of the Defendants’ unlawful conduct,

                    Plaintiff Stephen Reeves and members of the Multistate Class have

                    been injured in their business and property and are threatened with

                    further injury.

                e. By reason of the foregoing, Defendants have engaged in unfair or

                    deceptive acts of practices in violation of S.C. Code Ann. § 39-5-10,

                    et seq. Accordingly, Plaintiff Stephen Reeves and members of the

                    Multistate Class seek all relief available under S.C. Code Ann. § 39-

                    5-10, et seq.

                f. In conjunction with the filing of this Complaint, Plaintiffs have served

                    a copy of this Complaint on the South Carolina Attorney General in

                    accordance with S.C. Code Ann. §39-5-140(b). Plaintiffs will file

                    proof of such service with the Court.

      357.   Utah: Defendants have engaged in unfair or deceptive acts or practices in

violation of the Utah Consumer Sales Practices Act, Utah Code Ann. §13-11-1, et seq.

                a. Defendants worked together to fix, raise, maintain, and stabilize the

                    price of Granulated Sugar at artificial and non-competitive levels and


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              exchanging commercial sensitive, non-public information and took

              efforts to conceal their agreements from members of the Multistate

              Class

           b. Defendants’ combinations or conspiracies had the following effects:

              (1) Granulated Sugar price competition was restrained, suppressed,

              and eliminated throughout Utah; (2) Granulated Sugar prices were

              raised, fixed, maintained, and stabilized at artificially high levels

              throughout Utah; (3) members of the Multistate Class were deprived

              of free and open competition; and (4) members of the Multistate Class

              paid supra-competitive, artificially inflated prices for Granulated

              Sugar.

           c. During the Class Period, Defendants’ illegal conduct had a substantial

              effect on Utah commerce.

           d. As a direct and proximate cause of the Defendants’ unlawful conduct,

              members of the Multistate Class have been injured in their business

              and property and are threatened with further injury.

           e. By reason of the foregoing, Defendants have engaged in unfair or

              deceptive acts of practices in violation of Utah Code Ann. §13-11-1,

              et seq. Accordingly, Plaintiffs and members of the Multistate Class

              seek all relief available under Utah Code Ann. §13-11-1, et seq.

           f. In conjunction with the filing of this Complaint, Plaintiffs have served

              a copy of this Complaint on the Utah Attorney General in accordance


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                    with Utah Code Ann. §13-11-21(2). Plaintiffs will file proof of such

                    service with the Court.

      358.   Vermont: Defendants have engaged in unfair or deceptive acts or practices

in violation of Vermont Consumer Fraud Act, Vt. Stat. Ann. tit. 9 § 2451, et. seq.

                 a. Defendants worked together to fix, raise, maintain, and stabilize the

                    price of Granulated Sugar and exercised their collective control to

                    suppress innovation and consumer choice.

                 b. Defendants’ combinations or conspiracies had the following effects:

                    (1) Granulated Sugar price competition was restrained, suppressed,

                    and eliminated throughout Vermont; (2) Granulated Sugar prices were

                    raised, fixed, maintained, and stabilized at artificially high levels

                    throughout Vermont; (3) Plaintiffs Mary Reilly and James Veneziano

                    and members of the Multistate Class were deprived of free and open

                    competition; and (4) Plaintiffs Mary Reilly and James Veneziano and

                    members of the Multistate Class paid supra-competitive, artificially

                    inflated prices for Granulated Sugar.

                 c. During the Class Period, Defendants’ illegal conduct had a substantial

                    effect on Vermont commerce.

                 d. As a direct and proximate cause of the Defendants’ unlawful conduct,

                    Plaintiffs Mary Reilly and James Veneziano and members of the

                    Multistate Class have been injured in their business and property and

                    are threatened with further injury.


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                  e. By reason of the foregoing, Defendants have engaged in unfair or

                     deceptive acts of practices in violation of Vt. Stat. Ann. tit. 9 § 2451,

                     et. seq, et seq. Accordingly, Plaintiffs Mary Reilly and James

                     Veneziano and members of the Multistate Class seek all relief

                     available under Vt. Stat. Ann. tit. 9 § 2451, et. seq.

       359.   Wisconsin: Defendants have engaged in unfair or deceptive acts or practices

in violation of Wisc. Stat. § 100.18, et seq.

                  a. Defendants worked together to fix, raise, maintain, and stabilize the

                     price of Granulated Sugar and exercised their collective control to

                     suppress innovation and consumer choice.

                  b. During the Class Period, Defendants’ illegal conduct had a substantial

                     effect on Wisconsin commerce.

                  c. As a direct and proximate cause of the Defendants’ unlawful conduct,

                     Plaintiffs Donald Friedman, Sandra Kluessendorf and Richard

                     Hammetter and members of the Multistate Class have been injured in

                     their business and property and are threatened with further injury.

                  d. By reason of the foregoing, Defendants have engaged om unfair or

                     deceptive acts of practices in violation of Wisc. Stat. § 100.18, et seq.

                     Accordingly, Plaintiffs Donald Friedman, Sandra Kluessendorf and

                     Richard Hammetter and members of the Multistate Class seek all

                     relief available Wisc. Stat. § 100.18, et seq.




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                         COUNT V: UNJUST ENRICHMENT

                    On Behalf of Plaintiffs and the Multistate Class

       360.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       361.   To the extent required, this Count V is pled in the alternative to other Counts

in this Complaint to the extent they may have no remedy at law.

       362.   Defendants have unlawfully benefited from their sales of Granulated Sugar

because of the unlawful and inequitable acts alleged throughout this Complaint.

Defendants unlawfully overcharged for Granulated Sugar during the Class Period, which

caused Plaintiffs and the Multistate Class to make purchases of Granulated Sugar during

the Class Period at prices that were higher than they would have been but for Defendants’

unlawful and inequitable actions.

       363.   Defendants’ financial benefits resulting from their unlawful and inequitable

acts are traceable to overpayments by Plaintiffs and the Multistate Class during the Class

Period.

       364.   Plaintiffs and the Multistate Class have conferred upon Defendants an

economic benefit, in the form of profits resulting from unlawful and ill-gotten overcharges

during the Class Period to the economic detriment of the Plaintiffs and the Multistate Class.

       365.   Defendants have been enriched by revenue resulting from unlawful

overcharges for Granulated Sugar during the Class Period while Plaintiffs and the

Multistate Class have been detrimentally and adversely impacted by overcharges they

paid for Granulated Sugar imposed through Defendants’ unlawful conduct. Defendants’


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enrichment, and the Plaintiffs’ and the Multistate Class’s economic detriment and

economic losses, are connected.

       366.   Defendants’ inequitable and unlawful enrichment was at the expense, and to

the economic detriment, of the Plaintiffs and the Multistate Class.

       367.   There is no legitimate justification for Defendants’ retention of, and

enrichment from, the benefits they received, which caused economic detriment to Plaintiffs

and the Multistate Class, because Plaintiffs and the Multistate Class paid supra-competitive

prices during the Class Period that inured to Defendants’ benefit, and it would be

inequitable for Defendants to retain any revenue gained from their unlawful overcharges.

       368.   Plaintiffs and the Multistate Class did not interfere with Defendants’ affairs

in any manner that conferred these benefits upon Defendants.

       369.   The benefits conferred upon Defendants were not gratuitous, in that they

constituted revenue created by unlawful overcharges arising from Defendants’ illegal and

unfair actions to artificially inflate the prices of Granulated Sugar.

       370.   The benefits conferred upon Defendants are measurable, in that the revenue

Defendants have earned during the Class Period due to their unlawful overcharges of

Granulated Sugar are ascertainable by review of sales records and other discoverable

financial data.

       371.   It would be futile for Plaintiffs and the Multistate Class to seek to exhaust

any remedy against any immediate intermediary in the chain of distribution from which

they indirectly purchased Granulated Sugar, as the intermediaries are not liable and cannot

reasonably be expected to compensate Plaintiffs and the Multistate Class for Defendants’


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unlawful conduct.

       372.   The economic benefit of overcharges and ill-gotten profits derived by

Defendants through charging supra-competitive and artificially inflated prices for

Granulated Sugar is a direct and proximate result of Defendants’ unlawful and inequitable

practices discussed throughout this Complaint.

       373.   The financial benefits derived by Defendants rightfully belong to the

Plaintiffs and the Multistate Class, because Plaintiffs and the Multistate Class paid supra-

competitive prices during the Class Period, inuring to the benefit of Defendants.

       374.   It would be inequitable under unjust enrichment principles under the laws of

the Consumer Indirect Purchaser States, for Defendants to be permitted to retain any of the

overcharges for Granulated Sugar derived from Defendants’ unlawful, unfair, inequitable,

and unconscionable methods, acts, and trade practices alleged throughout this Complaint.

       375.   Defendants are aware of and appreciate the benefits bestowed upon them by

Plaintiffs and the Multistate Class. Defendants consciously accepted the benefits and

continue to do so as of the date of this filing.

       376.   Defendants should be compelled to disgorge into a common fund for the

benefit of Plaintiffs and the Multistate Class all unlawful, ill-gotten, and/or inequitable

proceeds they received from their sales of Granulated Sugar.

       377.   By engaging in the foregoing unlawful or inequitable conduct depriving

Plaintiffs and the Multistate Class of the opportunity to purchase lower-priced

Granulated Sugar and forcing them to pay higher prices for Granulated Sugar during the

Class Period, Defendants have been unjustly enriched.


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       378.   Unjust enrichment claims are alleged herein under the laws of all States

(except Ohio and Indiana) as well as the District of Columbia, as follows:

       379.   Alabama: Defendants unlawfully overcharged Plaintiffs and the Multistate

Class, who made purchases of Granulated Sugar during the Class Period in Alabama at

prices that were higher than they would have been but for Defendants’ actions. Defendants

received money from Plaintiffs and the Multistate Class as a direct result of the unlawful

overcharges, and Defendants have inequitably retained this money. Defendants have

benefitted at the expense of Plaintiffs and the Multistate Class from revenue resulting from

unlawful and inequitable overcharges for Granulated Sugar. It is inequitable and

unjustifiable for Defendants to accept and retain the benefits received without

compensating the Plaintiffs and the Multistate Class.

       380.   Alaska: Defendants unlawfully overcharged Plaintiffs and the Multistate

Class, who made purchases of Granulated Sugar during the Class Period in Alaska at prices

that were higher than they would have been but for Defendants’ actions. Plaintiffs and the

Multistate Class have conferred an economic benefit upon Defendants, in the form of

revenue resulting from unlawful overcharges to the economic detriment of Plaintiffs and

the Multistate Class. Defendants appreciated the benefits bestowed upon them by Plaintiffs

and the Multistate Class. Defendants accepted and retained the benefits bestowed upon

them under inequitable and unjust circumstances arising from unlawful overcharges to

Plaintiffs and the Multistate Class. Under the circumstances, it would be inequitable and

unjust for Defendants to retain such benefits without compensating Plaintiffs and the

Multistate Class.


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       381.   Arizona: Defendants unlawfully overcharged Plaintiffs and the Multistate

Class, who made purchases of Granulated Sugar during the Class Period in Arizona at

prices that were higher than they would have been but for Defendants’ actions. Defendants

have been enriched by revenue resulting from unlawful overcharges for Granulated Sugar.

Plaintiffs and the Multistate Class have been detrimentally impacted and they have suffered

economic losses by the overcharges for Granulated Sugar resulting from Defendants’

unlawful conduct. Defendants’ enrichment and Plaintiffs’ and the Multistate Class’s

economic detriment are connected. There is no legitimate justification for Defendants’

receipt of the benefits causing their enrichment and Plaintiffs’ and the Multistate Class’s

economic detriment because Plaintiffs and the Multistate Class paid supra-competitive

prices that inured to Defendants’ benefit, and it would be inequitable for Defendants to

retain any revenue gained from their unlawful overcharges. Plaintiffs and the Multistate

Class have no adequate remedy at law.

       382.   Arkansas: Defendants unlawfully overcharged Plaintiffs and the Multistate

Class, who made purchases of Granulated Sugar during the Class Period in Arkansas at

prices that were higher than they would have been but for Defendants’ actions. Defendants

received money from Plaintiffs and the Multistate Class as a direct result of the unlawful

overcharges, and Defendants have improperly retained this money. Defendants have paid

no consideration to any other person in exchange for this money. Under the circumstances,

it would be inequitable for Defendants to retain such benefits without compensating

Plaintiffs and the Multistate Class.

       383.   California: Defendants     unlawfully     overcharged    Plaintiffs and   the


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Multistate Class, who made purchases of Granulated Sugar during the Class Period in

California at prices that were higher than they would have been but for Defendants’ actions.

Defendants have received a benefit from Plaintiffs and the Multistate Class as a direct

result of the unlawful overcharges. Defendants retained the benefits bestowed upon them

under inequitable and unjust circumstances at the expense of Plaintiffs and the Multistate

Class. Plaintiffs and the Multistate Class therefore seek restitution from Defendants under

California law due to Defendants’ unlawful and inequitable conduct.

         384.   Colorado: Defendants unlawfully overcharged Plaintiffs and the Multistate

Class, who made purchases of Granulated Sugar during the Class Period in Colorado at

prices that were higher than they would have been but for Defendants’ actions. Defendants

have received a benefit from Plaintiffs and the Multistate Class in the form of revenue

resulting from the unlawful overcharges, which revenue resulted from anticompetitive

prices that inured to the benefit of Defendants. Defendants have benefitted at the expense

of Plaintiffs and the Multistate Class. Under the circumstances, it would be inequitable

for Defendants to retain such benefits without compensating Plaintiffs and the Multistate

Class.

         385.   Connecticut: Defendants unlawfully overcharged Plaintiffs and           the

Multistate Class, who made purchases of Granulated Sugar during the Class Period in

Connecticut at prices that were higher than they would have been but for Defendants’

actions. Defendants benefitted in the form of revenue resulting from unlawful overcharges

to the economic detriment of Plaintiffs and the Multistate Class. Defendants have paid

no consideration to any other person in exchange for this benefit. Defendants retained the


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benefits bestowed upon them under inequitable and unjust circumstances at the expense of

Plaintiffs and the Multistate Class.

      386.   Delaware: Defendants unlawfully overcharged Plaintiffs and the Multistate

Class, who made purchases of Granulated Sugar during the Class Period in Delaware at

prices that were higher than they would have been but for Defendants’ actions. Defendants

have been enriched by revenue resulting from unlawful overcharges for Granulated Sugar.

Plaintiffs and the Multistate Class have been detrimentally and adversely impacted by

the overcharges for Granulated Sugar resulting from Defendants’ unlawful conduct.

Defendants’ enrichment and Plaintiffs’ and the Multistate Class’s economic losses are

connected. There is no legitimate justification for Defendants’ receipt of the benefits

causing their enrichment because Plaintiffs and the       Multistate Class paid supra-

competitive prices that inured to Defendants’ benefit, and it would be inequitable and

unjust for Defendants to retain any revenue gained from their unlawful overcharges.

Plaintiffs and the Multistate Class have no adequate remedy at law.

      387.   District of Columbia: Defendants unlawfully overcharged Plaintiffs and the

Multistate Class, who made purchases of Granulated Sugar during the Class Period in the

District of Columbia at prices that were higher than they would have been but for

Defendants’ actions. Plaintiffs and the Multistate Class have conferred an economic

benefit upon Defendants, in the form of revenue resulting from unlawful overcharges to

the economic detriment of Plaintiffs and the Multistate Class. Defendants retained the

benefit bestowed upon them under inequitable and unjust circumstances arising from

unlawful overcharges to Plaintiffs and the Multistate Class. Under the circumstances, it


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would be inequitable and unjust for Defendants to retain such benefits without

compensating Plaintiffs and the Multistate Class.

         388.   Florida: Defendants unlawfully overcharged Plaintiffs and the Multistate

Class, who made purchases of Granulated Sugar during the Class Period in Florida at

prices that were higher than they would have been but for Defendants’ actions. Plaintiffs

and the Multistate Class have conferred an economic benefit upon Defendants, in the form

of revenue resulting from unlawful overcharges to the economic detriment of Plaintiffs and

the Multistate Class. Defendants appreciated the benefits bestowed upon them by Plaintiffs

and the Multistate Class. Under the circumstances, it would be inequitable for

Defendants to retain such benefits without compensating Plaintiffs and the Multistate

Class.

         389.   Georgia: Defendants unlawfully overcharged Plaintiffs and the Multistate

Class, who made purchases of Granulated Sugar during the Class Period in Georgia at

prices that were higher than they would have been but for Defendants’ actions. Plaintiffs

and the Multistate Class conferred an economic benefit upon Defendants, in the form of

revenue resulting from unlawful overcharges to the economic detriment of Plaintiffs and

the Multistate Class. Under the circumstances, it would be inequitable for Defendants to

retain such benefits without compensating Plaintiffs and the Multistate Class.

         390.   Hawaii: Defendants unlawfully overcharged Plaintiffs and the Multistate

Class, who made purchases of Granulated Sugar during the Class Period in Hawaii at prices

that were higher than they would have been but for Defendants’ actions. Plaintiffs and the

Multistate Class have conferred an economic benefit upon Defendants, in the form of


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revenue resulting from unlawful overcharges to the economic detriment of Plaintiffs and

the Multistate Class. Under the circumstances, it would be inequitable for Defendants to

retain such benefits without compensating Plaintiffs and the Multistate Class.

         391.   Idaho: Defendants unlawfully overcharged Plaintiffs and the Multistate

Class, who made purchases of Granulated Sugar during the Class Period in Idaho at prices

that were higher than they would have been but for Defendants’ actions. Plaintiffs and the

Multistate Class have conferred an economic benefit upon Defendants, in the form of

revenue resulting from unlawful overcharges to the economic detriment of Plaintiffs and

the Multistate Class. Defendants appreciated the benefit conferred upon them by Plaintiffs

and the Multistate Class. Under the circumstances, it would be inequitable for

Defendants to retain such benefits without compensating Plaintiffs and the Multistate

Class.

         392.   Illinois: Defendants unlawfully overcharged Plaintiffs and the Multistate

Class, who made purchases of Granulated Sugar during the Class Period in Illinois at prices

that were higher than they would have been but for Defendants’ actions. Plaintiffs and the

Multistate Class have conferred an economic benefit upon Defendants, in the form of

revenue resulting from unlawful overcharges to the economic detriment of Plaintiffs and

the Multistate Class. Defendants retained the benefits bestowed upon them under unjust

circumstances arising from unlawful overcharges to Plaintiffs and the Multistate Class.

It is against equity, justice, and good conscience for Defendants to be permitted to retain

the revenue resulting from their unlawful overcharges without compensating Plaintiffs and

the Multistate Class.


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      393.   Iowa: Defendants unlawfully overcharged Plaintiffs and the Multistate

Class, who made purchases of Granulated Sugar during the Class Period in Iowa at prices

that were higher than they would have been but for Defendants’ actions. Defendants have

been enriched by revenue resulting from unlawful overcharges for Granulated Sugar, which

revenue resulted from anticompetitive prices paid by Plaintiffs and the Multistate Class,

which inured to Defendants’ benefit. Defendants’ enrichment has occurred at the expense

of Plaintiffs and the Multistate Class. Under the circumstances, it would be inequitable

and unjust for Defendants to retain such benefits without compensating Plaintiffs and the

Multistate Class.

      394.   Kansas: Defendants unlawfully overcharged Plaintiffs and the Multistate

Class, who made purchases of Granulated Sugar during the Class Period in Kansas at prices

that were higher than they would have been but for Defendants’ actions. Plaintiffs and the

Multistate Class have conferred an economic benefit upon Defendants, in the nature of

revenue resulting from unlawful overcharges to the economic detriment of Plaintiffs and

the Multistate Class. Defendants retained the benefits bestowed upon them under unjust

circumstances arising from unlawful overcharges to Plaintiffs and the Multistate Class.

Under the circumstances, it would be inequitable for Defendants to retain such benefits

without compensating Plaintiffs and the Multistate Class.

      395.   Kentucky: Defendants unlawfully overcharged Plaintiffs and the Multistate

Class, who made purchases of Granulated Sugar during the Class Period in Kentucky at

prices that were higher than they would have been but for Defendants’ actions. Plaintiffs

and the Multistate Class have conferred an economic benefit upon Defendants, in the


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form of revenue resulting from unlawful overcharges to the economic detriment of

Plaintiffs and the Multistate Class. Defendants appreciated the benefit conferred upon them

by Plaintiffs and the Multistate Class. Under the circumstances, it would be inequitable

and unjust for Defendants to retain such benefits without compensating Plaintiffs and the

Multistate Class.

       396.   Louisiana: Defendants unlawfully overcharged Plaintiffs and               the

Multistate Class, who made purchases of Granulated Sugar during the Class Period in

Louisiana at prices that were higher than they would have been but for Defendants’ actions.

Defendants have been enriched by revenue resulting from unlawful overcharges for

Granulated Sugar. Plaintiffs and the Multistate Class have been detrimentally and

adversely impacted by the overcharges for Granulated Sugar resulting from Defendants’

unlawful conduct. Defendants’ enrichment and Plaintiffs’ and the Multistate Class’s

economic losses are connected. There is no legitimate justification for Defendants’ receipt

of the benefits causing their enrichment, because Plaintiffs and the Multistate Class paid

supra-competitive prices that inured to Defendants’ benefit, and it would be inequitable for

Defendants to retain any revenue gained from their unlawful overcharges without

compensating Plaintiffs and the Multistate Class. Plaintiffs and the Multistate Class

have no other adequate remedy at law.

       397.   Maine: Defendants unlawfully overcharged Plaintiffs and the Multistate

Class, who made purchases of Granulated Sugar during the Class Period in Maine at prices

that were higher than they would have been but for Defendants’ actions. Plaintiffs and the

Multistate Class have conferred an economic benefit upon Defendants, in the form of


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revenue resulting from unlawful overcharges to the economic detriment of Plaintiffs and

the Multistate Class. Defendants were aware of or appreciated the benefit bestowed upon

them by Plaintiffs and the Multistate Class. Under the circumstances, it would be

inequitable for Defendants to retain such benefits without compensating Plaintiffs and the

Multistate Class.

       398.   Maryland: Defendants       unlawfully    overcharged Plaintiffs and      the

Multistate Class, who made purchases of Granulated Sugar during the Class Period in

Maryland at prices that were higher than they would have been but for Defendants’ actions.

Plaintiffs and the Multistate Class have conferred an economic benefit upon Defendants,

in the form of revenue resulting from unlawful overcharges to the economic detriment of

Plaintiffs and the Multistate Class. Defendants were aware of or appreciated the benefit

bestowed upon them by Plaintiffs and the Multistate Class. Under the circumstances, it

would be inequitable for Defendants to retain such benefits without compensating Plaintiffs

and the Multistate Class.

       399.   Massachusetts: Defendants unlawfully overcharged Plaintiffs and          the

Multistate Class, who made purchases of Granulated Sugar during the Class Period in

Massachusetts at prices that were higher than they would have been but for Defendants’

actions. Plaintiffs and the Multistate Class have conferred an economic benefit upon

Defendants, in the form of revenue resulting from unlawful overcharges to the economic

detriment of Plaintiffs and the Multistate Class. Defendants were aware of or appreciated

the benefit conferred upon them by Plaintiffs and the Multistate Class. Under the

circumstances, it would be inequitable for Defendants to retain such benefits without


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compensating Plaintiffs and the Multistate Class.

       400.   Michigan: Defendants unlawfully overcharged Plaintiffs and the Multistate

Class, who made purchases of Granulated Sugar during the Class Period in Michigan at

prices that were higher than they would have been but for Defendants’ actions. Defendants

received a benefit from Plaintiffs and the Multistate Class in the form of revenue resulting

from unlawful overcharges, which revenue resulted from anticompetitive prices that inured

to the benefit of Defendants. Defendants retained the benefits bestowed upon them by

Plaintiffs and the Multistate Class under unjust circumstances arising from unlawful

overcharges to Plaintiffs and the Multistate Class. Under the circumstances, it would

be inequitable for Defendants to retain such benefits without compensating Plaintiffs and

the Multistate Class.

       401.   Minnesota: Defendants unlawfully overcharged Plaintiffs and               the

Multistate Class, who made purchases of Granulated Sugar during the Class Period in

Minnesota at prices that were higher than they would have been but for Defendants’

actions. Plaintiffs and the Multistate Class have conferred an economic benefit upon

Defendants, in the form of revenue resulting from unlawful overcharges to the economic

detriment of Plaintiffs and the Multistate Class. Defendants appreciated and knowingly

accepted the benefits bestowed upon them by Plaintiffs and the Multistate Class. Under

the circumstances, it would be inequitable for Defendants to retain such benefits without

compensating Plaintiffs and the Multistate Class.

       402.   Mississippi: Defendants unlawfully overcharged Plaintiffs and             the

Multistate Class, who made purchases of Granulated Sugar during the Class Period in


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Mississippi at prices that were higher than they would have been but for Defendants’

actions. Defendants received money from Plaintiffs and the Multistate Class as a direct

result of the unlawful overcharges. Defendants retained the benefit of overcharges received

on the sales of Granulated Sugar, which in equity and good conscience belong to Plaintiffs

and the Multistate Class on account of Defendants’ anticompetitive and inequitable

conduct. Under the circumstances, it would be inequitable for Defendants to retain such

benefits without compensating Plaintiffs and the Multistate Class.

      403.    Missouri: Defendants      unlawfully    overcharged     Plaintiffs and   the

Multistate Class, who made purchases of Granulated Sugar during the Class Period in

Missouri at prices that were higher than they would have been but for Defendants’ actions.

Plaintiffs and the Multistate Class have conferred an economic benefit upon Defendants,

in the form of revenue resulting from unlawful overcharges to the economic detriment of

Plaintiffs and the Multistate Class. Defendants appreciated the benefit bestowed upon

them by Plaintiffs and the Multistate Class. Defendants accepted and retained the benefit

bestowed upon them under inequitable and unjust circumstances arising from unlawful

overcharges to Plaintiffs and the Multistate Class. Under the circumstances, it would be

inequitable for Defendants to retain these ill-gotten benefits without compensating

Plaintiffs and the Multistate Class.

      404.    Montana: Defendants unlawfully overcharged Plaintiffs and the Multistate

Class, who made purchases of Granulated Sugar during the Class Period in Montana at

prices that were higher than they would have been but for Defendants’ actions. Plaintiffs

and the Multistate Class conferred an economic benefit upon Defendants, in the form of


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revenue resulting from unlawful overcharges to the economic detriment of Plaintiffs and

the Multistate Class. Under the circumstances, it would be inequitable for Defendants to

retain such benefits without compensating Plaintiffs and the Multistate Class.

      405.   Nebraska: Defendants unlawfully overcharged Plaintiffs and the Multistate

Class, who made purchases of Granulated Sugar during the Class Period in Nebraska at

prices that were higher than they would have been but for Defendants’ actions. Defendants

received money from Plaintiffs and the Multistate Class as a direct result of the unlawful

overcharges, and they have retained this money. Defendants have paid no consideration to

any other person in exchange for this money. In justice and fairness, Defendants should

disgorge such money and remit the overcharged payments back to Plaintiffs and the

Multistate Class.

      406.   Nevada: Defendants unlawfully overcharged Plaintiffs and the Multistate

Class, who made purchases of Granulated Sugar during the Class Period in Nevada at

prices that were higher than they would have been but for Defendants’ actions. Plaintiffs

and the Multistate Class have conferred an economic benefit upon Defendants in the

form of revenue resulting from unlawful overcharges for Granulated Sugar. Defendants

appreciated the benefits bestowed upon them by Plaintiffs and the Multistate Class, for

which Defendants have paid no consideration to any other person. Under the

circumstances, it would be inequitable for Defendants to retain such benefits without

compensating Plaintiffs and the Multistate Class.

      407.   New Hampshire: Defendants unlawfully overcharged Plaintiffs and the

Multistate Class, who made purchases of Granulated Sugar during the Class Period in New


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Hampshire at prices that were higher than they would have been but for Defendants’

actions. Defendants have received a benefit from Plaintiffs and the Multistate Class in

the form of revenue resulting from the unlawful overcharges, which revenue resulted from

anticompetitive prices that inured to the benefit of Defendants. Under the circumstances,

it would be unconscionable for Defendants to retain such benefits without compensating

Plaintiffs and the Multistate Class.

       408.   New Jersey: Defendants unlawfully overcharged Plaintiffs and             the

Multistate Class, who made purchases of Granulated Sugar during the Class Period in New

Jersey at prices that were higher than they would have been but for Defendants’ actions.

Defendants have received a benefit from Plaintiffs and the Multistate Class in the form

of revenue resulting from unlawful overcharges, which revenue resulted from

anticompetitive prices that inured to the benefit of Defendants. The benefits conferred

upon Defendants were not gratuitous, in that they comprised revenue created by

unlawful overcharges arising from unlawful overcharges to Plaintiffs and the Multistate

Class. Defendants have paid no consideration to any other person for any of the unlawful

benefits they received from Plaintiffs and the Multistate Class with respect to Defendants’

sales of Granulated Sugar. Under the circumstances, it would be unjust for Defendants to

retain such benefits without compensating Plaintiffs and the Multistate Class.

       409.   New Mexico: Defendants unlawfully overcharged Plaintiffs and             the

Multistate Class, who made purchases of Granulated Sugar during the Class Period in New

Mexico at prices that were higher than they would have been but for Defendants’ actions.

Defendants have knowingly benefitted at the expense of Plaintiffs and the Multistate


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Class from revenue resulting from unlawful overcharges for Granulated Sugar. To allow

Defendants to retain these ill-gotten benefits would be unjust because the benefits resulted

from anticompetitive and unlawful pricing that inured to Defendants’ benefit and because

Defendants have paid no consideration to any other person for any of the benefits they

received. Under the circumstances, it would be unjust for Defendants to retain such benefits

without compensating Plaintiffs and the Multistate Class.

       410.   New York: Defendants unlawfully overcharged Plaintiffs and                the

Multistate Class, who made purchases of Granulated Sugar during the Class Period in New

York at prices that were higher than they would have been but for Defendants’ actions.

Defendants have been enriched by revenue resulting from unlawful overcharges for

Granulated Sugar, which revenue resulted from anticompetitive prices paid by Plaintiffs

and the Multistate Class, which inured to Defendants’ benefit. Defendants’ enrichment

has occurred at the expense of Plaintiffs and the Multistate Class. It is against equity and

good conscience for Defendants to be permitted to retain the revenue resulting from their

unlawful overcharges. Under the circumstances alleged throughout this Complaint, it

would be unjust for Defendants to retain such benefits without compensating Plaintiffs and

the Multistate Class.

       411.   North Carolina: Defendants unlawfully overcharged Plaintiffs and the

Multistate Class, who made purchases of Granulated Sugar during the Class Period in

North Carolina at prices that were higher than they would have been but for Defendants’

actions. Plaintiffs and the Multistate Class have conferred an economic benefit upon

Defendants in the form of revenue resulting from unlawful overcharges to the economic


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detriment of Plaintiffs and the Multistate Class. Plaintiffs and the Multistate Class did

not interfere with Defendants’ affairs in any manner that conferred these benefits upon

Defendants. The benefits conferred upon Defendants were not gratuitous, in that they

comprised revenue created by unlawful overcharges arising from arising from unlawful

overcharges to Plaintiffs and     the    Multistate Class. The benefits conferred upon

Defendants are measurable, in that the revenue Defendants have earned due to unlawful

overcharges are ascertainable by        review of sales records and other financial data.

Defendants consciously accepted the benefits conferred upon them. Under the

circumstances alleged throughout this Complaint, it would be unjust for Defendants to

retain such benefits without compensating Plaintiffs and the Multistate Class.

       412.   North Dakota: Defendants unlawfully overcharged Plaintiffs and            the

Multistate Class, who made purchases of Granulated Sugar during the Class Period in

North Dakota at prices that were higher than they would have been but for Defendants’

actions. Defendants have been enriched by revenue resulting from unlawful overcharges

for Granulated Sugar. Plaintiffs and the Multistate Class have been adversely impacted

by the overcharges for Granulated Sugar resulting from Defendants’ unlawful conduct.

Defendants’ enrichment and Plaintiffs’ and the Multistate Class’s economic losses and

economic detriment are connected. There is no legitimate justification for Defendants’

receipt of the benefits causing their enrichment because Plaintiffs and the Multistate Class

paid supra-competitive prices that inured to Defendants’ benefit, and it would be

inequitable for Defendants to retain any revenue gained from their unlawful overcharges.

Plaintiffs and the Multistate Class have no adequate remedy at law. Under the


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circumstances, it would be unjust for Defendants to retain such benefits without

compensating Plaintiffs and the Multistate Class.

       413.   Oklahoma: Defendants unlawfully overcharged Plaintiffs and               the

Multistate Class, who made purchases of Granulated Sugar during the Class Period in

Oklahoma at prices that were higher than they would have been but for Defendants’

actions. Defendants received money from Plaintiffs and the Multistate Class as a direct

result of unlawful overcharges, and Defendants have retained this money. Defendants have

paid no consideration to any other person in exchange for this money. Plaintiffs and the

Multistate Class have no adequate remedy at law. It is against equity and good conscience

for Defendants to be permitted to retain the revenue resulting from their unlawful

overcharges. Under the circumstances alleged throughout this Complaint, it would be unjust

and inequitable for Defendants to retain such benefits without compensating Plaintiffs and

the Multistate Class.

       414.   Oregon: Defendants unlawfully overcharged Plaintiffs and the Multistate

Class, who made purchases of Granulated Sugar during the Class Period in Oregon at prices

that were higher than they would have been but for Defendants’ actions. Plaintiffs and the

Multistate Class have conferred an economic benefit upon Defendants, in the form of

revenue resulting from unlawful overcharges to the economic detriment of Plaintiffs and

the Multistate Class. Defendants were aware of the benefit bestowed upon them by

Plaintiffs and the Multistate Class. It is against equity and good conscience for

Defendants to be permitted to retain the revenue resulting from their unlawful overcharges.

Under the circumstances, it would be unjust for Defendants to retain such benefits without


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compensating Plaintiffs and the Multistate Class.

          415.   Pennsylvania: Defendants unlawfully overcharged Plaintiffs and        the

Multistate Class, who made purchases of Granulated Sugar during the Class Period in

Pennsylvania at prices that were higher than they would have been but for Defendants’

actions. Plaintiffs and    the   Multistate Class conferred an economic benefit upon

Defendants, in the form of revenue resulting from unlawful overcharges to the economic

detriment of Plaintiffs and the Multistate Class. Defendants appreciated the benefit

bestowed upon them by Plaintiffs and the Multistate Class. Under the circumstances, it

would be inequitable for Defendants to retain such benefits without compensating Plaintiffs

and the Multistate Class. Plaintiffs and the Multistate Class have no adequate remedy

at law.

          416.   Rhode Island: Defendants unlawfully overcharged Plaintiffs and        the

Multistate Class, who made purchases of Granulated Sugar during the Class Period in

Rhode Island at prices that were higher than they would have been but for Defendants’

actions. Plaintiffs and the Multistate Class have conferred an economic benefit upon

Defendants, in the form of revenue resulting from unlawful overcharges to the economic

detriment of Plaintiffs and the Multistate Class. Defendants appreciated the benefit

bestowed upon them by Plaintiffs and the Multistate Class. Under the circumstances, it

would be inequitable for Defendants to retain such benefits without compensating Plaintiffs

and the Multistate Class.

          417.   South Carolina: Defendants unlawfully overcharged Plaintiffs and the

Multistate Class, who made purchases of Granulated Sugar during the Class Period in


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South Carolina at prices that were higher than they would have been but for Defendants’

actions.   The benefits conferred upon Defendants were not gratuitous, in that they

comprised revenue created by unlawful overcharges arising from arising from unlawful

overcharges to Plaintiffs and the Multistate Class. Defendants realized value from the

benefit bestowed upon them by Plaintiffs and         the   Multistate    Class. Under the

circumstances, it would be inequitable for Defendants to retain such benefits without

compensating Plaintiffs and the Multistate Class.

       418.   South Dakota: Defendants unlawfully overcharged Plaintiffs and             the

Multistate Class, who made purchases of Granulated Sugar during the Class Period in

South Dakota at prices that were higher than they would have been but for Defendants’

actions. Defendants have received a benefit from Plaintiffs and the Multistate Class in

the form of revenue resulting from the unlawful overcharges, which revenue resulted from

anticompetitive prices that inured to the benefit of Defendants. Defendants were aware of

the benefit bestowed upon them by Plaintiffs and the Multistate Class. Under the

circumstances, it would be inequitable and unjust for Defendants to retain such benefits

without reimbursing Plaintiffs and the Multistate Class.

       419.   Tennessee: Defendants     unlawfully     overcharged      Plaintiffs and   the

Multistate Class, who made purchases of Granulated Sugar during the Class Period in

Tennessee at prices that were higher than they would have been but for Defendants’

actions. Plaintiffs and the Multistate Class have conferred an economic benefit upon

Defendants, in the form of revenue resulting from unlawful overcharges to the economic

detriment of Plaintiffs and the Multistate Class. Defendants appreciated the benefit


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bestowed upon them by Plaintiffs and the Multistate Class. Under the circumstances, it

would be inequitable for Defendants to retain such benefits without compensating Plaintiffs

and the Multistate Class. Defendants have paid no consideration to any other person for

any of the unlawful benefits they received indirectly from Plaintiffs and the Multistate

Class with respect to Defendants’ sales of Granulated Sugar. Under the circumstances, it

would be inequitable and unjust for Defendants to retain such benefits without reimbursing

Plaintiffs and the Multistate Class.

       420.   Texas: Defendants unlawfully overcharged Plaintiffs and the Multistate

Class, who made purchases of Granulated Sugar during the Class Period in Texas at prices

that were higher than they would have been but for Defendants’ actions. Defendants have

received a benefit from Plaintiffs and the Multistate Class in the form of revenue resulting

from unlawful overcharges, which revenue resulted from anticompetitive prices that inured

to the benefit of Defendants. Defendants were aware of or appreciated the benefit

bestowed upon them by Plaintiffs and the Multistate Class. The circumstances under

which Defendants have retained the benefits bestowed upon them by Plaintiffs and the

Multistate Class are inequitable in that they result from Defendants’ unlawful overcharges

for Granulated Sugar. Plaintiffs and the Multistate Class have no adequate remedy at

law. Under the circumstances alleged throughout this Complaint, it would be inequitable

and unjust for Defendants to retain such benefits without reimbursing Plaintiffs and the

Multistate Class.

       421.   Utah: Defendants unlawfully overcharged Plaintiffs and the Multistate

Class, who made purchases of Granulated Sugar during the Class Period in Utah at prices


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that were higher than they would have been but for Defendants’ actions. Plaintiffs and the

Multistate Class have conferred an economic benefit upon Defendants, in the form of

revenue resulting from unlawful overcharges to the economic detriment of Plaintiffs and

the Multistate Class. Defendants were aware of or appreciated the benefit bestowed upon

them by Plaintiffs and the Multistate Class. Under the circumstances, it would be

inequitable for Defendants to retain such benefits without compensating Plaintiffs and the

Multistate Class.

         422.   Vermont: Defendants unlawfully overcharged Plaintiffs and the Multistate

Class, who made purchases of Granulated Sugar during the Class Period in Vermont at

prices that were higher than they would have been but for Defendants’ actions. Plaintiffs

and the Multistate Class have conferred an economic benefit upon Defendants, in the

form of revenue resulting from unlawful overcharges to the economic detriment of

Plaintiffs and the Multistate Class. Defendants accepted the benefit bestowed upon them

by Plaintiffs and the Multistate Class. Under the circumstances, it would be inequitable

for Defendants to retain such benefits without compensating Plaintiffs and the Multistate

Class.

         423.   Virginia: Defendants unlawfully overcharged Plaintiffs and the Multistate

Class, who made purchases of Granulated Sugar during the Class Period in Virginia at

prices that were higher than they would have been but for Defendants’ actions. Plaintiffs

and the Multistate Class have conferred an economic benefit upon Defendants, in the

form of revenue resulting from unlawful overcharges to the economic detriment of

Plaintiffs and the Multistate Class. Defendants were aware of the benefit bestowed upon


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them by Plaintiffs and the Multistate Class. The benefits conferred upon Defendants

were not gratuitous, in that they constituted revenue created by unlawful overcharges

arising from Defendants’ illegal and unfair actions to inflate the prices of Granulated Sugar.

Defendants have paid no consideration to any other person for any of the benefits they have

received from Plaintiffs and the Multistate Class. Under the circumstances alleged

throughout this Complaint, it would be inequitable for Defendants to retain such benefits

without compensating Plaintiffs and the Multistate Class.

       424.   Washington: Defendants unlawfully overcharged Plaintiffs and                the

Multistate Class, who made purchases of Granulated Sugar during the Class Period in

Washington at prices that were higher than they would have been but for Defendants’

actions. Plaintiffs and the Multistate Class have conferred an economic benefit upon

Defendants, in the form of revenue resulting from unlawful overcharges to the economic

detriment of Plaintiffs and the Multistate Class. Defendants were aware of or appreciated

the benefit conferred upon them by Plaintiffs and the Multistate Class. Under the

circumstances, it would be inequitable for Defendants to retain such benefits without

compensating Plaintiffs and the Multistate Class.

       425.   West Virginia: Defendants unlawfully overcharged Plaintiffs and             the

Multistate Class, who made purchases of Granulated Sugar during the Class Period in

West Virginia at prices that were higher than they would have been but for Defendants’

actions. Plaintiffs and the Multistate Class have conferred an economic benefit upon

Defendants, in the form of revenue resulting from unlawful overcharges to the economic

detriment of Plaintiffs and the Multistate Class. Defendants were aware of or appreciated


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the benefit bestowed upon them by Plaintiffs and the Multistate Class. Under the

circumstances, it would be inequitable for Defendants to retain such benefits

without compensating Plaintiffs and the Multistate Class.

       426.   Wisconsin: Defendants unlawfully overcharged Plaintiffs and              the

Multistate Class, who made purchases of Granulated Sugar during the Class Period in

Wisconsin at prices that were higher than they would have been but for Defendants’

actions. Plaintiffs and the Multistate Class have conferred an economic benefit upon

Defendants, in the form of revenue resulting from unlawful overcharges to the economic

detriment of Plaintiffs and the Multistate Class. Defendants appreciated the benefit

bestowed upon them by Plaintiffs and the Multistate Class. Under the circumstances, it

would be inequitable for Defendants to retain such benefits without compensating Plaintiffs

and the Multistate Class.

       427.   Wyoming: Defendants unlawfully overcharged Plaintiffs and the Multistate

Class, who made purchases of Granulated Sugar during the Class Period in Wyoming at

prices that were higher than they would have been but for Defendants’ actions. Plaintiffs

and the Multistate Class have conferred an economic benefit upon Defendants, in the form

of revenue resulting from unlawful overcharges to the economic detriment of Plaintiffs and

the Multistate Class. Defendants accepted, used, and enjoyed the benefits bestowed upon

them by Plaintiffs and the Multistate Class. Under the circumstances alleged throughout

this Complaint, it would be inequitable for Defendants to retain such benefits without

compensating Plaintiffs and the Multistate Class.




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VIII. PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of themselves and members of the Classes,

respectfully pray that This Honorable Court:

       A.     Determine that this action may be maintained as a class action under Rule

23(a), (b)(2) and (b)(3) of the Federal Rules of Civil Procedure, and direct that reasonable

notice of this action, as provided by Rule 23(c)(2) of the Federal Rules of Civil Procedure,

be given to each and every member of the Classes;

       B.     Adjudge that Defendants violated federal antitrust laws, as set forth above;

       C.     Adjudge that Defendants violated State antitrust and trade regulation laws,

as set forth above;

       D.     Award Plaintiffs and members of the Multistate Class actual, treble, punitive,

exemplary and/or nominal damages; attorneys’ fees and costs of suit, including costs of

consulting and testifying experts; and pre- and post-judgment interest;

       E.     Order disgorgement to a common fund from which Plaintiffs and the

Multistate Class may obtain restitution;

       F.     Defendants, their affiliates, successors, transferees, assignees and other

officers, directors, partners, agents and employees thereof, and all other persons acting or

claiming to act on their behalf or in concert with them, be permanently enjoined and

restrained from in any manner continuing, maintaining or renewing the conduct, contract,

conspiracy, or combination alleged herein, or from entering into any other contract,

conspiracy, or combination having a similar purpose or effect, and from adopting or

following any practice, plan, program, or device having a similar purpose or effect;


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       G.      Grant such other, further, and different relief, including structural relief, as

may be just and proper.

IX.    DEMAND FOR JURY TRIAL

       Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs demand a Trial

by Jury as to all issues so triable.


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                             CERTIFICATE OF SERVICE

        I hereby certify that on December 9, 2024, I caused a true and correct copy of the
foregoing to be filed in this Court’s CM/ECF system, which will send notification of such
filing to all counsel of record, and have served the Notice hereof and a true and correct
copy of the forgoing upon the following Attorney Generals via Certified Mail or by other
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